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            APPENDIXB




                                                                                  17-MDL-2804

                                                                              PLAINTIFFS TRIAL
                                                                                  EXHIBIT
                                                                             P-00013_00001



Confidential - Subject to Protective Order                                MCK-WVAG-003-0001145
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                       MCKMDL00355349
                                                                                 P-00013_00001
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                           ADMINISTRATIVE MEMORANDUM OF AGREEMENT

                This Administrative Memorandum of Agreement ("Agreement'') is entered into by and
          behveen the United States Department of Justice, Dmg Enforcement Administration ("DEA")
          and McKesson Corporation ("McKesson") (each a "Party" and collectively the "Partiesn).

                                                 APPLICAB[LITY

                  Thls Agreernent shall be applicable to McKesson and any facility owned or operated by
          McKesson US Pharmaceutical registered, or who may become registered, with DEA to
          distribute, or otherwise handle controlled substances, The current Hst of applicable facilities is
          identified in Appendix A
                                                  BACKGROUND

          l.     McKesson is registered with DEA at the facilities listed in Appendix A as distributors of
          Schedule II-V controlled substances under provisions of the Comprehensive Drug Abuse
          Prevention and Control Act of 1970; 21 U.S,C. § 801 el seq., ("CSA" or "the Act"), See
          Appendix A. Collectively, the distribution centers listed in Appendix A and the former
          Landover, Maryland distribution center are refened to herein as the "'McKesson Distribution
          Centers,"

          2,    fn May 2008, McKesson entered into a Settlement and Release Agreement and
          Administrative Mimrnrand\.-lm of Agreement ("2008 MOA") with DEA See Appendix R

          3,    l'vkKesson's Aurora, Colorado, distribution facility ("McKesson Aurora"), located at
          !4500 East 39th Ave,, Aurora, Colorado 80011, is registered with DEA as a distributor of
          Schedule H-V controlled substances pursuant to DEA Certificate ofRcgfatration PM0018425,

          4,   On March 12, 2013, DEA executed an Administrative Inspection Warrant C'AlW") at
          McKesson Aurora.

          5.      Bet\.veen March 2013 and the present, DEA executed one (l) additional AIW and served
          numewous administrative subpoenas and conducted a number of cyclic inspections at various
          McKesson US Pharmaceutical distribution centers nationwide including McKesson's
          Wash[ngton Court Hm.1s,~, Ohio, distribution center ("McKesson WCH"), DEA Certificate of
          Registration Rlv10220688, iocate-d at 3000 Kenskil! Avenue, Washington Court House, Ohio
          43160; McKesson's Livonia, Michigan, distribution center ("McKesson Livonia"), DEA
          Certificate of Regislration 0030849, located at 38220 Plymouth Road, Livonia, Michigan 48150;
          McKesson's Lakeland, Florida, distribution center (''McKesson Lakeland"), DEA Certificate of
         Registration PM000077l, located at 151 S Kendrick Lane, Lakeland, Florida 33805; McKesson's
         Methuen distribution center ("McKesson Methuen"), DEA Certificate of Registration
         P?-.10020850, located at 9 Aegean Drive, Methuen, Massachusetts 01844; McKesson's Chicago
         distribution center ("McKesson Chicagoland"), DEA Certificate of Registration RM0380484,
         located at 1955 McKesson Street, Suite 101, Aurora, Illinois 60502; McKesson's Delmn, New
         Jersey, distribution center ("McKesson Delran"), DEA Certificate of Registration Rlv10173055,
         located at 400 Delran Parkway, Delran, New Jersey 08075; McKesson's Lacrosse, Wisconsin


         (002 84 097}




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HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                  MCKMDL00355350
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           distribution center, ("McKesson LaCrosse"), DEA Certificate of Registration RM0220537,
           located at 3003 Airport Road, Lacrosse, Wisconsin 54603~ McKesson's La Vista, Nebraska,
           distribution center (''McKesson La Vista''), DEA Certificate of Registration PM0038693, located
           at 7009 South 108th Street, La Vista, Nebraska 68128; McKesson's Ruther Glen, Virginia,
           distribution center ("l\,1cKesson Ruther Glen''), DEA Certificate of Registration RM0424363,
           located at 10504 lvfoKesson Drive, Ruther Glen, Virginia 22546; and McKesson's West
           Sacramento, California, distribution center ("McKesson West Sacramento"), DEA Certificate of
           Registration PM002l 535, located at 3775 Seaport Boulevard, West Sacran;ento, California
           9569L

           6.       On or about August 13, 2014, McKesson received a letter from the U.S. Attorney for the
           District of Colorado (the ''August 13, 2014 Letter") setting forth allegations that McKesson
           failed to ''maintain[] , .. effective controls against diversion of particular controlled substances,"
           21 U.S.C, § 823(b)(l), and foiled to "design and operate a system to disclose to the registrant
           suspicious orders of controlled substances," 21 C.F,R. § l 30 i. 74(b). This letter described certain
           civil penalties that the U.S. Attorney for the District of Colorado could seek .in Colorado and
           elsewhere in connection with that alleged conduct

            7,      On or about November 14, 2014, McKesson received a letter (dated November 4, 2014)
           from the DEA Office of Chief Counse!j Diversion Regulatory and Litigation Section, stating
           that DEA was separately pursuing administrative action against McKesson Aurora for the
           conduct outlined in the August 13, 2014 Letter. DEA also stated that the allegations regarding
           McKesson's failure to "maintain[] .. , effective controls against diversion of particular
           c:ontrolled substances," 21 U.S.C. § 823(b)(1 ), and failure to "design and operate a system to
           disclose to the registrant suspicious orders of con1rolled substances," 2 l C.F.R § I 30 l, 74(b)
           ,vas national in scope, and that DEA was also pursuing administrative investigations of such
           alleged failures at McKesson WCH, McKesson Livonia, McKesson Lakeland, lvfoKesson
           Methuen, McKesson Chicagoland, McKesson Delran, McKesson Lacrosse, McKesson La
           Vista, McKesson Ruther Glen, and McKesson \Vest Sacrament<L

            8.     As of the date of this Agreement, DEA has not issued Orders to Show Cause COTSCs")
           against any of McKesson's DEA~registernd distribution centers.

                                        STIPULATJON AND AGREEMENT

                  tn lieu of commencing and pursuing administrative litigation against the DEA
          registrations of an unknown number of McKesson's distribution centers, McKesson and DEA
          agree as follows:

                                                       L Qeneral

          l.       intention of Parties to Effect Settlement. In order to avoid the uncertainty and expense of
          litigation, and in furtherance of the Parties' belief that a settlement is in the public interest. the
          Parties desire to settle and resolve, and hereby do settle and resolve, tJ1e administrative matters
          within DEA 's enforcement authority as those matters relate to the conduct described further



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Confidential - Subject to Protective Order                                                            MCK-WVAG-003-0001147
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                   MCKMDL00355351
                                                                                                             P-00013_00003
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          be!ow. The Parties farther believe that the terms and conditions of this settlement as set forth
          below represent a complete resolution of this matter,

          2.       Acceptance, of ResponsibiliW On or about September 27, 2006, February 7, 2007 and
          December 27, 2007, DEA 's Deputy Assistant Administrator, Office of Diversion Control, sent
          letters to every entity in the United States that was registered with DEA to manufacture or
          distribute controlled substances, including McKesson (the ''DEA Letters"), The DEA Letters
          contained, among other thfngs, guidance for the identification and reporting of suspicious orders
          to DEA, as required by 21 C.F,R. § 1301.74(b). McKesson acknowledges that, at various times
          during the period from January 1, 2009 up through and including the Effective Date of this
          Agreement (the "Covered Time Period''), it did not identify or report to DEA certain orders
          placed by certain pharmacies which should have been detected by McKesson as suspicious based
          on the g~1idance containui in the DEA Letters about the requirements set forth in 21 CF,R. §
          l30L74(b) and 21 U.S.C, § 842(a)(5). McKesson has taken steps to prevent such conduct from
          occurring in the future, including the measures delineated in the Compliance Addendum.

                   On or about May 2, 2008, DEA and McKesson entered into an AdministJative
          !vk-morandum of Agreement (the ''2008 MOA'')a The 2008 MOA provided among other things,
          that McKesson maintain a compliance program designed to detect and prevent the diversion of
          controlled substances, inform DEA of suspicious orders as required by 21 CFR, § l 30l ,74(b),
          and follow procedures established by its Controlled Substance Monitoring Program ("CSMP'l
          McKesson acknowledges that 1 at various times dur1ng the Covered Time Period, it did not
          identify or report to DEA certain orders placed by certain pharmacies, 'Which should have been
          detected by McKesson as suspicious, in a manner fully consistent with the requirements set forth
          in the 2008 tv10A, McKesson has taken steps to prevent such conduct from occurring in the
          future, including the measures delineated in the Compliance Addendum,

          J.     Covered Conduct For purposes ofthis Agreement, "Covered Conduct" shall mean the
          following conduct alleged by the Govemmem for the Covered Time Period:

                     a, McKesson failed to maintain effective controls against diversion of particu1ar
                        controlled substances into other than legitimate medical, scientific and industrial
                        channels by sales to certain of its customers in violation of the CSA and the
                        CSA 's implementing regulations, 21 CF.R. Part 1300 et seq., at the McKesson
                        Distribution Centers, including the following:

                        Aurora, Colorado;
                        Aurora, Ulinois;
                        Delran, New Jersey;
                        LaCrosse, Wisconsin;
                        Lakeland, Florida;
                        Landover, Maryland;
                        La Vista, Nebraska;
                        Livonia, Michigan;
                        Methuen, Massachusetts;
                        Santa Fe Springs, California;

                                                        3




Confidential - Subject to Protective Order                                                         MCK-WVAG-003-0001148
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                MCKMDL00355352
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                         Washington Courthouse, Ohio; and
                         West Sacramento, California.

                     b. In 2008, McKesson entered into a Settlement Agreement with the Department of
                        Justice and a Memorandum of Agreement with DEA (collectivdy referred to
                         herein as the ''2008 Agreements") related to, among other things, McKesson's
                         failure to report suspicious orders of controlled substances to DEA when
                         discovered, as required by and in violation of21 C,F.R § 1301,74(b) and 21
                         U,S,C, § 842(a)(5). As a result of the 2008 Agreements, McKesson developed a
                         Controlled Substance Monitoring Program ("CSMP"), in which McKesson
                         recognized that it had a, duty to monitor its sales of all controlled substances and
                         report suspicious orders to DEA McKesson failed to properly monitor its sales
                         of controlled substances and/or report suspicious orders to DEA, in accordance
                         with McKesson's obligations under the 2008 Agreements, the Act, and 21 C,F.K
                         § 1301.74(b);

                     c. McKesson failed to follow the procedures and policies set forth in the McKesson
                        CSMP to detect and disclose suspicious orders of controlled substances, Among
                        other things, McKesson failed to conduct adequate due dl!igence of its customers,
                        failed to keep complete and accurate records in the CSMP files maintained for
                        many of its customers, and bypassed suspicious order reporting procedures set
                        forth in the McKesson CSMP;

                     d. ln addition, McKesson failed to inform the DEA Field Division Ofikes and/or
                        DEA Headquarters of certain suspicious orders of controlled substances made by
                        its customers during the relevant time period, including orders of imusual size,
                        orders deviating substantially from normal patterns, and orders of unusual
                        frequency, as required by and in violation of21 C,F.K § i30L74(b), 21 U.S.C.
                         § 842(a)(5), and the 2008 Agreements;

                     e, McKesson failed to report suspicious orders for certain controlled substances in
                        accorda.nce with the standards identified and outlined in the DEA Letters; and

                     L The McKesson Distribution Centers distributed controlled substances to
                       pharmacies even though those McKesson Distribution Cent.em should have
                       known that the pharmacists practicing within those pharmacies had failed to fulfill
                       their cmresponding responsibility to ensure that controlled substances were
                       dispensed pursuant to prescriptions issued for legitimate medical purposes by
                       practitioners acting in the usual course of their professional practice, as required
                        by 2l C.F.R § 1306,04(a).

          4,     Effect of 2008 MOA. To the extent that t.here are obligations contained in the 2008
          MOA that survived the expiration of the stated term of the 2008 MOA, those terms are
          superseded by the obligations contained in this Agreement




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Confidential - Subject to Protective Order                                                         MCK-WVAG-003-0001149
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                MCKMDL00355353
                                                                                                          P-00013_00005
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           5,      Tt;.nn or Agreement The nb!igatinns contained in this Agreement shall remain in full
           force and ·effoct for a period of five (5) years from the Effective Date nf this Agrm~ment unless
           DEA 11grees in writing to ru1 eadier tcnnimition,

                                                ff Terms and Conditiol}1

                  Obligatiogs of McKessmi,

                      a. McKesson agrees to maintain a compliance program intended to detect and
                         prevent diversion of controlled substances as :required under !he CSA and
                         applicable implementing tegulations, McKesson acknoivkdges and agrees that
                         the obligations undeTtakcn in this Agreement and the Compliance Addendum are
                         designed, in part, to meet its obligations under the CSA and its implementing
                         regulations,

                      b. Beginning on the .first full calendar month after tbe Effective Date, McKesson
                         shaI! provide DEA Headquarters 1.vith an unedited file of all transactions of non-
                         ARCOS reportable, controlled substances, This information will be in the format
                         thut Automation of Reports and Consolidated Orders System ('' ARCOS'') data is
                         submitted to DEA, and wit! be uploaded to the following •.veb address:
                         https:/hNw,v.deadivirrnkm.usdoj,govldeareports/. The files shall be dut~ by the
                          l5th of each calendar month for the previous ciiJendar month's report This
                         requirement does not supplant !he requirement to report ARCOS data in the time
                         and manner required by DEA regu'.alions< The Parties agree that the report does
                         not otbenvise constitute the basis for McKesson's compliance with recordkeeping
                         and reporting requirements under the CSA or applicable implementing
                         regulations:, Tlv,::-, Parties agree that such report is not required under the CSA or
                         its implementing regul.ations and that the accuracy of the report or the faihire to
                         file such a report. ls not a basis for a violation of 21 U,S.C. § 842(a)(5).

                     c, ln satisfaction of its obligation tmder the CSA 's implementing regulations and as
                         agreed to pursuant ta this Agn.,-emenl for each McKesson distribution center
                         registrnnt to "Infonn the Field Division Office of the Administration in [its] area
                         of suspicious orders," 21 C.F,R, § DO L74(b). McKesson shall trarn;mlt
                         Suspicious Order Reports to DEA lieadquarters at the end ofeach business day,
                         McKesson shall submit the daily Suspicious Order Reports in the format that
                         ARCOS data is submitted    lo   DEA, and the reports will be uploaded to the
                         following web address; https:f!wvrw.deadiversion.,usd<:~,govfdeareports/, This
                         obligation wm continue during the tem1 of this Agreement unless and until DEA
                         advises McKesson otherwise in writing,

                     d, McKesson agrees that its authority to distribute aH controlled substances from its
                        !v1cKesson Aurora disttibution center, DEA Certificate of Registnation
                        PM0018425, wil! be suspended fo:r a period of thre1.t (3) years commencing. from
                        !he Effective Date of this Agreement (the "Aurora Suspension Period"). This
                        suspension sha:!! nnt apply toot limit McKesson's authority w distribute, or

                                                         5




Confidential - Subject to Protective Order                                                           MCK-WVAG-003-0001150
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                  MCKMDL00355354
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                           opcrntions involving, List I Chemical products at or from the Aurora distribution
                           center, which are authorized under the DEA registration number PM00 l 8425,

                       e, McKesson agrees that its authority to distribute all controlled substances frnm its
                          McKesson Livonia distribution center, DEA Certificate of Registration
                           PM0030849, will be suspended for a period of two (2) years commencing from
                           the Effective Date of this Agreement, except for orders placed by Permitted
                            Registrants ("the Livonia Suspension Period''). 1 This suspension shall not apply
                            to or limit 1vkKesson's authority to distribute, or operations involving, List l
                           Chemical products at or from the Livonia distribution center, which are
                           authorized under the DEA registration number PM0030849, McKesson agrees
                           that during this period of suspension, on the 15th of the month following the
                           applicable calendar quarter, it will deliver to DEA, Detroit Field Division,
                           Diversion Regulatory Unit, 43 l Ho\vard Street, Detroit, Michigan 48226,
                           a compact disc containing an excel spreadsheet~ in a readable format, of all
                           distributions of controlled substances aggregated by drng code from its McKesson
                           Livonia distribution center, Certification of Registration PM0030849, for each
                           previous quarter, McKesson shall notify the Detroit Field Office by email if there
                           are no sales for the applicable period. Within thirty (30) days of the Effective
                           Date, DEA will provide the e-mail address to which McKesson wiH report to
                           DEA if there are no sales forthe applicable period, The data that comprises this
                           spreadsheet shall be taken directly from McKesson's sales data and shall be sorted
                           by the DEA Certification of Registration of the purchaser of the controlled
                           substance,

                      f    McKesson agrees that its authority to distribute all controlled substances from its
                          McKesson WCH distribution center, DEA Certificate of Registration
                          R1v10220688, will be suspended for a period of two (2) years commencing thirty
                          (30) days front the date upon which the DEA Certificate of Registration for the
                          McKesson Livonia distribution center is reinstated, except for orders placed by
                          Permitted Registrants (the ''WCH Suspension Period"). In the event the
                          McKesson Livonia distribution center is not reinstated within one hundred and
                          eighty ( 180) days of completion oft he Livonia Suspension Period due to
                          McKesson (i) failing to cure a compliance requirement as identified by DEA in its
                          thiny (30) day advance notice letter described in Section IL2., or (ii) electing to
                          permanently terminate the Livonia registration, the WCH Suspension Period will
                          commence no later than two (2) years and one hundred eighty (l 80) days from
                          the Effective Date of this Agreement The McKesson WCH distribution center
                          suspension shall not apply to or limit McKesson's authority to distribute, or
                          operations involving, List [ Chemical products at or from the WCH distribution
                          center, which are authorized under the DEA registration number RM022068fL
                          McKesson agrees that during this period of suspension, on the 15th of the month
                          following 1he applicable calendar quarter, it will deliver to DEA, Detroit Field

         ' For purposes of this agreement ''?ermined Registrants'' shall irn;lude rngisrrants identified in Appendix C,
         McKesson shall indude upcjaks to the ?ennlue<l Registrants in the quarterly reports provided to DEA local offices
         uider it. l e-g,

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Confidential - Subject to Protective Order                                                                       MCK-WVAG-003-0001151
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                              MCKMDL00355355
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                      Division, Diversion Regulatory Unit, 43 l Howard Street, Detroit, !v!ichiga:n
                      48226, a compact disc containing an excel spreadsheet, in a readable fonnat, of all
                      distributions of controlled substances aggregated by dmg code from its McKesson
                      WCFf distribution center, Certification ofRegistratkm R.110220688, for each
                      previous quarter. McKesson shall notifv the Detroit Field Office b,; email if the-re
                      are no sales for the applicable period. Within thirty (30) days of th; Effective
                      Date, DEA will provide the e-mail address to whk:h McKesson will report to
                      DEA if tht~re are no sales for the applicable period. The data that comprises this
                      spreadsher:t shall be taken directly from McKesson's sales data and shall be sorted
                      by the DEA Certification of Registration of the purchaser of the controlled
                      substance.

                  g. McKesson agrees that its authority to distribute controlled substances containing
                     the drug code for Schedule II hydromorphone products, that is, DEA drug code
                     9150, from its McKesson Lakeland distribution center, DEA Certificate of
                     Registration PM0000771, will be suspended for a period of one (1) year
                     commencing from the Effective Date of the Agreement, except for orders placed
                     by Permitted Registrants (the ~'Lakeland Suspension Period"), McKesson agrees
                     that during this period of suspension, on the 15th of the month following the
                     applicable calendar quarter, it will deliver to DEA, Mia.,,'Tli Field Division,
                     Diversion Regulatory Unit, 2100 North Commerce Parkway, Weston, Florida
                     33326, a compact disc containing an excel spreadsheet, in a readable format, of all
                     distributions ofhydromorphone: (drug code 9150) from its McKesson Lakeland
                     distribution center, Certification of Registration PM000077 l, for each previous
                     quarter. MCKesson shall notify the Miami Field Office by email lf there are no
                     sales for the applicable period, Within thirty (30) days of the Effective Date,
                     DEA will provide the e-mail address to which McKesson will report to DEA if
                     there are no sales for the applicable period. The data that comprises this
                     spreadsheet shall be taken directly from McKesson's sales data and shall be sorted
                     by the DEA Certification of Registration of the purnhaser of the hydrornorphone,

                  h, McKesson agrees to reasonably cooperate with DEA, United States Attorneys'
                     Offices, and any other Federal, state, or local law enforcement agency
                     investigating or prosecuting McKesson's customers for alleged violations or
                     activities related to the Covered Conduct unless such matters would affect the
                     rights or obligations of ~•.foKesson in regard to any pending or threatened
                     litigation. Such cooperation shall include, but is not limited to, producing records
                     and making ernployees available for interviews by DEA or other law enforcement
                     authorities, subject to appropriate requests, e.g,, administrative subpoena,
                     However, nothing in this paragraph shall be construed as a waiver by McKesson
                     or its employees of any constitutional rights or rights that the company would
                     have as a party to a matter involving pending or threatened litigation vlith the
                     govemrnent or a third party, including without limitation attorney-client or
                     attorney work product privileges.




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Confidential - Subject to Protective Order                                                     MCK-WVAG-003-0001152
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                            MCKMDL00355356
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                   L   Pursuant to the 2017 Settlement Agreement and Release, McKesson agrees to a
                       settlement payment to the United States of /unerica in the amount of
                       $150,000,000,00 in settlement of claims or potential claims made by the United
                       States of America for foiling to report suspicious orders of controlled substances.
                       McKesson agrees to execute the 20 I 7 Settlement Agreement and Release
                       simultaneously with the execution of this Agreement and to execute any other
                       documents necessary to fully and finally settle all claims of the United States of
                       America under this subparagraph, and to fully pay said settlement payment
                       penalties within five (5) days of the Effective Date of this Agreement

                  j,   Any material breach by any McKesson facility of subsections IL Lb«g of this
                       Agreement by t-.frKesson after the Effective Date of this Agreement, where
                       McKesson has not cured such breach as may be allowed under relevant law,
                       regulation, this Agreement and Compliance Addendum may be a basis upon
                       which DEA takes administrative action seeking the revocation and/or the
                       suspension of the DEA Certificates of Registration of any of McKesson's
                       distribution centers, However, nothing in this Agreement or the Compliance
                       Addendum shall be deemed a waiver of McKesson's Due Process rights,

                  k. ln any case where a supplier inadvertently ships controlled substances to any
                     McKesson suspended facility, McKesson shall promptly return the product to the
                     supplier. McKesson shall maintain a record of such receipt and return for two (2)
                     years,

                  L In any case where a customer inadvertently returns controlled substances to any
                    McKesson suspended facility, McKesson shall promptly send the product to
                    another McKesson DC for processing, McKesson shall maintain a record of such
                    receipt and transfer for two (2) years,

                  m, Any McKesson suspended facility receiving a DEA Order Fom1 222 shall
                     promptly endorse such Order Form to another, 1:icm-suspcnded McKesson facility
                     plirs1mnt to 21 C.F.R § 1305, l 4. McKesson shall maintain a record of any
                     endorsement and transfer nf an order form for two (2) years.

                  n. ln the event that any controlled substance maintained at a suspended fvfoKesson
                     foci lity is no longer required to be stocked or sold to a Permitted Registrant, the
                     suspended McKesson facility may transfer such contmlled substance to another
                     non-suspended McKesson facflity. Such transaction sha11 be reflected in the
                     quarterly transaction report submitted to the appropriate local DEA field office as
                     described in subsection JL l .e-g of this Agreement.

         2.    Obligations of DEA

                  a. DEA does not endorse or approve of any specific system or approach
                     implemented by DEA registrants to satisfy their obligations under 21 LfJ{,
                     § l30L74(b) or 21 U.S.C. § 823(b)(l). DEA has taken no action during the


                                                    8




Confidential - Subject to Protective Order                                                      MCK-WVAG-003-0001153
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                             MCKMDL00355357
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                       negotiation of this Agreement, and is taking no action by entering into this
                       Agreement, that can be interpreted to be directly or indirectly endorsing or
                       approving the system that McKesson is currently utilizing to meet its obligations
                       under the CSA and the implementing regulations. Going forward, DEA 's actions
                       in fu!fiHlng the oversight of McKesson under this Agreement, including the
                       receipt of information and/or its participation in meetings with McKesson
                       representatives, shall not be construed or interpreted to be directly or indirectly
                       endorsing or approving the system that McKesson is utilizing to meet its
                       obligations under the CSA and the implementing regulations,

                   b, DEA agrees to accept at DEA Headquarters the information regarding suspicious
                      orders as described in subsection iL l .c. of this Agreement.

                   c, ln the event that DEA discovers infomrntion about conduct during the Covered
                      Time Period that may 'Narrant administrative action, and \vhich is not otherwise
                      included under the Covered Conduct> DEA shall favorably consider McKesson's
                      entry into this Agreement, the Compliance Addendum, and the civil penalties paid
                      pursuant to the Settlement Agreement and Release; all actions taken by
                      McKesson pursuant to this Agreement and Compliance Addendum; any remedial
                      actions taken by McKesson to address the alleged or perceived violative conduct;
                      and th;: compliance history of McKesson at the particular facility, and at other
                      McKesson facilitiei;_

                   d, Unless DEA deter.mines that McKesson is in noncompliance with the terms of this
                      Agreement, after providing McKesson with prior written notice of alleged
                      noncompliance with the terms of this Agreement and _providing McKesson \¥1th at
                      least thirty (30) days to respond to any such notice, DEA agrees that it will lift the
                      suspension of McKesson Aurora's distribution center, DEA Certificate of
                      Registration PM0018425, and, if needed, grant any requisite registration renewal,
                      no later than the end of the Aurora Suspension Period.

                  e,   Unless DEA determines that McKesson is in noncompliance with the terms of this
                       Agreement, after providing McKesson with prior written notice of alleged
                       noncompliance with the terms of this Agreement and providing McKesson with at
                       least thirty (30) days to respond to any such notice, DEA agrees that it wiH lift the
                       suspension of McKesson Livonia distribution center, DEA Certificate of
                       Registration PM0030849, and, if needed, grant any requisite registration renewal,
                       no later than the end of the Livonia Suspension Period,

                  f,   Unless DEA determine5 that McKesson is in noncompliance with the terms of this
                       Agreement, after providing McKesson with prior v,rritten notice of alleged
                       noncompliance with the terms of this Agreement and providing McKesson ,vith at
                       least thirty (30) days to respond to any such notice, DEA agrees that it wi!l lift the
                       suspension of McKesson WCH distribution center, DEA Certificate of
                       Registration RM0220688, and 1 if needed, grant any requisite registration renewal,
                       no later than the end of the WCH Suspension Period.

                                                     9




Confidential - Subject to Protective Order                                                         MCK-WVAG-003-0001154
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                MCKMDL00355358
                                                                                                          P-00013_00010
       Case 3:17-cv-01362 Document 1509-2 Filed 01/12/22 Page 11 of 67 PageID #: 72503




                      g, Unless DEA determines that McKesson is in noncompliance with the terms of this
                         Agreement, after providing McKesson with prior written notice of alleged
                         noncompliance with the terms of this Agreement and providing McKesson with at
                         least thirty (30) days to respond to any such notice, DEA agrees that it will
                         reinstate the ability of the McKesson Lakeland distribution center, DEA
                         Certificate of Registration PM000077l, to distribute the controlled substances
                         containing the drug code for Schedule II hydromorphone products, that is, DEA
                         drug code 9150, no later than the end of the Lakeland Suspension Period.

          3.     Release by DEA In consideration of the fulfi11ment of the obligations ofMcKesson
          under this Agreement, DEA agrees to:

                      a. Fully and finally release McKesson, together with its subsidiary entities,
                         distribution facilities, and registrants, along with its officers, directors, employees,
                         successors, and assigns (colk:ctivdy, the "Released Parties") from any and all
                         administrative claims within DEA's enforcement authority under 21 U.S.C,
                         §§ 823 & 824 related to the Covered Conduct; and

                      b, Refrain from filing or taking any administrative actions against the Released
                         Parties within DEA's enforcement authority under 21 U.ST. §§ 823 & 824, based
                         on the Covered Conduct only to extent that such conduct was or could have been
                         discovered by DEA through the exercise of due diligence through the examination
                         of open investigations and inspections in existence as of the Effective Date of this
                         Agreement, and the review of the reports and records McKesson submitted to
                         DEA prior to the Effective Date of this Agreement. This release applies only to
                         administrative actions brought before or by DEA

                  Notwithstanding the releases by DEA contained in this Paragraph, DEA reserves the right
          to seek to admit evidence of the Covered Conduct for proper evidentiary purposes in any other
          administrative proceeding against the Released Parties for non-Covered Conduct. Further,
          nothing in this Paragraph shall prohibit or limit any other agency within the Department of
          Justice, any State attorney genernl, or any other law enforcement, administrative, or regulatory
          agency of the United States or any State thereof, from initiating administrative, civil, or criminal
          proceedings ·with respect to the Covered Conduct. DEA shall; as obligated in fulfilling its
          statutory duties, assist and cooperate with any agency that initiates an investigation, action, or
          proceedirig involving the Covered Conduct. At McKesson's request, DEA agrees to disclose the
          terms of this Agreement to any other agency and wi11 represent, assuming McKesson is in
          compliance with this Agreement, that the allegations raised by DEA, as defined in the Covered
          Conduct, have been adequately addressed, This release is applicable only to the Released Parties
          and is not applicable in any manner to any other individual, partnership, corporation, or entity.

          4,      Release bv McKesson. McKesson fully and finally releases the United States of
          America, its agencies, employees, servants, and agents from any claims (including attorney's
          foes, costs, and expenses of every kind and however denominated) which McKesson has
          asserted, could have asserted, or may assert in the future against the United States of America, its


                                                       10




Confidential - Subject to Protective Order                                                            MCK-WVAG-003-0001155
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                   MCKMDL00355359
                                                                                                             P-00013_00011
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           agencies, employees, servants, and agents, related to the Covered Conduct and the United States'
           investigation and prosecution thereof

          5,      Reservation of Claim§. Notwithstanding any term of this Agreement, specifically
          reserved and excluded from the scope and terms of this Agreement as to any entity or person
          (including McKesson) are the following:

                      a. Any potential criminal liability;

                      b. Any civlL criminal or administrative liability arising under Title 26, U.S. Code
                         (Internal Rev,:nue Code)~

                     c, Any administrative liability to the United States other than administrative claims
                        released in Paragraph II.3.a. and b.

                     d. Any civil liability to the United States., other than the civil claims released in the
                        2017 Settlement Agreement and Release; or

                     e. Any liability based upon any obligation created by or arising under 1his
                        Agreement,

                                                  m. Miscellaneous
          l.      Binding on Successors. This Agreement ls binding on McKes::mn, and its respective
          srn:cessors, heirs, transferees, and assigns.

          2.     Costs. Each Party to this Agreement shall bear its own legal and other costs incurred in
          connection with this matter, including the preparation and performance of this Agreement.

          3.      No Additional Releases, This Agreement is intended to be for the benefit of the Parties
          and the Released Parties only, and by this instrument the Parties do not release any claims
          against any other person or entity other than the Released Parties.

          4.       Effect of Agreement This Agreement constitutes the complete agreement between the
          Parties. All material representations, understandings, and promises of the Parties are contained
          in this Agreement, and each of the parties expressly agrees and acknowledges that, other than
          those statements expressly set forth in this Agreement, it is not relying on any statement, whether
          nral or \Witten, of any person or entity with respect to its entry into this Agreement or to the
          consummation of the transactions contemplated by this Agreement Any modifications to this
          Agreement sha!l be set forth in writing and signed by all Parties, McKesson represents that this
          Agreement is entered into with advici~ of counsel and knowledge of the events described herein,
          !vkKesson further represents that this Agreement is voluntarily entered fnto in order to avoid
          litigation, without any degree of duress or compulsion,




                                                      11




Confidential - Subject to Protective Order                                                             MCK-WVAG-003-0001156
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                    MCKMDL00355360
                                                                                                              P-00013_00012
       Case 3:17-cv-01362 Document 1509-2 Filed 01/12/22 Page 13 of 67 PageID #: 72505




          5,       Executiqn_of ;\grecment This A.grccment shall become effective (i.e,,. final and binding)
          on the date of signing by the last signatm-y (the ''Effective Date"). The government agrees to
          notif:r· McKesson immediately when the final signatory has executed this Agreement

          6,       Nati£@:§, AH cornnmnications and notk,cs pursuant to this Agn:ernent shall be made in
          v.>riting Hl the following individuals, which notice information rnay be flltered from tirne to thne
          by either Party by written notification:

                     a. For DEA or DOJ:

                         Drug Enforcement Admil1istrntfon, Diversion Control Division, 8701 Morrisset!e
                         Drive, Springfield, Vrrginia 22152;

                         Drug Enforcement Administration, Office of Chief Counsel, Diversion and
                         Regutatory Litigation Section, 8701 Morrissette Drive, Springfield,. Virginia
                         22152;and
                         UK Depattrncm of Justice, Criminal. Dlvisii,n, Narcotic and Dangerous Drug
                         Section, 145 N St NE {2 Constitution Square), 2nd Floor, Easl Wing~ Washington,
                         D,(', 20530

                     b. For f\-foKesson:

                         Senior Vice President, US Pharmaceutical, Regulatory Affairs and Compliance
                         McKesson Corporation
                         One Post Street, 36 th Floor
                         San Francisco, CA 94 ! 04



                         Vice President, U.S. Pbarmacevtica1, Regulatory Affairs &
                         Compliance
                         McKesson Corporation
                         6535 State Highway 161
                         Irving, TX 75039~2402

                         Asshmmt General Co1J,<tsel, US Pharmaceutical
                         McKesson Corporation
                         One Post Street, 31'/1 floor
                         San Fmncisco, CA 94104

          1.     Disclosure. McKcs.t.on and DEA rnay each disclose the existence of this Agreement and
          information about this Agreement to tho public except fur informati.cm designated as confidentiaL

          8.      Confidentiality and Designation of Information. McKesson and DEA agree that al!
          trnnsaction reports submitted to DEA_ contain informaticm this is commercial or financial and
          privileged or confidential, and 1herefore exempt from disclosure under the Freedom of
                                                       12




Confidential - Subject to Protective Order                                                           MCK-WVAG-003-0001157
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                  MCKMDL00355361
                                                                                                            P-00013_00013
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          Information Act ("FOTA "), 5 tLS,C. § 552, Such infbrmation may be exempt from disclosure
          under the Freedom of Infom1ation Act and any other state or federal law or regulation protecting
          such infonnation from public disclosure and, upon receipt of a request to release such, DEA
          agn:es to provide McKesson reasonable opportunity to respond to any such requests,

          9.     E;,:c;;uthm in Coqnterparts, This Agreement may be executed in counterparts, each of
          which constitutes an original, and al! of which shall constitute one r:md the same agreement
          Copies or facsirniles of signatures shall constitute acceptable, binding signatures for purposes of
          this Agreement.

          l 0.   Authorization~. The individuals signing this Agreement on behalf of McKesson
          represent and ivarrant that they are authorized by McKesson to execute this Agreement The
          individuals signing this Agreement on behalf of DEA represent and warrant that they are- signing
          this Agreement in their oflicial capacitie:--; and that they are authorized by DEA to execute this
          Agreement,

          l l,    Choice of Law and Venue, This Settlement Agreement and Release shall he construed in
          accordanc;, with th~l;,vs of the United States, and either Party may seek judicial enforcernent of
          this Agreement upon a material breach by the other Party, The Parties agree that the jurisdiction
          and venue for any dispute arising betvveen and among the Parties to this Agreement shall b{;: any
          federsJ court of cmnpeter1t jurisdiction. This provision, however, shall not be construed as a
          waiver of the jurisdictional provisions of the CSA, as amended,

                                                  [Signature page to follow}




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HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                 MCKMDL00355362
                                                                                                           P-00013_00014
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                  lN WITNESS W'BHRllOF, the Purties hereto huve duly executed thls AdminiBtrntive
           Me111orandum of Agecement

           On BcluiJf of McKes:st:m Corporntfon:         Ou Bdrnlf of tile United States J)epartm_r~nt
                                                         of Justice, Drng Enforteme1tt
                                                   r)    Adf\lillistrl'l:Hon:       /l
                                                    bA ~1t:- 'l~ I              (    !
                                                     \ d~~U::u, 'V~liz,~        'n$.,"
           Mnrk Walchkk                                 Chuck R cnberg
           Preside,Ht, US Pharmacentk:al                Acting Administrator
           McKesscm Cmvoratioa                          Drng Eufon:::ement Administration




                                                         Lo~;is J. Milion
                                                         AS$istant AdmiufatrnJor, Diversion Control
                                                         Division
                                                         Drug Ellfotcememt A<lmlnistr,itkm




Confidential - Subject to Protective Order                                                        MCK-WVAG-003-0001159
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                               MCKMDL00355363
                                                                                                         P-00013_00015
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                        APPENDIX A




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HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                        MCKMDL00355364
                                                                                  P-00013_00016
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                                                                                   Appendix A
                                                                            Md(esson US Pharma OCs
                                                                 Confidential Busine:ss lnformation " fOIA Exempt


            8130    ANCHORAGE                     5491 Electron Or Suite A            Anchorage            AK       99518"1072 RM0227430
            8148    ATLANTA                       2975 Evergreen Drive                Duluth               GA       30096-5888 PR0040357
            8126    BIRMINGHAM                    6775 Jefferson Metro Pkwy           Mccalla              AL       35111-3955 RM03369SO
            8110    BOSTON                        9 Aegean Dr                         Methuen              MA       01844-1596 PM0020850
            8113    BUFFALO                       2700 N. America Dr,                 West Seneca          NY       14224-5318 PM0003094
            8144    CHICAGOLAND                   1995 McKesson Street Suite-101      Aurora               ll       60502-7703 RM0380484
            8145    CLEAR LAKE                    210112th Aves.                      Clear Lake           lA       50428*0000 RMQ490S90
            8005    CONCORD Packa.g!ng            7101 Weddington Road                Concord              NC       2802.7     RM0306541
            8115    CONROE                        3301    Pollok Drive                Conroe               TX       77303       RM0328408
            8176    DELRAN                        400 Delran Pkwy                     Delran               NJ       08075-1248 RM0!73055
            8131    DENVER                        14500 E, 39th Ave                   Aurora               co       80011-1210 PM0018425
            8128    EVERETT                       710 -   132nd St, S,W,              Everett              WA       93204.. 732.2 PM0150538
            8138    HONOLULU                      80 Sand Island Access Rd            Hono!u!u             HI       008194904 PM0001014
            8175    LaCROSSE                      3003 Airport Road                   LaCros:st!           WI       54603-1258 RM0220S37
            819$    LAKElANO                      1515 Kendrick Lane                  Lakeland              FL      33805-2501 PM0000771
            8132    UVON!A                        382 20 Plymouth Rd                  Livonia              M!       48150-1050 PM00:30849
            8149    MEMPHIS                       4836 South ridge Blvd               Memphis              TN       38141~8300 PM0001951
            8772    NEWCASTLE                     2798 New Butler Rd                  New Castle           PA       16101-3229 RM0258601
             8106   NROC                          8313 Polk Lanf:\                    Olive Branch         MS       38654       RM0421557
             8165   OKLAHOMA CITY                 4012 South Purdue                   Oklahoma City        OK       73179~7816 RM0138328
             8170   PHOENIX                       495   s.   107th Ave                Tolleson             Al.      85353-9402 PM0021131
             8173   PORTLAND                      9700 SW Commerce Circle             Wilsonvllle           OR      97070.:9688 PM0022929
             8191   ROCKY Hill                    280 Dividend Road                   Rocky Hi!!            CT      06067~3782 PR0104S93
             &182   SACRAMENTO                    3775 Seaport Blvd                   W.Sacramento         CA       95691<3472 PM002153S
             8180   SALT LAKE CITY                1900 South 4490 West                Salt Lake City        UT      841044720 PM0023046
             8147   SoCAL                         9501 S, Norwalk Blvd.               Santa Fe Springs      CA      90070.:2929 PF0000012
             RUB    St. LOUIS                     1 Commerce Or                       O'Fallon              MO      63366~4413 PM0037374
             8107   Stategic Redistrlbution Ctr   3:400 Fraser St                      Aurora               co      80011-1219 RM0354958
             8155   TRI STATES                    1 John Henry Dr                      RobbinsvHle          NJ      08691      RM0-456411
             8120   VIRGINIA                      10504 McKesson Drive                 Ruther Glen          VA      22546      RM0424363
             8164   Wash,Ct, Hse.                  3000 Kenski!I Ave                   Washington CL Hse. OH        43160-8616 RM0220688




Confidential - Subject to Protective Order                                                                                           MCK-WVAG-003-0001161
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                  MCKMDL00355365
                                                                                                                                            P-00013_00017
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                         APPENDIXB




Confidential - Subject to Protective Order
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                  MCK-WVAG-003-0001162
                                                                               MCKMDL00355366
                                                                                 P-00013_00018
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                          SETTLEMENT AND RELEASE AGREEMENT
                                                  AND
                    ADMINJSTRA TfVE MEMORANDUM OF AGREEl\fENT

          This Settlement and Release Agreement and Administrative Memorandum of Agreement
   ("Agreement") is entered into on this f, day of May 2008, by and betvteen the United States
   Depamnent of Justice, Drug Enforcement Adrninistration (hereinafter "DEA") and McKesson
   Corporation including facilities doing business as McKesson Pharmaceutical and McKesson
   Drug Company (hereinafter "l\kKesson'') (each a '?arty" and collectively the *'Parties"),

                                           APPLICABILITY

            This Agreement shall be applicable to McKesson and all McKesson DEA registered
   focilit1es as identified in Appendix A,

                                            BACKGROUND

           V/HEREAS, on August 4, 2006, DEA, by its Deputy Assistant Administrator, Joseph T
   Rannazzisi, issued an Order to Show Cause (''Order# I") to McKesson, with respect to its
   Lakeland distribution center located at 1515 West Bella Vista Street, Lakeland, Florida 33805
   (the "Lakeland Facility"); and

           WHEREAS, Order# l alleged, among other things, that McKesson failed to maintain
   effective controls at the Lakeland Facility against diversion of particular controlled substances
   into other than legitimate medical, scientific and industrial channels by sales to certain customers
   or McKesson; and
           WHEREAS, after service of Order# 1 on McKesson, representatives of DEA and
   ivicKesson entered imo discussions on how best ro resolve the issues raised in the Order; and

           WHEREAS, on November J, 2007, DEA, by its Deputy Assistant Administrator, Joseph
   T, Rannazzisi, issued a second Order to Sbow Cause to McKesson f'Or<ler #2t and «orders"
   when jointly referring to Order# l and Order #2), with respect to its Landover distribution center
   located at 7721 Polk Street, Landover, Marybndr 20785 (the "Landover Facility"); and

           WHEREAS, Order #2 aHcged, among othenhings, that McKesson failed to rnaimain
   effective controls at the Landover Facility against diversion ofparticular controlled substances
   into other than legitimate medical, scientific and industrial channels by sales to certain customers
   of McKesson; and

            WHEREAS, DEA alleges that McKesson failed to maintain effective controls at its
   Conroe, Texas distribution center (the ''Conroe Facility") against diversion of particular
   controlled substances into other than legitimate medical, scientific and industrial channels by
   sales to certain customers of McKesson; and




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HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                             MCKMDL00355367
                                                                                                       P-00013_00019
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                       WHEREAS, DEA alleges that McKcs.:;cn1 foiled to maiMnfo effccti.vc controls at its
             Denver, Colorado distribution center Uhe ''Denver f ilcility") against diversion of panicubr
             controlled subsiarv,;:cs iutt> other than leg\timme medical, sdenlific tmd industrial channels bv
             s;iics to certain custonwrs of M.cKesscn; u:nd                                                  ·

                     WHEREAS, DEA alleges that McKesson hilS failed to report suspicious orders of
             euntro!ll!d substances und lo report thefts m significant losses ofconttolled substances as more
             fully set forth in Apµcndlx B, Paragraph & as required by 21 C.f.R, 1301 J4(b); and

                    \VHEREAS, McKesson is reg,lsiered with DEA m 39 facilities as distributors of Schedule
             H-V controlled substances under the provisions cf the Comprehensive Drug Abuse Prevention
             Control Ac1of1970, Title 2l U,S.C § 801 ~.tseg,_, (''CSA" or "the Act''): and

                    WHEREAS, h4cl<esson denies the ;;iltegations lil!t forth in the Orders and as-otherwise
             summnrized above rmd also denies any allegations of improper conduct including but not limited
             to allegations that it foiled 10 maintain effective cormols against diversion or foiled to file
             suspickms order reports; mtd

                     WHEREAS, !he Parties bcliev\J that the coniinued coopermiort bet-veen the Parties to
             reduce lhe potential for diversion is In the public interest, including bm not limited to sharing of
             infurnm1ion rdnted to the distribution of controlled substances; and

                     \VHEREAS, the Parties belie'\'◊ th,lt a seu!ement 1n this matter is in the public interest
            and desire to sen!e and resolve all outslanding dairns und/m issues 'with re$pecl to the Orders
            untl allegations.

                   NOW, THEREFO!tE, ln considwnion of the mutual cavenanls .md agreemenis
            contained herein, and for other good and valllable consideration, and intending to be legally
            bound hereby, the Parti~s hereto agree us follov,'s:

                                                         L General

                     i, Intention of Partie_Ho E(fectSettlemem.. In order to avoid the uncertainty and expense
            of litigation, the Parties ngre.! to resolve this nvmer according to the Terms and Conditions
            bdO\V.

                    1   No AdQ}.!.§5ion gr Concession, This Agreement is neither an ndmission by McKesson
            1)fliability or of any allegations mada by DEA in the Order:s and investigalions, nor a com;esskm
            by DEA that iw allegations in the Orders and lnvi.:slig,ttlons arc not wdkfi.:mnded,

                    3, Covered Conduce For purposes of this Agreement, "Covered Conduct'' shall mean the
            folkiwing:

                    (i)    1hc conduct alleged in the Orders;




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                                                                                                         MCK-WVAG-003-0001164
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER
                                                                                                              MCKMDL00355368
                                                                                                                P-00013_00020
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                      {ii)    the alleged failure of McKesson to 1naimain adequate controls ag~inst the
                              diversion of controlled substances, on or pdor to December 31, 2007. at all
                              distribution facilities operated, o,vned, or controlled by it;

                      {iii)   the conduct described in Appendix B, Paragraph 8 w this Agreement; and

                      (iv)    the alleged foil me of McKesson to detect and report suspicious orders of the
                               controlled substances as required by 21 CF.R § l301,74(b) on or before
                               Dcce111bcr 31, 2007,

                     4 DEA Headquarters, For purposes of this ,Agreement~ the DEA Representative shall be
              rht Chief, Pharmaccuticn! investigations Section, Operations Division, DEA Headquarters,

                     5, !vkKesson Re,nr,.::sentativ:~- For purposes of this Agreement, the McKesson
              Representative shall be the Senior Vice President, Distribution Operations or the Vice Pres1dent1
              Regulatory Affairs,

                                                   IL Terms and Conditions

                     l . Obligations of ?vk-Kesson.

                          (a) McKesson agrets to maintain a cornpliance program designed to detect and
             prevent diversion nf contro!.led substances as required under the CSA and applicable DEA
             regulations. This program shall include procedures to reviev<' orders for controlkd substances.
             Orders that exceed established thresholds and criteria wiil be reviewed by a McKesson employee
             trained 10 detect suspkim1s orders for the purposes of deterrnining whether (i) such orders should
             be not filled and reported to the DEA or (ii) based on a delailed review,. the order is for a
             legitimate purpose and the contro!!ed substances are not likely to be diverted into other than
             !egifonate medical, sdemiflc, or industrial channels. Orders idemHied as suspicious wm be
             reported to the DEA as discussed in subsection IL l (c), This compliance program shall apply to
             all current and future l',.,icKesson distribution centers registered \Vith the DEA in the United States
             :md its territories and possessions, !v1cKesson nc-knovvledges and agrees !hat the obligations
             undertaken in this subparagrnph do not fulfill the totnHty of its obligations to maintain effective
             controls against the Ji version of controlled substances or to detect and report to DEA suspicious
             on:lers for controlled substances.

                     (b) Within five (5) business days following the date of each controlled substance
             transaction, k'.kKesson shall provide DEA Headquarters vvith a report afaH controlled substance
             trnmmctions through Electronic Data Interchange in a fomw.t mutually and reasonably agreed
             upon by the Parties, This information wiH be based on raw sales data and will not be reconciled
             in the manner that Auk1mmion of Reports and Consolidated Orders System (ARCOS) da1a is
             reconciled, nor does this n~quirement supplant the reqUirement to report ARCOS data in the time
             and 1nanner required by DEA regulations, The Parties agree that the data provided in this report
             shall be a trne and correct copy of the rnw transaction data at the time that the data is transmi Ued
             to the DEA and thus docs not contain any adjustments or corrections that would normally be part
             of McKesson's recondlladon ofits business records, The Parties agree that the report does not




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                                                                                               MCK-WVAG-003-0001165
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER
                                                                                                    MCKMDL00355369
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       otherwise constitute the basis for McKesson's compliance with recordkeeping and reporting
       requirements under the CSA or applicable DEA regulations, The Parties agree that such report is
       not required under the CSA or DEA regulations and that the accuracy of the report or the failure
       to file such a report is not a basis for a violation of 21 U.S,C. § 842(a)(5). McKesson shall begin
       trnnsmining this information no later than 120 days after the Parties have mutually agreed upon a
       fomwt The obligations contained in this paragraph shall remain in full force and effect for a
       period of five {5) years from the Effective Date of this Agreement unless DEA agrees in v.riting
       wan earlier termination of the obligations contained in this paragraph.

                (c) McKesson shall inform DEA of suspicious orders as required by 21 C.F,K §
       1301, 74(b) in a format mutuuHy and reasonably agreed upon by the Parties, except that contrary
       to DEA n~gulations, McKesson shall inform DEA Headquarters rather than the local DEA Field
       Oflice of suspicious orders, unless and until advised otherwise in writing by DEA Headquarters.
       DEA agrees to notify all of the DEA Field Otlices within 30 days of the Effective Date of this
       Agreement that McKesson will no tonger be required to provide suspicious order reports or any
       other type of reports regarding excessive purchases of controlled substances to the DEA Field
       Offices and that this Agreement shall supersede any DEA regulatory requirements to report
       suspicious orders to DEA, The obligations contained in this paragraph shall be and remain in
       full force and effect from the Effective Date of this Agreement, and thereafter shall remain in full
       force and effect unless terminated and revoked by DEA \vith thirty (30} days \1<Titten notice.

                (d) McKesson agrees to a tt:mporary suspension of its authority to distribute drugs
       containing \he drug codes for Schedule m hydrocodone combination products and alprazolam,
       that is, DEA drng codes 9805, 9806 and 2882 \Vith respect to the DEA registrations for its
       Lakeland Facility and its Conroe Facility, except for sales to the accounts as listed in Appendix
       C. The temporary suspension shall terminate in accordance v:Hh subsection IL2(g) unless sooner
       tcm1inatcd by the Parties in \niting pursuant to the terms of this Agreement

                (e) McKesson agrees that any express or implied approval by DEA of any previously
       implemented system to detect and report suspicious orders. is hereby rescinded and is of no legal
       effect \Vilh respect to fvkKess,.m's obligations to detect and report suspicious orders in
       accordance \Vith 21 C,F,R. § l 30L 74(b),

               {f) McKesson agrees lhnt within l20 days of the Effective Dute of this Agreement it wil1
       review distributions of hydrocodone and alprazo!am for the 24-month period immediately
       preceding the execution of this Agreement and identify any current customer ,vhose purchases of
       hydroccdone and a1pmzolam exceeded the thresholds established in its compliance program.
       McKesson shall conduct an investigation and take appropriate action as required by this
       Agreemeat, DEA regulations and other procedures established under McKesson's compliance
       program including its Controlled Substance Monitoring Program (CSMP),

                   (g) McKesson's policy and procedure is to cooperate \Vith the government in any
       investiga1ion, McKesson agrees to reasonably cooperate with DEA, the United States
       Attorneys' Offices, and any other Federal, state, or local law enforcement agency investigating
       or prosecuting McKesson ·s customers for alleged violations or activities related to the Covered
       Conduct unless such matters ,vou!d affect the rights or obligations of McKesson in regard to any


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Confidential - Subject to Protective Order
                                                                                            MCK-WVAG-003-0001166
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                         MCKMDL00355370
                                                                                                   P-00013_00022
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             pending or threatened litigation, Such cooperation shall include, but is not limited to~ producing
             records and making employees available for interviews by the DEA or other law enforcement
             authorities, However, nothing in this paragraph shall be construed as a waiver by McKesson or
             its employees of any constitutional rights or rights that the company would have as a party to a
             matter involving pending or threatened litigation with the government or a third party,

                        (b) McKesson agrees to pay civil penalties to the United States of America under 2 l
             U,SX:, § 842(c) for violations of 21 US.C § 842(a)(5) in the arnount of$ l3,250.000,00 in
             settlement of claims or potential clnims made by the United States of America for failing to
             report suspicious orders of controlled substances and for failing to report thefts or significant
             losses of controlled :mbsta.nces, Payment of said civil penalties shall be made by McKesson in
             the amoums indicated and as directed by the United States Attorneys' Offices set furth in
             Appendix B, Paragraph 13. McKesson agrees to execute the Settlement Agreement at Appendix
             B sinmltaneously with the execution of this :\greement and to execute any other documents
             necessary to fully and finally settle al! claims of the United States of America under this
             subparagraph, and to fully pay said civil penalties within 30 days of the Effective Date of this
             Agreement,

                    (i) Any material breach by any McKesson facility of subsections H, 1(a)-(h) of this
             Agreement by .t'vkKesson after the Effective Date of this Agreement may be a basis upon which
             DE1\ c-an issue an Order to Show Cause seeking the revocation of McKesson\; DEA
             certificate(s) of regisnation for thm facility,

                    2, ..Qhligations of DEA,

                    (a) At McKesson's request, DEA shall continue to provide diversion prevention and
             awareness training, as practicable, to retail pharmacy industry members at McKesson trade
             shows and through written materials. The frequency and content of such training shall be at
             DEA' s sole discretion,

                     (b) DEA agrees w accept at DEA Headquarters the lnfonnation regarding suspicious
             orders as required undL'r 11 C,ER, §130L 74(b) and described in subsection ILl (c) of this
             Agreement DEA agrees that this procedure is consistent with DEA regulatory requirements and
             hereby \vaives the regulatory requirement to report suspicious orders of controlled substances to
             the DEA field Division Offices,

                     (c) DEA agrees and acknowledges that neither the CSA ➔ DEA regulation.s, nor the terms
             of this Agreement establish a requirement that reporting of a suspicious order means that a
             customer be designated as a suspicious customer that would de facto require the suspension of all
             orders or sales of other controlled substances to this custmner,

                     (d) DEA agrees that any request made by DEA or any of its employees that McKesson
             continue to sell controlled substrmci;s to customers. for an order that McKesson has detennined to
             be :suspicious shall be made in writing to the designated McKesson Representative,




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Confidential - Subject to Protective Order                                                  MCK-WVAG-003-0001167
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                         MCKMDL00355371
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                        (e) \Vithin 150 days of the Effective Date of this Agreement. but not earlier thnn 90 days
               after the Effective Dare of this Agreernent, DEA shall conduct reviews of the functionality of
               McKesson's diversion compliance program ("Compliance Revie\vs") at up to eight distribution
               centtrs of McKesson, consisting of the Lakeland Facility; the Landover Facility; the Conroe
               Facility; and five other McKesson distribution centers selected by DEA. DEA shall also review
               the in\'esdgatory fiks maintained by McKesson of the customers serviced by the distribution
               centers subject to the Compliance Rcvie\vs. DEA shall notify McKesson no less than 48 hours
               prior to cormnencing a CompHance Review at a distribmion center. DEA shall issue a Notice of
               Inspection to McKesson upon commencement of a Compliance Revie,v. During the course of a
               Compliance Review, if requeskd, McKesson shall provide DEA with information related to the
               sales of controlled substances, non-comrolled drugs, and listed chemicals from Effective Date of
               Agreement. w the date of the Compliance Review by the particular distribution center being
               revievled. At the conclusion of each Compliance Revie,v, DEA shall conduct an exit interview
               with an approprintc r.-kKesson representative to provide DEA 's preHrninary conclusions
               regarding the Cornpliunce Review.

                        (f) The Compliance Reviews will be deemed satisfactory unless DEA determines that one
               or more of the facilities being inspected has (i) failed to muintain effective controls against
               diversion regarding the distribution of any controlled substance~ (ii) foiled to detect and report to
               DEA suspicious orders of control led substances; or (iii) foiled to meaningfully investigate nevv or
               existing customers regarding the customer·s legitimate need tc order or purchase controlled
               substances, The Compliance Reviews shall be deemed ''not satisfactory" if DEA provides
               wrinen notice ,vith specificity to .\icKesson on or before 165 days from the Effective Date of
               Agreern.('nt, stating thnt f',foKesson foiled to ml':et nny of the requirements in either subsections
               lL2(t)(i), (ii), or (Hi) of thb Agreement DEA shall not find a Compliance Reviexv "not
               satisfactory" unless tht foilure(s) are sufficient to provide DEA with a factual and legal basis for
               issuing an Order to Show Cause undaer 2 ! U.S.C. § &24(a) against one or more of the inspected
               facilities. In the event that DEA provides such written notice of a Compliance Review
               Fai!ure(s), DEA shall meet and confer with McKesson within 48 hours regarding such a finding.
               DEA shall consider remedial measures that McKesson has instituted in determining whether the
               Compliam:.e Reviews art smisfactory. A finding of "satisfactory" does not othenvise express
               DEA 's approval of the compliance program implemented at any particular distribu1ion center,

                        (g) Upon the completion of the Compliance Reviews and within 180 days of the
              Eifoctive Date of this Agreement, DEA will restore the drug codes 9805, 9806 and 2882 to the
              DEA registralions for the Lakeland and Conroe Facilities, ln the event that McKesson has not
              s!.Hisfied DEA in regard IO the Compliance Reviews ,vi thin 180 days of the Effective Date ofthis
              Agr,::cment and DEA issues a Show Cause against either of the Lakeland or Conroe Facilities,
              fl.foKesson agrees to a new period of suspension of the drugs codes at such facility until rhe
              matter is resolved by mutual agreement of the Parties or a final decision by the DEA Deputy
              Administrator, Notwithstanding, nothing in this Agreement shall prevent the Parties from
              agreeing to an extension or shortening of the suspension period for these drugs codes at the
              Lakeland and Conroe Facilities at any time during the course of this Agreement DEA shall not
              be prevented from taking any action that would otherv,ise be available to the agency to pursue a
              new period of suspension of the drng codes at these facilities.




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Confidential - Subject to Protective Order
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HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER
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                                                                                                        P-00013_00024
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              (h) DEA shall execute this Agreement only upon obtaining a fully executed copy of the
       Settlement Agreement m Appendix B.

               (i) In the event that DEA discovers infomrntion that may warrant administrative action,
       and which is not other.vise included under the Covered Conduct; DEA shall favorablv,, consider
       tvkKesson's entry into this Agreement; all actions taken by McKesson pursuant to this
       AgreemenL any remedial actions taken by McKesson to address the alleged or perceived
       violative conduct; and the compliance history of McKesson at the particular facility and at other
       McKesson facilities,

                        (j) DEA represents that it has n:vievved its records for investigations or
       inspections, initiated or conducted prior to December 31, 2007, \Vhich may allege that McKesson
       failed to report suspicious orders as required by 21 C.F,K 1301.74(b), DEA further represents
       that it has reviewed reports and records submitted by McKesson to DEA on or before December
       31, 2007 for indications that McKesson may have foiled to report suspicious orders as required
       by 21 Cf,R. l301.74(b). DEA has not referred and ngrees to not refer any conduct (other than
       conduct in Appendix B, Paragraph 8) occurring befor~ December 31, 2007, for civil penalty
       proceedings under to 21 C.S,C, § 842(a)(5) that v;ou!d be based on rhe Covert;d Conduct. to any
       other agency within the Department of Justice.

              3. Joint Oblilmtion:, of the Parties, McKesson and DEA agree that upon the execution of
       this Agreement, DEA and }.-foKesson shall file a joint motion \vith the DEA Administrative Law
       Judge to tenninme all pending adminisrrntive proceedings against the Lakeland Facility and
       Landover Facility,

             4, Release by DEA. (i) In consideration of the fulfillment of the obligations of
       McKesson under this Agreement, DEA ngrees to:

              {i)     Rekase McKesson from any administrntive claims within DEA's enforcement
                      authority for the conduct alleged in the Orders; and

              (ii)    Refrain from filing any administrative claims against ?v!cKesson within DEA's
                      enforcement authority under21 U,S,C §§ 823, 824 and 842, based on the Covered
                      Conduct, only to extent that such conduct was or could have been discovered by
                      DEA through the exercise of due diligence through the examination of open
                      investigations and inspections: in existence as of December 31, 2007, and the
                      review of the reports and records McKesson submitted to DEA prior to December
                      31, 2007.

               Notwithstanding the releases by DEA contained in this Paragraph➔ DEA reserves the
      right to seek to admit evidence of the Covered Conduct in any other administrative proceedings.
      Further, nothing in this Paragraph shall prohibit any other agency ,vithin the Department of
      Justice, any State auomey general, or any other l:nv enforcement, administrative, or regulatory
      agency of the United States or any State thereof C'hn.v enforcement agency"), from initiating
      adminisrrntive, civil, or criininal proceedings with respect to the Covered Conduct and DEA
      shall, as obligated in fol filling its s\atutory duties, assist and cooperate with any lavv enforcement


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Confidential - Subject to Protective Order                                                    MCK-WVAG-003-0001169
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                           MCKMDL00355373
                                                                                                     P-00013_00025
         Case 3:17-cv-01362 Document 1509-2 Filed 01/12/22 Page 26 of 67 PageID #: 72518


       agency that initiates an invesrigmiont nction, or proceeding involving the Covered Conduct, At
       McKesson's request. DEA agrees to disclose the terms of this Agreemem to any other law
       cnfurccment agency and ,vill represent that McKesson's compliance with this Agreement
       adequately addressed the administrative and civil allegations raised by DEA as defined in the
       Covered Conduct. This release is applicable only to the Released Parties and is not applicable in
       uny manner to any other individual, partnership, corporation, or entity,

               5. Release bv McKesson. McKesson fullv. and finallv. releases the United States of
       Anierica, its agencies, employees, servants, and agents from any claims (including attorney's
       fees, costs, rmd expenses of every kind and however denominated) which McKesson ha.s
       asserted) could have o.ss1;rted, or may assert in the future against the United States of America, its
       agencies, employees, servants, and £1gents 1 related to the Covered Conduct and the United States'
       investigation and prosecution thereof.

               6, Reservation of Claims. Not\:vithstanding any term of this Agreement, specifically
       n:se:rved and excluded from the scope and terms of this Agreement Js to any emity or person
       (including ?vkKcsson) are the follmving:

               (a) Any civil, criminal or administrative liability arising under Title 26, U-5, Code
       (Internal Revenue Code);

             {b) Any liability to the United States (or its agencies) for any conduct other than the
       Covered Conduct subject to Paragraph HA of this Agreement; or

               {c) Any liability bas~d upon such obligations as are created by this Agreement


                                               IIL Miscellaneous

              l, Bindinu on Successors. This Agreement is binding on !vkKesson, and its respective
       sutcessors, heirs, transferees. and assigns.

              2. Costs. Each Party to this r\greement shall bear its 0\\11 legal and other costs incurred
       in connection with this matter, including the preparation and performance of this Agreement.

               3, No ,Additional Releases, This Agreement is intended to be for the benefit of the
       Parties and the Released Parties only, and by this instrument the Parties do not release any claims
       against ~my other person or entity other than the Released Parties,

               4, Effect of Agreement Tirfs Agreement constitutes the complete abireement between
       the Parties. Al! material representations, understandings, and promises of the Parties are
       contained in this Agreement, and c:ach of the parties expressly agrees and acknowledges that,
       other than those statements expressly set forth in this Agreement, it is not relying on any
       statement, whether oral or \Vritten, of any person or entity \vith respect to its entry into this
       Agreement or to the consummation of the transactions contemplated by this Agreement. Any
       modi firntions to this Agreement shall be set forth in ¼Thing and signed by all Parties,


                                                        8



Confidential - Subject to Protective Order
                                                                                              MCK-WVAG-003-0001170
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER
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                                                                                                     P-00013_00026
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        McKesson represents that this Agreement is entered into with advice of counsel and knowledge
        of the events described herein, l\-1cKesson further represents that this Agreement is voluntarily
        entered into in order to ff\'Oid litigation, v,ithout any degree of duress or compulsion,

               5, Execution of Agreement This Agreement shalt become effective (i.~,, final and
        binding) five (5) business days after the date of signing by the last signatory (the "Effective
        Date"), The govemrnent agrees to notify McKesson immediately t.vhen the final signa1ory has
        executed this AgreemenL

                 6, Disclosure. McKesson and DEA may each disclose the existence of this Agreement
        and infonnation about this Agreement to the public without restriction. However~ the Parties
        agree io provide each other \Vtth advance notice the day before or as soon as possible once a
        decision has been made to issue any public statement or press release related to this Agreement.
        The Parfr:,s shall provide copies of any press release no later tlrnn t\VO hours before issuing the
        press release. This paragraph does not rlpply to any press release or public statement issued by
        the Department of Justice or any United States Attomey;s Office, This paragraph shall remain in
        effect for sixty (60) days, commencing with the Effective Date- of the Agreement.

               7. Execmion in Counte.marts, This Agreement may be executed in counterparts., each of
        which constitutes an original, and aH of svhich shall constitute one and the sarne agreement

              8. Authorizations. Th¢ individuals signing this Agreement on behalf of McKesson
       represent and warrant that they are authorized by McKesson to execute this Agreement The
       individuals signing this Agreement on behalf of DEA represent and warrant that they are signing
       this Agreement in their official capadties and that they are authorized by DEA to execute this
       Agreement.

                9. Choke of Law and Venue, This Settlement Agreement and Release shall be
       construed in accordance with the laws of the United States, and either Party may seek judicial
       enforcement of this Agreement upon a material breach by the other Party, The Parties agree that
       the jurisdiction and venue for any dispute arising betw'een and among the Parties under
       subsections H(2)(a-d) of this Agreement wi!l be the United States District Court or, as
       appropriate, in the Court of Federal Claims, in which the McKesson distribution facility(s) at
       issue is located, This provision, ho,vever, shall not be construed as a waiver of the jurisdictional
       provisions of the Controlled Substances Act




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Confidential - Subject to Protective Order
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HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER
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                                                                                                    P-00013_00027
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                         fN WITNESS WHEREOF, the Parties hereto have duly e:<ecuted 1his Sen!emem and
                  Release Agreement as of the date \vritten above.



                                                                 By:. __.,.,,...a,..,..,._~,_...:
                                                                                          .._.,-_--~.,.,---
                          o     , Hrunmetgren                             Donald G. Walker
                        President                                         Senior Vice President
                        :s,foKesson Corpora1km                            McKesson Corporntlo.n




                THE IJNlTED STATES DEPARTNlENT OF JUSTICE .
                DRUG F.:NF ... - - .      1\ NlST. ATlON
                        .                   ·.-    -  }
                By: --    ~,dQ,~,4...~~.v. . --
                      Mi. __
                      Acting Administntt!J                                                «.


                      Dn4g Enforcement Administration                      Drug Enforcement Administration




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Confidential - Subject to Protective Order                                                             MCK-WVAG-003-0001172
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                    MCKMDL00355376
                                                                                                              P-00013_00028
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             McKesson Distribution Center DEA Registered Fm:mties

              Location                    DEA H.egLstro.tion #

              Carol SLrcam, lL            RM0220599
              ~fothuen, !',,,,1/\         PM0020850
              \\'est Scnei.:a. ~y         PMOOOJ094
              faercH, \VA                 Pr.-10!50538
              Anchorage, AK               RM0227430
              Ai.irorn, CO                PM0018425
              Livonia. Ml                 PMOOJOS49
              Honolulu, HI                PMOOO!OH
              Santa Fe Springs, CA         PF00000!2
              Duluth, GA                   PR.0040357
              Memphis. TN                  PM000l95l
              Washington Ct. House, 011    RM022O688
              Oklahoma City, OK            RM0\38328
              La Vista, !\E                PM0038693
              Tolleso11, AZ                PM002 t lJ !
              Wilsonvi!\c. OR              Plv1U022929
              Ln Crosse, WI                RM0220537
              Delran. l\J                  RM0!73055
              Salt Lake City, UT           PM0023046
              West Sacramento, CA          PivW02 l535
              O'Fallon, MO                 P!vW037374
              ~Icmphis, T\'                RMOW7286
               Lakeland, FL                P~vl000077 l
               New Castle, PA              RM025860l
               Landover, \1D               PDO029567
               t\bcrdeen, SD               RM0335S69
               Conroe, TX                  RMOJ28408
               f>.cl.:Calla, AL            RS,10336950
               LiH!c Canada, ;<.i:\        P~v\0036334
               Cape Girardeau, MO          RM0337534
               Rocky Hill, CT              PR0!04593
               Aurora, CO                  RJ\·1035495$




Confidential - Subject to Protective Order                                MCK-WVAG-003-0001173
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                       MCKMDL00355377
                                                                                 P-00013_00029
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                 A,ppeudix B


                                     SETTLEMENT AGREEMENT
                   This SeWement/\greemen!(uAgreement"} is enten~:d Into this       5 o+k....   day of April,

            2008, by and bet\veen the United States Department of Justice, through the United States

            Attorney's Offices for the Districts of Maryland, Middle Fl~rl(ia, Southern Texas, Colorado .

            Utah and Eastern Californi.a runlted Stale~n and McKesson Corporation indud:ng facilities

            doing business as McKesson Pharmai;euHca!s and McKesson Drug Cornpany,

            {"Md{esson") and collectively ref.erred to as "!he Parties."



            1.     McKesson ls a Delav;are corporal!on and is headquartered in San Francisco,

            California. Among other things, McKesson ts iri the business of dlstnbuUng branded and

            generic prescription drugs, as w.e!J as over~the-counter medications, to relai1 pharmacies

            throughout the United States,      In furtherance of this business objective. McKesson

            operates numerous distdbuHon fa.cHWes !n the United States, Includlng. six facilities more

            fuHy described in AHachmenl A to Ihis Agreement ("!he S1x FadllHes~}

            :2     As more fully described !n Attachmenl A, McKesson holds Certi.ficates of

            Registration Issued by lhe Drug Enforcement Administration {"DEA''} authorizing it to

            dis!r1bule controHed substances from these facill!Jes indudlng the Six Facl!ll.res.

            3.     McKesson is required to operate lhe Six Fac!Hties in accordance v1ith the statutory

            and rcgu!alory provisions of the Controlled Substances Act 21 U,S,C, § 801      et seq, {"the


           4,      Each or the Six Facilities supplies prescriplion medications, including controlled

           substances, to retail pharrnacies and other health care providers within the respective




Confidential - Subject to Protective Order                                                           MCK-WVAG-003-0001174
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                  MCKMDL00355378
                                                                                                            P-00013_00030
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              jurisdictions as stated in Paragraph 8.

              5,     DEA Is the Department of Justice component agency primarily responsible for

              administering the CSA and Is vested with the responsibility of investigating CSA violations.

              6.    The Attorney General 1 through the United States Attorneys, has primary authority

              to bring civil actions to enforce the CSA in the Districts noted above. See 21 U.S.C, § 871



              7.    Methadone, Hydrocodone, Phentermine, Fentany! and Oxycodone are medications

             whose manufacture, distribution, sale and possession are regulated by DEA under the

             CSA This includes a requirement to report customer orders for controlled substances that

              are suspicious as the term is defined under 2-1 C>F.R §1301.74(b).

              8.    The "Covered Conduct" shall mean the- following alleged conduct:

                    A   VVithin the District of Mar.tlang: From January 2005 through October 2006,
                    McKesson-Landover sold approximately 3 million dosage units of hydrocodone to
                    NewCare Pharmacy ln Baltimore, and failed to report these sales as suspicious
                    orders to DEA when discovered, as required by and in viofatlon of 21 C.F.R. §
                    1301 J4(b) and 2i U.S.C. § 842(a)(5). Further. from August2006 to February 2007,
                    McKesson-Landover sold large quantities of phentermine based products 10 Smeeta
                    Pharmacy in Hlgh!and, Maryland and failed to report these sales as suspicious
                    orders to DEA when discovered, as required by and in violation of 21 C.F.R §
                    1301 ,74(b) and 21 U.RC, § 842(a){5);

                    R Within the Middle District of F!orjda: In October 2005, McKesson~Lakeland sold
                    approximately 2.1 million dosage units of hyctrocodone to seven pharmacies ln the
                    Tampa area (Trelles Pharmacy, BlWise Drugs, Universal RX, United Prescription
                    Service, Accurned Rx Medipharm RX and Avee Pharmacy) and failed to report
                    these sales as suspicious orders to DEA when discovered, as required by and ln
                    vlofation of 21 C.F.R. § 1301.74(b) and 21 U.S.C. § 842(a)(5);

                    C. Within the Southern District of Texas:      From February to September 2007,
                    McKesson~Conroe sold approximately 2,6 million dosage units of hydrocodone to
                    Mercury Drive Pharmacy and Maswoswe's Alternative Pham1acy and failed to report
                    these sales as suspicious orders to DEA when discovered, as required by and ln
                    violation of 21 C.F,R. § 1301.74(b) and 2i U.S.C. § 842(a)(5};




Confidential - Subject to Protective Order                                               MCK-WVAG-003-0001175
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                      MCKMDL00355379
                                                                                                P-00013 _ 00031
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                  D. Within the District of Colorado: From September 2005 through November 2007,
                  McKesson~Aurorn sold large quantities of hydrocodone to three Colorado
                  pharmacfes {Brighton Pharmacy in Brighton, Colorado; Western States Pharmacy
                  ln Brighton. Colorado; and St Vrain's Pharmacy in Lyons, Colorado}, and faHed to
                  report these sales as suspicious orders to DEA when discovered, as required by and
                  in vto!ation of 21 GFR, § 1301 .74{b) and 21 U.S.G. § 842{a){5);             ·

                  E Withln the District Qf .lJ..tgh: From January 2005 through October 2007,
                  McKessonwSa!t Lake City sold approximately 824,000 dosage units of hydrocodone,
                  Oxycodone, Fentanyl and Methadone to the Blackfeet Clinic in Browning, Montana,
                  and failed to report these sales as suspicious orders to DEA when discovered, as
                  required by and in violation of 21 C.F-R. § 1301.74(b) and 21 U.S.C. § 842(a}(5);

                  F, Within the Eastern District of California: From October 2007 through June 2007,
                  McKesson-West Sacramento suffered the theft or significant foss of controlled
                  substances on twenty-elghl separate occasions, and failed to timely submit
                  required theft and loss reports to DEA, in violation of 21 C,F.R. §§ 1301.74(c) and
                  130L76(b), and 21 U.S.C. § 842(a}(5}.

           9.     By entering into this Agreement, McKesson does not admit to the violaticms alleged
           as a result of any DEA investigation, or to any violation of law, Habi!ity, fau!t, misconduct,

           or wrongdoing. McKesson expiici!ly denies any allegations of vioiat!onsof the CSA or DEA

           regulations and represents that the company has defenses to the violations alleged by the

           government.

           1o.    At al! limes relevant to the activity a!ieged in these Recitals and Attachments, the

           CSA {21 U.S.C. § 842(c)(1 )), authorized 1he imposition of a civil penalty of up to $25,000

           for each violation of the Section, except that vlolatlons of § 842(a}(5) (record keeping and

           reporting violations) are subject to a civil penalty of up to $10,000 for each violation.

           1i.    To avoid the delay, expense, inconvenience and uncertainty of litlgation of these

           da!rns, the ParHes agree to settle, compromise, and resolve aH existing or potential claims

           for civil penalties the United Slates may have against McKesson under§ 842 of the CSA

           based on the Covered Conduct as further described ln Paragraphs 13 and 14 below.




Confidential - Subject to Protective Order                                                       MCK-WVAG-003-0001176
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                              MCKMDL00355380
                                                                                                        P-00013_00032
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            "'12.    This Agreement is neither an admission of lisb1tity by McKesson nor a concession

            by the United States that lts claims are not well founded. In cansideratkm of the mutual

            promises, covenants, and obligations set forth in this Agreement, the Parties agree as

            follows:

                                             TERMS AND CONDITIONS

            13.     McKesson shall pay to the United States the sum of Thirteen Ml!lion, Two Hundred

            Fifty Thousand Dollars ($13,250,000) (the "Settlement Amount") v,ithin thirty {30) days of

            the effective dale of this Agreement; payable as follows:

                    A.  For CQnduct A ~ Q - have Occurred within the Dlstrict of Maryland:
                    McKesson shall pay the sum of Two Million Dollars {$2,000,000). Payment shalt be
                    by etectronic funds transfer to the United States Attorney's Office, District of
                    Maryland, pursuant to instructions provided by !he United States.

                    8, For Conduct Alleged to have Occurred wlthfn the Middle District of Florida:
                    McKesson st1al! pay the sum of Seven Mlllicn Four Hundred Fifty»Slx Thousand
                    Dollars {57,456,000), Payment shall be by electronic funds transfer to the United
                    States Attorney's Office, Middle District of Florida, pursuant to instructions provided
                    by the United States,

                    C, for Conduct AJL~ lo have Occurred within the Southam District of Texas:
                    McKesson shall pay the sum of Two Million Dollars ($2,000~000), Payment shall be
                    by electronic funds transfer lo the United States Attorney's Office, Southern Dtstrict
                    of Texas, pursuant to instructions proVided by the United States,

                    D. For Conduct Alleged to have Occurrnit witbinJ!Je District of Cglorado: McKesson
                    shall pay the sum of One Mil!ion Dollars ($1,000,000}. Payment shall be by
                    electronic funds transfer lo the United Slates Attorney's Office, District of Colorado,
                    pursuant to instructions provided by the United States.

                    E. For Conduct AJl,eged to hrl.Y.e Qr;curred wiihln the District of Utah: McKesson
                    shall pay the sum of Five Hundred Forty-Four Thousand Dollars ($544,000).
                    Payment shaf! be by electronic funds transfer to the United States Attorney's omce,
                    District of Utah, pursuant to instructions prnvided by the United States,

                    F. For Conduc.t Alleged to nave Occurred within the Eastern Q!strict of Callfor:nl~
                    McKesson shall pay the sum of Two Hundred Fifty Thousand Dollars ($250,000},
                    Payment shall be by electronfc funds transfer to the United States Attorney's Office,

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Confidential - Subject to Protective Order                                                          MCK-WVAG-003-0001177
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                 MCKMDL00355381
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                    Eastern District of California, pursuant to instructions provided by the United States.


             14.    !n consideration of the undertakings by McKesson, the United States agrees to

             settle and relinquish all claims for civil penames lt may have under 21 U,S.C, § 842(c)(1)

             against McKesson, its officers, directors, and employees forpossiblevlolationsofthe CSA,

             and the regulations promulgated thereunder, based on the Covered Conduct

             15,    McKesson fully and finally releases the United States, its agencies, employees,

             servants, and agents from any claims (including attorney's fees, costs, and expenses of

             every kind and however denominated) which it has asserted, could have asserted, or may

             assert in the future against the Unlted States, its agencies, employees, servants, and

             agents, related to the investigation, prosecution and settlement of this matter.

             16,    Notwithstanding any term of this Agreement, specifically reserved and excluded from

             its scope and terms as to any entity or person are the following:

                   A. Any potential criminal liability;

                   B. Any criminal, civil or administrative claims arising under Title 26, U.S. Code
                   (lntema! Revenue Service);

                   C, Any administrative liabl!ity, including mandatory exclusion from any federal
                   programs:

                   D, Any liability to the United States for any conduct other than that covered by the
                   release in Paragraph i4; and

                   E. Any claims based on such ob!lgatfons as are created by this agreement.


             17,   McKesson acknowledges that each of its DEA registered facHities ls required to

             comply with the control!ed substance record keeping and reporting requirements of the

             CSA, McKesson represents that it has taken good-faith actions to detect and prevent




Confidential - Subject to Protective Order                                               MCK-WVAG-003-0001178
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                      MCKMDL00355382
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              diversion including agreeing to Implement the policies and procedures that are the subject

             of an adminlstrative settlement agreement between lt and DEA dated May_£__, 2008.

             18,    McKesson agrees that any and        an costs it has or will incur rn connection with this
             rn atter-•inc! uding payment of the Settlement Amount under th is Agreement, attom ey's fees,

             costs of investigation, negotiation, and remedial action--shall be una!lowable costs for

             government contract accounting and for Medicare, Medicaid, TrlCare, and FEHBP

             reimbursement purposes.

             19.    This Agreement is not intended by the Parties to be, and shall not be fnterpreted to

             constitute, a release of any person or entity not identified or referred to herein.

             20,    Thls Agreement shall be governed by the laws of the United States, If a dispute

             arises under this Agreement between McKesson and an Office of the United States

             Attorney signing this Agreement, exclusive jurisdiction and venue shall lie in the federal

             judlclal district of the Office with whom the dispute arose 1 and to the extent that state law

             applies to the dispute, the law of the State withln the jurisdictional district shall appiy', If a

             dispute arises under this Agreement ~f?tween McKesson and more than one of the United

             States Attorney's Office signing this Agreement. exclusive jurisdiction and venue shall !ie

             in the District of Maryland and to the extent that state law applies to the dispute, the law of

             Maryland shaH apply.

             21.    The Parties agree that this Agreement does not constitute evidence or an admission

             by any person or entity, and sha!I not be construed as an admission by any person or

            entity, with respect to any issue of law or fact

            22.    This Agreement constitutes the entire agreement between the Parties and cannot

             be amended except in writing and when signed by al! the Parties to this Agreement




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Confidential - Subject to Protective Order                                                   MCK-WVAG-003-0001179
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                          MCKMDL00355383
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                23.      McKesson acknowledges thal its authorized representatives have read this

                Agreement and understand that as of its effective date,. !t wH! be a matter of public record,

                24.      Each person who signs this Agreement ln a representative capacity warrants that he

                or she ls fully authorized to do so.

                25,      This Agreement shall be effective on the date of signing by au the Parties, lt may be

                executed 1n counterparts, each of which sha!I constitute an original and a!! of which shall

                constitute one and the same agreement



                On Behalf of Mc Kenon Corporation
                One Post Street
                San frnncl      o, California 94104


                Sv.;:-.-r1-..:::J---+--=------
               { . , / ohn H, Hammergran                                  Donald G, Walker
                      President                                           Senior Vice President

                Dated:   4.cJ J! [    , 2008



                By:~~~::.:........,i;..,.._,,.~~~,,,.,_1_
                  ~ohn A, Glib    Jc
                    Hyman, Phelps & McNamara, P.C,
                    Counsel to McKesson Corporation

                Dated:   i/r&1. tf..- . ,   2006




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Confidential - Subject to Protective Order                                                          MCK-WVAG-003-0001180
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                 MCKMDL00355384
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                                       ATTACHMENT A

         {Six McKesson FacHities Referenced in Paragraph 1 of thls Agreement)


   ·1,      7721 Polk Street !n Landover Maryland {"McKesson*Landover»}, located within the
   District of Maryland and operating under DEA registration number PD0029567;


   2,      1515 West Bella Vista Street in Lakeland Florida ("McKesson-Lakeland"), located
   within the Middle District of Florida and operating under DEA registration number PM
   0000771;


   3.    3301 Pollock Drive in Conroe Texas (''McKesson-Comoett}, located within the
   Southern District of Texas and operating under DEA registration number RM 0328408;


   4.      14500 East 39,nAvenue in Aurora Colorado (''McKesson~Aurora"), located within the
   District of Colorado and operating under DEA reglstratlon number PM 0018425;


  5.     1900 South 4490 West in Salt Lake City Utah ("'McKesson-Salt Lake City"), located
  within District of Utah and operattng under DEA registration number PM0023046; and


  6.      3775 Seaport Boulevard in West Sacramento California rMcKesson-West
  Sacramento''), located within the Eastern District of California and operating under DEA
  registration number PM 0021535.




Confidential - Subject to Protective Order                                            MCK-WVAG-003-0001182
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                   MCKMDL00355386
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               Appendix C - Sales Accounts at Lakeland and Conroe Facilifics authrnizcd by DEA as an exception to Paragraph IL 1 (d.).
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                VA mrn'ATIB.NTCUNtC                  l9S BV434S319 99 l 2 UTILE. ROAD                                         NEW PORT !UCHEY     FL    M654
                VA {)lJTPAT!Eh'T CLINIC              l 95 lW6325852 2900 VETI:,RAJ<IS WAY                                     VJURA               FL    JN40
                VA COMM HASEDOUTPATCUN               195 OVi74314 l ROtrrt 111 BAY 15.17                                      K.lNGSHlLL          Vl        R50
                NW LJ\ WAR VETERANS HOME             115 FN0200103 3130 ARTHUR 'RAY TF..AGUE PK                               BOSSIER CITY        LA    7l l l:1
                SE LA WAR VETS HOME                  l 15 i'SOJ1l¼l:i5 •10t0 WE~"T J\IRUNE HH.:iHWA Y                         RESERVE             LA    70084
                USl'HS IMMIGRA110N JENA              115 FU05943SO lUO PINE.HILL ROAD                                         JENA                LA    71342
                StJBSTANCc DEf'Et,..'D 1ilEA T l'R   l IS PVOl12161 .!002 HOLCOMRH HLvn                                       llOUSTQN            TX    71-031)
                VA MEDlCAL CTR flfffOX               H 5 R~02224ll0 740() MERTON MINTER BLVD                                  SAN ANTONIO         TX    7!122')




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Confidential - Subject to Protective Order
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                                        MCK-WVAG-003-0001184
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                       APPENDIXC




Confidential - Subject to Protective Order                                MCK-WVAG-003-0001186
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                       MCKMDL00355390
                                                                                 P-00013_00042
                        Case 3:17-cv-01362 Document 1509-2 Filed 01/12/22 Page 43 of 67 PageID #: 72535

                                                                    Appendi)((
                                                            Permitted VA Registrants
                                                   Confidential Business Records - FOIA Exempt

                                                                                                             Stale Zip Cd   ~   Effective
               DEANum    CustName                     DC     Addr Line 1 ~ Oely            Ci~ Name * Oely   Cd• Oely           Date
               BV3589984 VA MED CTR-WORCESTER CUN 8110 601-619 LINCOLN 5T                  WORCESTER         MA    01605           1/4/2017
               AV4184002 EDITH NROGERS MEM BEDFORD 8110 200 SPRINGS ROAD BLDG 78           BEDFORD           MA    01730           1/4/2017
               AV8498734 VA OUTPAT LOWELL CLINIC      8110   130 MARSHALL RD               LOWELL            MA    01852           1/4/2017
               AV5827526 VA 0/P CL-CAUSEWAY-BOSTON    8110   251 CAUSEWAY ST               8OSTON            MA    02114           1/4/2017
               PV0130562 VA 0/P CAUSEWAY-BOSTON       8110   251 CAUSEWAY STREET           BOSTON            MA    02114           1/4/2017
               AV4593287 VA OP PHCY ~ BOSTON          8110   150 SO HUNTINGTON AVE         BOSTON            MA    02130           1/4/2017
               AV4243197 VA MED CTR-WEST ROXBURY      8110   1400 VFW PARKWAY              WEST ROXBURY      MA    02132           1/4/2017
               AV4246674 VA MED cm 0/P-BROCKTON       8110   940 BELMONT ST                BROCKTON          MA    02301           1/4/2017
               RV0426711 VA MEO CTR BROCKTON          8110   940 BELMONT STREET            BROCKTON          MA    02301           1/4/2017
               AV4887254 VA AUGUSTA OP                8110   BLDG WOE ROOM E19A            AUGUSTA           ME    04330           1/4/2017
               AVS605603 VAMC MANCHESTER              8110   718 SMYTH ROAD                MANCHESTER        NH    03104           1/4/2017
               AV4304313 VAMCWHTRVR                   8110   215 NORTH MAIN STREET         WHITE RIVER JUN   VT    05009           1/4/2017
               BF5921730 FMC DEVENS AYER              8110   42 PAHON ROAD                 AYER              MA    01432           1/4/2017
               FF3400607 FCJ BERU N BOP               8110   1 SUCCESS LOOP ROAD           BERLIN            NH    03$70           1/4/2017
               AP1405198 PLEASANT POINT HL CTR !HS    8110   11 BACK ROAD PO BOX 351       PERRY             ME    04667           1/4/2017
               BC1652189 PASSAMAQUODDY HLH CTR 1HS    8110   401 PETER DANA POINT RD       IND!AN TOWNSHI    ME    04668           1/4/2017
               AH4234744 SOLDIERS HOME lN MASS        8110 91 CREST AVE                    CHELSEA           MA    02150           1/4/2017
               FM1799216 MVH PHARMACY                 8110 460 CIVIC CTR OR STE 3          AUGUSTA           ME    04330           1/4/2017
               BN7416806 NH TILTON VETERANS HOME      8110 139 WINTER STREET               TILTON            NH    03276           1/4/2017
               AV4447810 VA 0/P SYRACUSE              8113 800 IRVING AVENUE               SYRACUSE          NY    13210           1/4/2017
               AV4732055 VA BATAVIA                   8113 222 RICHMOND AVENUE             BATAV1A           NY    14020           1/4/2017
               AV4149642 VA BUFFALO                   8113 3495 BAILEY AVENUE              BUFFALO           NY    14215           1/4/2017
               AV4229123 VA 1/P CANANDAIGUA           8113 400 FORT HILL AVENUE            CANANDAIGUA       NY    14424           1/4/2017
               AV8023359 VA ROCHESTER                 8113 465 WESTFALL RO                 ROCHESTER         NY    14620           1/4/2017
               AV4731217 VA BATH                      8113 76 VETERANS AVENUE              BATH              NY    14810           1/4/2017
               BF1879800 FCI MCKEAN LWSRUN SOP        8113 6975 ROUTE 59                   LEWIS RUN         PA    16738           1/4/2.017
               AS8517356 ST REGIS MOHAWK HLTH !HS     8113 412 ST. ROUTE 37                HOGANSBURG        NY    13655           1/4/2017
               AC7522433 CATTARAUGUS IND RES IHS      8113 36 THOMAS IND SCHOOL DR         IRVING            NY    14081           1/4/2017
               AA7522.445 LIONEL R JOHN HLT CTR !HS   8113 987 R C HOAG DR                 SALAMANCA         NY    14779           1/4/2017
               885784079 BUFFALO FEDERAL DET FACIL    8113 4250 FEDERAL DRIVE              BATAVIA           NY    14020           1/4/2017
               FS1197474 SE LOUISIANA VA/IP--OP-N 0   8115 1601 PERD!DO ST/RM lG           NEW ORLEANS       LA    70112.          1/4/2017

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HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                     MCKMDL00355391
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                                                                    Appendix C
                                                             Permitted VA Registrants
                                                    Confidential Business Records - FOIA Exempt

                                                                                                               State Zip Cd • Effective
              OEANum    CustName                      DC   Addr Line 1 • Oely               City Name • Oely   Cd- Oely       Date
              FS2218508 SOUTHEAST LA VA-N ORLEANS     8115 2237 POYDRAS STREET              NEW ORLEANS        LA    70119        1/4/2017
              AV9426760 VA OP CllNlCBATON ROUGE       8115 7968 ESSEN PARK AVE              BATON ROUGE        LA    70809      1/4/2017
              AV4515815 VA MC 0/P-SHRE:VEPORT      8115 510 EAST STONER AVENUE              SHREVEPORT         LA    71101      l/4/2017
              AD3351070 VA MED CTR PINEVILLE       8115 2495 SHREVEPORT HWY                 PINEVILLE          LA    71360      1/4/2017
              BV2325644 VA OP CUNiC LUFKIN         8115 2206 N JOHN REDDITT DR.             lUFKJN             TX    75904      1/4/2017
              AB445112.4 CENTRAL TX VA WSHE TEMPLE 8115 1901 SOUTH Fl RST STREET            TEMPLE             TX    76504      1/4/2017
              AV4718714 CNTRl TXVETS IPWACO BLDGS 8115 4800 M tMOR!AL DRIVE                 WACO               TX    76711       1/4/2017
              AV4515790 VA MC RESEARCH HOUSTON     8115 2002 HOLCOMBE BLVD                  HOUSTON            TX    77030      1/4/2017
              PV0122161 sussr DPND TREAT PR HOUST 8115 2002 HOLCOMBE BLVD                   HOUSTON            TX    77030      1/4/2017
              AV7507164 VA 0/P CLINIC BEAUMONT     8115 3420 VETERAN CIRCLE                 BEAUMONT           TX    77707      1/4/2017
              AVS:318856 VA MEDICAL CTR-KERRVILLE  8115 3600 MEMORIAL DRIVE                 KERRVILLE          TX    78028      1/4/2017
              AV5S46936 VAMC OP A MRPHY S ANTONIO 8115 7400 MERTON MlNTER BLVD              SANANTONIO         TX    78229      1/4/2017
              BN9966500 N CENTRAL FED SAN ANTONIO 8115 17-440 HENDERSON PASS                SAN ANTONIO        TX    78232      1/4/2017
              BV1276206 VA OP FRNK TEJEDA SAN ANT  8115 5788 ECKHERT ROAD                   SAN ANTONIO    TX        78240      1/4/2017
              BVl:253739 VA OP CUN-CORPUS CHRIST!  8115 205 S ENTERPR!ZE PARKWAY            CORPUS CHRISTI TX        78405      1/4/2017
              8V2813182 VA OUTPAT CLINIC-MCALLEN   8115 901 EAST HACKBERRY AVENUE           MCALLEN        TX        78503       1/4/2017
              BH9206714 HARLINGEN VA OUTPT CLINIC  8115 2106 TREASURE HILLS BLVD            HARLINGEN          TX    78550      1/4/2017
              FV2286715 VA AMB SURG HARUNGEN       8115 2601 VETERANS DRIVE                 HARLINGEN          TX    78550      1/4/2017
              BV2524913 VA OP CU-AUSTIN            8115 7901 M ETROPOUS DR                  AUSTIN             TX    78744      1/4/2017
              FF11721S5 FCI-OAKDALE                8115 EAST WHATELY RD/POB 5050            OAKDALE            LA    71463      1/4/2017
              BF7167845 US PENITENT!ARY-POLtOCK    8115 POB 1000 1000 A! R BASE RD          POLLOCK            LA    71467      1/4/2017
              AF2404527 FCI SEAGOVILLE             8115 2113 NORTH HIGHWAY 175              SEAGOVILLE         TX    75159      1/4/2017
              BF6451506 FED DETENTION CTR HOUSTON 8115 1200 TEXAS AVENUE                    HOUSTON            TX    77002      1/4/2017
              BF5194585 FEDERAL BEAUMONT BOP        8115 5830 KNAUTH ROAD                   BEAUMONT           TX    77705      1/4/2017
              BF1742332 FED PRISON CMP BRYAN        8115 1100 URSUUNE                       BRYAN              TX    77803      1/4/2017
              BF2295017 FC! THREE RlVERS            8115 PO BOX 4000 HWY 72 WEST            THREE RIVERS       TX    78071      1/4/2017
              AF8942650 FC! BASTROP                 8115 1341 HIGHWAY 95 NORTH              BASTROP            rx    78602      1/4/2017
              BP7040176 CHITIMACHA HlTH&HUMAN !HS 8115 3231 CH!T!MACHA TRAIL                CHARENTON          LA    70523      1/4/2017
              BC6820383 COUSHATf A HLT EDI !HS      8115 PO BOX 519 2003 CC BEL RO          ELTON              LA    70532      1/4/2017
              BA7647502 ALA-COUSHATTA INDIAN !HS    8115 129 DAYCARE ROAD                   UV!NGSTON          TX    77351       1/4/2017
              FS0318685 SE LA WAR VETS HOME         8115 4080 WEST AIRLINE HIGHWAY           RESERVE           LA    70084       1/4/2017

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HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                  MCKMDL00355392
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                                                                    Appendix C
                                                              Permitted VA Registrants
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               DEA Num   CustName                  DC Addr Line 1 * Dely                   Oit,y Name • Dely   Od* Oely      Date
               FU4924610 USPHS IMMIGRATION ALEXAND 8115 96 GEORGE THOMPSON DRIVE           ALEXANDRIA          LA    71303      1/4/2017
               F-UOS943SO USPHS IMMlGRATlON JENA   8115 830 PINEHILL ROAD                  JENA                LA    71342      1/4/2017
               6U9827140 USPHS !MM!GRAT!ON CUSTOMS    8115 1001 WELCH STREET               TAYLOR              TX    76574      1/4/2017
               818861367 IMMIGRATIONS & CUSTOMS VA    8115 15850 EXPORT PLAZA DRIVE        HOUSTON             TX    77032       1/4/2017
               Fl5035591 !MM & CUST STX RES FAC       8115 300 EL RANCHO WAY               DILLEY              TX    78017      1/4/2017
               819144457 IMMIGRAT&CUSTOMS/PEARSAU     8115 566 VETERANS DRIVE              PEARSALL            TX    78061       1/4/2017
               Bl26138SS INS DETENTION FCY BAYV!EW     8115 BUENA VISTA ROAD               BAYVIEW             TX    78566       1/4/2017
               AG4351754 VA MC· WASHINGTON DC          8120 SO IRVING ST NW RM 18145       WASHINGTON          DC    20422       1/4/2017
               RW045937f VAMC · COMP , WASHINGTON      8120 50 IRVING STREET NW            WASHINGTON          DC    20422       1/4/2017
               AV4635427 VA MC IP-BALTIMORE            8120 10 N GREEN STREET              BALTIMORE           MD    21201       1/4/2017
               AV4317447 VA MEDICAL CENTER-DURHAM      8120 508 FULTON STREET              DURHAM              NC    27705      1/4/2017
               RV0l14823 VA MC RESEARCH 151,DURHAM     8120 508 FULTON STREET              DURHAM              NC    27705      1/4/2017
               FV4210150 VAMC HCC GREENVILLE           8120 401 MOYE BLVD                  GREENVILLE          NC    27834      1/4/2017
               AV4288711 VA MEO CTR FAYETTE MM         8120 2300 RAMSEY ST                 FAYEITEV! LLE       NC    28301      1/4/2017
               FV:3737648 VAMC WILMINGTON HCC          8120 1705 GARDNER ROAD              WILMINGTON          NC    28405      1/4/2017
               AV4674556 VAMC(l19} RICHMOND            8120 1201 BROAD ROCK BLVD           RICHMOND            VA    23249      1/4/2017
               AV6363799 VAMC 119 HAMPTON 1/P PHCY     8120 BLDG t4 1108 (GC100)           HAMPTON             VA    23667      1/4/2017
               A.54251978 VA MEDICAL CENTER-SALEM      8120 1970 ROANOKE BLVD BOG 143      SALEM               VA    24153      1/4/2017
               AV4709133 VAMC MARTINSBURG 0/P          8120   RT 9•510 BUTLER AVENUE       MARTINSBURG         WV    25401      1/4/2017
               8F4108280 FCI CUMBERLAND                8120 14601 BURBRIDGE ROAD SE        CUMBERLAND          MD    21502      1/4/2017
               Bf6885163 FEDERAL MED CENTER-BUTNER     8120 OLD NC 75, PO BOX 1600         BUTNER              NC    27509      1/4/2017
               BF7708956 FCl PETERSBURG                8120 1060 RIVER RD PO BOX90042      PETERSBURG          VA    23804      1/4/2.017
               BU7504687 US PENT LE CNTY JNSVL BOP     8120 PO BOX 900                     JONESVILLE          VA    24263      1/4/2017
               FF1988015 FCI MCDOWELL BOP              8120 101 FEDERAL DR1VE              WELCH               WV    24801      1/4/2017
               AF2435609 HOWARD UNIVERSITY HSP FSS     8120 2041 GEORGIA AVENUE NW         WASHINGTON          DC    20060      1/4/2017
               FS0578801 SITTER & BARFOOT VET PHCY     8120 1601 BROAD ROCK BLVD      RICHMOND                 VA    232.24     1/4/2017
               8V7236638 VIRGINIA VETERANS CARE CE     8120 4550 SHENANDOAH AVENUE NW ROANOKE                  VA    24017      1/4/2017
               806151663 DEPT OF HLTH & HUMAN SVS      8120 6701 ENGLISH MUFFIN WAY        FREDERICK           MD    21703      1/4/2017
               RP0167571 PEACE CORPS-WASHGTN           8120 1111 20TH ST NW                WASHINGTON          DC    20526      1/4/2017
               PV0167723 VAMC DP119 RICHOPNMKTNT30 8120 1201 BROAD ROCK BLVD               RICHMOND            VA    23249      1/4/2017
               FBS184279 BIRMINGHAM VA CLINIC          8126 2415 7TH AVENUE SOUTH          BIRMINGHAM          AL    35233      1/4/2017

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HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                  MCKMDL00355393
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                                                                     AppendixC
                                                               Permitted VA Registrants
                                                      Confidential Business Records - FOIA Exempt

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               OEANum Gust Name                        DC Addr Line 1 ~ Dely                  City Name • Dely   Cd·   Oely      Date
               BV5478359 VA MC BIRMINGHAM AL           8126 700 S 19TH STREET                 BIRMINGHAM         AL    35233        1/4/2.017
               AV4942529 VA MEDICAL CTR/TUSCALOOSA      81,26 3701 LOOP ROAD EAST             TUSCALOOSA         Al    35404        1/4/2017
               FHS083770 HUNTSVILLE VA CLINIC           8126 500 MARKAVIEW ROAD               HUNTSVILLE         Al    35805        1/4/7.017
               AV5316458 CNTRL AL VA SYS EC-TUSKEG      8126 2400 HOSPITAL ROAD               TUSKEGEE           AL    36083        1/4/2017
               AV4297342 CENTRAL Al VA WC-MTGMRY        8126 215 PERRY HILL RD                MONTGOMERY         AL    36109        1/4/2017
               BV2658687 VA M/C PHCY 0/P MOBILE Al      8126 1504 SPRINGHILL AVE #1504        MOBILE             Al    36604        1/4/2017
               BD3877048 VA MEO CTR PHCY !P BILOXI      8126 400 VETERANS AVE                 BILOXI             MS    39531        1/4/2017
               A.53285170 VA MED CTR PHCY OP BILOXI     81.26 400 VETERANS AVE RM1B102A       BILOXI             MS    39531        1/4/2017
               AV60S2699 VAOP 626GF CHATTANOOGA         81:L ,-,...... DEBRA ROAD #5200       CHATTANOOGA        TN    37411        1/4/2017
               AF8998392 FC! TALLADEGA                  8126 565 RENFROE ROAD                 TALLADEGA          AL    35160        1/4/2017
               FF3413793 FCI ALICEVILLE                 8126 11070 HIGHWAY 14 POB 445         ALICEVILLE         AL    35442        1/4/2017
               AF5426691 FED PRIS CMP MAXWELL BOP       8126 BLDG 1226 MAXWELL AFB            MAXWELL AFB        AL    36112        1/4/2017
               BP1332080 POARCH BAND-CREEK IND IHS      8126 5811 JACK SPRINGS RD             ATMORE             AL    36502        1/4/2017
               fG4659073 GS! SVH1 ALEXANDER AL          8126 1784 ELKAHATCHEE ROAD            ALEXANDER CITY     Al    35010        1/4/2017
               FH3525615 HMR SVHl PELL CHY              8126 7054 VETERANS PARKWAY            PELL CITY          AL    35125        1/4/2017
               FG4659061 GS! SVHl HUNTSVILLE            8126 2701 MERIDIAN ST                 HUNTSVILLE         AL    35811        1/4/2017
               FG4659035 GS! SVH1 BAY MINETTE           8126 300 FAULKNER DRIVE               BAY MINETTE        AL    36507        1/4/2017
               FU0000707 USPHS !MMIGRATION-STEWAR       8126 146 CCA ROAD                     LUMPKlN            GA    31815        1/4/2017
               AV3308752 VA PUGET SOUND IP SEATTLE      8128   660 SOUTH COLUMBIAN WAY        SEATTLE            WA     98108       1/4/2017
               RV0142618 VA PUGET SOUND NT SEATTLE  8128 660 SOUTH COLUMBIAN WAY              SEATTLE            WA    98108        1/4/2017
               AV4538166 VA PUGET SOUND AME TACOMA 8128 600 SW VETER.A.NS DRIVE               TACOMA             WA    98493        1/4/2017
               RV0:283705 VA PUGET SND AM LK TACOMA 8128 9600 SW VETERANS DRIVE               TACOMA             WA     98493       1/4/2017
               Bf:5407312 FED DETENTION CTR SEATAC      8128 2425 S 200TH STREET              SEATAC             WA     98198       1/4/2017
               FM0121234 MUCKLESHOOT HTL&WEll !HS       8128 17500 SE 392.ND STREET           AUBURN             WA     98092       1/4/2017
               AL8917493 LUMM! PHS !HS                  8128 2592 KWINA ROAD                  BELLINGHAM         WA     98226       1/4/2017
               859816248 NOOKSACK TRIBAL CUN IHS        8128 2510 SULWHANON DRIVE             EVERSON            WA     98247       1/4/2017
               8599332.60 SOPHIE TRITTEVICK IHS          8128 250 FORT STREET                 NEAH BAY           WA     98357       1/4/2017
               Al6834623 PUYALLUP/TACOPID HLT !HS        8128 2209 EAST 32ND BLDG #15         TACOMA             WA    98404        1/4/2017
               FPS073515 PUYALLUP SALISH ONC IHS         8128 3700 PACIFIC HWY E STE 10       FIFE               WA     98424       1/4/2017
               AT.5011666 ROGER SAUX HEALTH CU !HS      18128 1505 KtA-OOK-WA DRIVE           TAHOLAH            WA     98587       1/4/2017
               BU81689O1 OMAK !NDIAN HEALTH SERV        {8128 617 5TH AND BENTON              OMAK               WA     98841       1/4/2017

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HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                      MCKMDL00355394
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                                                                    AppendixC
                                                              Permitted VA Registrants
                                                     Confidential Business Records - fOIA Exempt




                          !MMlGRAT!ON & CUSTOM                 23 EAST J STREET
               AV:2874091 VA MC/RO ANCHORAGE AK                01 N MULDOON DR               ANCHORAGE        AK            1/4/2017
               RA0107981 ALASKA NATIVE TRIB HL !HS             30 TUTTLE PLACE #2            ANCHORAGE        AK            1/4/2017
               FS0137453 SCF RASU PHARMACY IHS                                               ANCHORAGE        AK            1/4/2017
               AP5584897 ALASKA NATIVE MC 0/P !HS      8130 4315 DIPLOMACY DRIVE             ANCHORAGE        AK            1/4/2017
               BA5289207 ANCHORAGE NATIVE PR! !HS      8130 4320 DIPLOMACY DR #1203          ANCHORAGE        AK            1/4/2017
               AU4362339 BETHEL-YUKON KUSK 1/P !HS     8130 700 CHIEF EDDIE HOFFMAN H        BETHEL           AK   99559    1/4/2017
               F!08SB627 !LANKA COMM !HS               8130 705 SECOND ST                    CORDOVA               99574    1/4/2017
               AXXXXXXXX KANAKANAK HOSPITAL IP !HS     8130 6000 KANAKANAK RD/P08 130        D!LUNGHAM             99576    1/4/2017
               AK9681859 K A N A PHARMACY IHS          8130 3449 E. REZANOF DRIVE            KODIAK                99615    1/4/2017
               FV015B875 VALLEY NATIVE PCC IHS         &130 1001 S KNIK GOOSE SAY RD         WA.SILLA         AK   99654    1/4/2017
               BN7427481 NORTH STAR Hl CU PCY IHS      8130 201 3RD AVE #201                 SEWARD           AK   99664    1/4/2017
               AC2998764 CHIEF ANDREW ISAAC IHS        8130 1717 WEST COWLES ST              FAIRBANKS        AK   99701    1/4/2017
               AP4601008 ALASKA NATV PHCY IHS EDI      8130 7000 UULA STREET, PO BOX         BARROW           AK   99723    1/4/2017
               AD420291S MAN!ILAQ MEDICAL CTR !HS      8130 436 5TH AND TED STEVENS W        KOTZEBUE         AK   99752    1/4/2017
               AN7420639 NORTON SOUND HLT CORP I       8130 1000 GREG KRUSCHEK AVENUE        NOME             AK   99762    1/4/2017
               858199918 SEARHC MEDICAL CENTER !HS     8130 1200 SALMON CREEK LN             JUNEAU           AK   99801    1/4/2017
               BS7472563 SEARHC HAINES MED CL !HS      8130 131 FIRST AVES                   HAINES           AK   99827    1/4/2017
               AP5103039 MT. EOGECUMBE HOSP OP !HS     8130 222 TONG.ASS DRIVE               SITKA            AK   99835    1/4/2017
               BK6732083 KETCHIKAN TRIS HTL CT !HS     8130 2960 TONGASS AVENUE              KETCHIKAN        AK   99901    1/4/2017
               8A6220824 ALICIA ROBERTS MED CT JHS     8130 7300A KLAWOCK-HOLLIS HWY         KLAWOCK          AK   99925    1/4/2017
               AP2130021 ANNETTE ISLAND SRVC !HS       8130 563 SRENDIBLE ST/PO BX439        METLAKATLA       AK   99926    1/4/2017
               AV4649224 VA MC- DENVER CO              8131 1055 CLERMONT STREET             DENVER           co   80220    1/4/2017
               BC9900057 COLORADO SPRINGS VA CL OP     8131 3141 CENTENNIAL BLVD             COLORADO SPR!N   co   80907    1/4/2017
               AV4648006 VA OP CUN!C• PUEBLO           8131 4776 EAGLER!DGE CIRCLE           PUEBLO           co   81008    1/4/2017
               AV7091717 VA MC GRAND JUNCTION          8131 2121 NORTH AVENUE (90C)          GRAND JUNCTIO    co   81501    1/4/2017
               882479079 VA BILLINGS COMM BASEO        8131 1775 SPRING CREEK LANE           BILLINGS         MT   59101    1/4/2017
               AV6289056 VA MC-MILES CITY              8131 210 S. WINCHESTER                MILESC!TY        MT   59301    1/4/2017
               AV4538419 VAMC-CHEYENNE                 8131 2360 E PERSHING BLVD             CHEYENNE         WY   82.001   1/4/2017
               AV4652891 VAMC-SHER!OAN                  8131 FORT ROAD                       SHERIDAN         WY   82801    1/4/2017

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Confidential - Subject to Protective Order                                                                                     MCK-WVAG-003-0001191
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                            MCKMDL00355395
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                                                                     Append!xC
                                                               Permitted VA Registrants
                                                     Confidential Business Records - FOIA Exempt

                                                                                                                State Zip Cd • Effeet,ve
               OEANum    CustName                      00     Addr l.ine 1 "' Dely           City Name • Oely   Cd* Oely       Date
               AH5298179 FC! HOSP UNIT - LITTLETON     8131   9595 W QUINCY                  LITTLETON          co    80123       1/4/2017
               BH3150199 HlT SRV UNIT fCI FLORENCE     8131   5880 STATE HIWAY 67 SOUTH      FLORENCE           co    81226       1/4/2017
               AU8988555 US PUBLIC HLT IND HOSP OP     8131   1 HOSPITAL ROAD                CROW AGENCY        MT    59022       1/4/2017
               AS6355475 PHS INDIAN HEALTH CENTER      8131   420 N CHEYENNE AVE             LAME DEER          MT    59043       1/4/2017
               8U4083779 LODGE GRASS HEALTH CUN1C      8131   418 HARDING AVE                LODGE GRASS        MT    59050       1/4/2017
               BU.3927994 PRYOR INDIAN HLTH CLINIC            #2 PRYOR GAP ROAD
                                                                                     -       PRYOR              MT    59066
                                                       8131                                                                       1/4/2017
               8(2484676 CHIEF REDSTONE IND HLT CT     8131   SSO 6TH AVE NORTH              WOLF POINT         MT    59201       1/4/2017
               BV0407987 VERNE E GIBBS HEALTH CTR      8131   107 H STREET E BOX 67          POPLAR             MT    59255       1/4/2017
               AXXXXXXXX FORT BELKNAP PHS INDIAN       8131   669 MAIN ST RR 1 BOX 6 7       HARLEM             MT    59526       1/4/2.017
               BHS240685 HAYS PHS INDIAN HLTH CTR      8131   123 WHITECOW CANYON ROAD       HAYS               MT    59527       l/4/2017
               BT190496B TRENTON COMMUNITY CU IHS      8131 331 4TH AVENUE                   TRENTON            ND    58853       1/4/2017
               AM71660Si FORT WASHAKIE HEALTH CTR      $131 29 BLACKCOLE DR                  FORT WASHAKJE WY         82514       1/4/2017
               FC0889064 COLORADO STATE VET EDI        8131 1919 QUENTIN STREET              AURORA             co    80045       1/4/2017
               AC9314193 CO STATE VETS HOME PHCY       8131 903 MOORE DRIVE                  FLORENCE           co    81226       1/4/2017
               BG7132397 GMC VA SATELLITE PCY SVH1     8131 202 PROSPECT DRIVE               GLENDIVE           MT    59330       1/4/2017
               BW501422( WSTRN NE VETS SVH2            8131 1102 WEST 42ND STREET            SCOTTSBLUFF        NE    69361       1/4/2017
               AV5896444 VA MC S06»ANN ARBOR           8132 2215 FULLER ROAD                 ANN ARBOR          Ml    48105       1/4/2017
               BV4856021 VA MC IP 553-0ETROIT          8132 4646 JOHN R STREET               DETROIT            Ml    48201       1/4/2017
               PV0220361 VA MC :553-DETRO!T            8132        1HN R. STREET             DETROIT            M!    48201       1/4/2017
               AV4472356 VA MC 655-SAGINAW             8132 1500 WEISS STREET                SAGINAW            Ml    48602       1/4/2017
               AV5262910 VA MC O/P-515 BATTLE CRK      8132 5500 ARMSTRONG ROAD              BATIH CREEK   Ml         49037       1/4/2017
               8D3108722 VAMC WYOMJNG HCC              8132 5838 METRO WAY SW                WYOMING       Ml         49519       1/4/2017
               8N2651861 NIMKEE MEM W CTR !HS          8132 2591 SOUTH LEATON ROAD           MOUNT PLEASAN Ml         48858       1/4/2017
               AM911269C GRANO RAPIDS HM·VET SVH2      8132 3000 MONROE AVENUE NW,           GRAND RAPIDS  Ml         49505       1/4/2017
               f0283S328 DEPT VA OP FPO AP             8138 PSC 517 BOX 1799                 FPO                AP    96517       1/4/2017
               806707751 S MATSUNAGA VA·HONOLULU       8138 459 PATTERSON RD #2-AO?          HONOLULU           Hl    96819       1/4/2017
               805382421 VA MC FOR AGING-HONOLULU      8138 1 JARRET WHITE RD                HONOLULU           HI    96859       1/4/2017
               809926140 PACIFIC ISL DY-HONOLULU       8138 1 JARRETT WHITE ROAD             HONOLULU           H!    96859       1/4/2017
               BF7319280 FED DETENTION CTR HONOlUL     8138 351 ELLIOTT STREET                HONOLULU          HI    96819       1/4/2017
               BC0603008 CHC-DEPT OF PUBLIC HEALTH     81.38 NAVY HILL ROAD                   SA!PAN            MP    96950       1/4/201.7
               RD0259918 OVA EMGCY PREPARO- HINES      8144 1 BLK N CERMAK ON 1ST             HINES             !l    60141        1/4/2017

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HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                    MCKMDL00355396
                                                                                                                                              P-00013_00048
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                                                                  Appendix    t
                                                            Permitted VA Registrants
                                                   Confidential Business Records - FO!A Exempt

                                                                                                              State Zip Cd* Effective
              DEANum    Cust.Name                    DC   Addr Una 1 • Oely                City Name • Dely   Ct!.  Oely    Date
              RD0297172 DVA EMGCY PHCY SRV-H!NES     8144 1 BLK N CERMAK ON 1ST AVE        HINES              IL     60141     1/4/2017
              PD022R836 DRUG DEPEND PROG VA HINES   8144 ROOSEVELT & 5TH AVE               HINES              IL     60141     l/4/2017
              AVS589532 VA MED/EDWARD HINES 0/P     8144 5000 S 5 AV£ BLG200 #8109         HINES              IL     60141     1/4/2017
              8J9718505 JESSE BRWN VAMC OPCHICAGO    8144 820 S OAMEN AVE/POB 8195         CHICAGO            IL     60612     1/4/2017
              PD0235S67 VAMC DRUG DEP TMT-CH!CAGO  814-4 820 SOUTH DAMEN AVENUE            CHICAGO            IL     60612     1/4/2017
              BV3878901 VA PRIMCARE-ROCKFORD       8144 816 FEATHERSTONE RD                ROCKFORD           il     61107     1/4/2017
              A\18937685 VA 0/P Cl-PEORIA SSOBY    8144 7717 N ORANGE PRAIRIE RD           PEORIA             IL     61615     1/4/2017
              AN4592691 PHCYSC119 VA SSOOP-DANVIL  8144 1900 EAST MA!N ST BDS8             DANVILLE           IL     61832      1/4/2017
              BV1314715 VA CROWN POINT !NO         8144 9301 MADISON ST                    CROWN POINT        IN     46307      1/4/2017
              AV4341l21 VAN !NOA HLT610--H WAYNE   8144 2121 LAKE AVENUE                   FORT WAYNE         !N     46805      1/4/2017
               AD4269406 VA NO IND HLTH 610~MAR!ON 8144 1700 E 38TH ST                     MARION             IN     46953      1/4/2017
               AV4425701 CJ ZABLOCKI VA MILWAUKEE  8144 5000 WEST NATIONAL AVE             MILWAUKEE          WI     53295     1/4/2017
               AV4263000 WMS MIDLTON MEM MADtSOl\ 81.44 2500 OVERLOOK TERRACE              MADISON            WI     53705      1/4/2017
               FM4020599 MC HUEMPFNER VA GRN BAY   8144 2851 UNIVERSITY AVENUE             GREEN BAY          WI     54311      1/4/2017
               Bf3905S18 JHBRADLEY VA OP APPLETON  8144 10 TRI PARK WAY                    APPLETON           WI     54914      1/4/2017
               BM0352980 METROPOLITAN CORR CHICAGO 8144 71 WEST VAN BUREN STREET           CHICAGO            !L     60605      1/4/2017
               BF4126214 FCI PEKIN                 8144 2600 S SECOND STREET               PEKIN              !L     61554      1/4/2017
               AF5762112 FC! OXFORD                8144 COG & ELK AVE PO BX 500            OXFORD             W!     53952      1/4/2017
               FP2157572 POKAGON POTAWATOMI HT IHS 8144 32652 KNO DRIVE                    DOWAGIAC           Ml     49047     1/4/2017
               AM7763419 MENOMINEE TRIBAL CU !HS   8144 W 3275 WOLF RIVER ROAD             KESHENA            WI     54135     1/4/2017
               851486136 IL VET HOME-MANTENO SVH 2 8144 ONE VETERANS DRIVE                 MANTINO            IL     60950     1/4/2017
               AWB1496m WISCONSIN VET HM SVH2 EDI  8144 N 2.665 COUNTY ROAD QQ             KING               WI     54946     1/4/2017
               BH4654617 CMOP HINES MANUAL BULK    8144 5TH AVENUE & ROOSEVEl T            HINES              IL     60141     1/4/2017
               AV4183959 VAMC CPTJAMESLOVELL FHCC 8144 3001 GREEN BAY ROAD                 NORTH CHICAGO      IL     60064     1/4/2017
               803565061 VA OP CLNC TEMPLE LA CA   8147 351 E.TEMPLEST;ATTN:PHARM          LOS ANGELES        CA     90012     1/4/2017
               PVOB35S6 VA OG DEPEND TEMPLE LA     8147 351 EAST TEMPLE ST                 LOS ANGELES        CA     90012     1/4/2017
               AH3311874 VA MC WLA RSCH LA CA      8147 11301 WILSHIRE 119 Bl 500          LOS ANGELES        CA     90073      1/4/2017
               P801222.48 VA MC WLA LA CA           8147 11301 WILSHIRE BLVD               LOS ANGELES        CA     90073      1/4/2017
               AVSS50234 VA MC LB OP LONG BEACH CA 8147 5901 E SEVENTH ST                  LONG BEACH         CA     90822     1/4/2017
               AV5478777 VA MC OP CLSEPULVED        8147 16111 PLUMMER B2.00RM1206         SEPULVEDA          CA     91343     1/4/2017
               PD0127008 VA DRUG DEPEND/SEPULVEDA 8147 16111 PLUMMER STREET                SEPULVEDA          CA     91343     1/4/2017

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HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                 MCKMDL00355397
                                                                                                                                           P-00013_00049
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                                                                  Appendix C
                                                           Permitted VA Registrants
                                                  Confidential Business Records - FOIA Exempt

                                                                                                             State Zip Cd * Effective
              DEANum    CustName                    DC   Addr Line 1 ~ Oely               City Name • Oely   Cd* Oely       Date
              AV4801646 VA MC CT ICU-SD CA        8147 3350 LA JOLLA V1LLAGE DR      SAN DIEGO        CA           92151       1/4/2017
              AV7675157 PETTIS VALL OP LOMALDA CA 8147  11201  BENTON  ST            LOMAUNOA         CA           92357       1/4/2017
              803236470 VA OP CU/BAKERSFIELD CA   8147 1801 WEST'vVIND BLVD          BAKERSFIELD      CA           93301       1/4/2017
              FV3036476 VA MC-N LAS VEGAS         8147 6900 N. PECOS RD              NORTH LAS VEGN NV             89086       1/4/2017
              BM1650969 MDC LOS ANGELES           8147 535 N ALAMEDA STREET          LOS ANGELES      CA           90012       1/4/2017
              M3312333 FC! TERMINAL ISLAND        8147 1299 SEASIDE AVE              TERM1NAL ISLANC CA            90731       l/4/2017
              AM6212.19t1 MCC SAN DIEGO           8147 BOP 808 UNION STREET          SAN DIEGO        CA           92101       1/4/2017
              8F7440047 FCl VICTORVILLE           8147 13777 AIR EXPRESSWAY BLVD     VICTORVILLE      CA           92394       1/4/2017
              AU4266498 USP HOSPITAL- LOMPOC      8147 3901 Klf!N BLVD               LOMPOC           CA           93436       1/4/2017
              Al2626402 INDIAN HLTH CU PHCY !HS   8147 50100 GOLSH ROAD/POB406       PAUMA VALLEY CA               92061       1/4/2017
              BT8064634 TOYIABE IND HLT PROJE iHS 8147 52 TUSU LANE                  BISHOP           CA           93514       1/4/2017
              BL4662S63 LAS VEGAS PAIUTE EDI !HS  8147 1257 PA!UTE'. CIRCLE          LAS VEGAS        NV           89106       1/4/2017
              FC2980022 CDVA VET HOME OF CA WLA   8147 11500 NIMITZ AVE STE 301      LOS ANGELES      CA           90049       1/4/2017
              BV6688026 VETERANS HM OF CALIFORNIA 8147 700 EAST NAPLES COURT         CHULA VISTA      CA           91911       1/4/2017
              8U778787S US IMMIGRATION & NATURAU 8147 7488 CALZADA DE LA FUENTE      SAN DIEGO        CA           92158       1/4/2017
              AV4317346 VA MC OP PHCY· DECATUR    8148 1670 CLAIRMONT RD             DECATUR          GA           30033       1/4/2017
              PV0124242 VA MC DRUG DEPEND DECATUR 8148 1670 CLAIRMONT RD             DECATUR          GA           30033       1/4/2017
              AV4345345 AUGUSTA VAMC DOWNTOWN 8148 950 15TH STREET                   AUGUSTA          GA           30901       1/4/2017
              BVOS24555 AUGUSTA VAMC UPTOWN 0/P 8148 1 FREEDOM WAY                   AUGUSTA          GA           30904       1/4/2017
              AV4384931 VA MC- DUBUN              81.48 1826 VETERANS BOULEVARD      DUBUN            GA           31021       1/4/2017
              BP3884346 VA OP CUNIC-KERNERSVlLLE  8148 1695 KERNERSVILLE MEDICAL PAF KERNERSVILLE     NC           27284       1/4/2017
              BP38$4334 VA MC/CHEMO-SAUSBURY      8148 1601 BRENNER AVE              SALISBURY        NC           28144       1/4/2017
              FC0885496 CHARLOTTE VA OP-CHARLOTTE 8148 3506 W, TYVOLA RD.            CHARLOTTE        NC           28208       1/4/2017
              AV4704587 V A MC>ASHEVJLLE           8148 1100 TUNNEL ROAD             ASHEVILLE        NC           28805       1/4/2017
              AVS:324671 VA MC~ COLUMBIA           8148 6439 GARNERS FERRY ROAD      COLUMBIA         SC           29209       1/4/2017
              AV4418718 VAMC - CHARLESTON          8148 109 BEE STREET               CHARLESTON       SC           29401       1/4/2017
              AV6459754 VA CTR GREENVILLE          8148 41 PARK CREEK DRIVE          GREENVILLE       SC           29601       1/4/2017
              AV4478853 VAMCSPO PRCH621 MNT HOME   8148  1 VETERANS  WAY             MOUNTAIN    HOMI TN           37684       1/4/2017
               AU8378386 US PENITENTIARY HOSP-ATL  8148 601 MCDONOUGH BLVD 5(        ATLANTA          GA           30315       1/4/2017
               BF2148410 FC! JESUP                 8148 2600 HIGHWAY 301             JE.SUP           GA           31545       1/4/2017
               BF8982.630 FC! BENNETSV!LLE BOP     8148 696 MUCKERMAN RD              BENNETTSVILLE SC             29512       1/4/2017

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Confidential - Subject to Protective Order                                                                                          MCK-WVAG-003-0001194
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                 MCKMDL00355398
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                                                                       Appendix C
                                                                Permitted VA Registrants
                                                       Confidential Business Records • FOIA Exempt

                                                                                                                  State Zfp cu • Effective
               DEA NUtn    Cu$tName                      DC      Addr t..ine 1 • Oely          City Name ~ Oely   Cd· Oe!y       Date
               BF8957663   FO SALTERS                    8148    8301 HIGHWAY 521              SALTERS            SC    29590       1/4/2017
               BF5754040   FC! EDGEFIELD                 8148    501 GARY HILL RO/POB 723      EDGEFIELD          SC    29824       1/4/2017
               BF3365916   FCI ESTILL                    8148    100 PRISON ROAD               ESTILL             SC    2991S       1/4/2017
               AU4418768   VA CHER IND HSP EBCI !HS      8148    CALLER BX C-268 HOSP RT       CHEROKEE       NC        28719       1/4/2017
               BC8910110   CATAWABA IND HLTH SRV iHS     8148    2893 STURGIS ROAD             ROCK HILL      SC 29731              1/4/2017
               805539347   VA CMOP PREBUY NCHARLSTN      8148    3725 RIVERS AVE STE 2         NORTH CHARLEST SC 29405              1/4/2017
               RP0355847   VA CMOP DAL-APHENA REPACK     8148    1920 FISK RD                  COOKEVILLE     TN 38506              1/4/2017
               AV6815685   VA HOSPITAL/REPACK•Nl..R AR   8149    2200 FORT ROOTS DR            NO LITTLE ROCK AH 72114              1/4/2017
               AJ2623634   JOHN l MCLN 1/P PULASKl       8149    4300 WEST SEVENTH ST          LITTLE ROCK    AR 72205              1/4/2017
               AG3285144   VA MC-GV MONTG•JACKSON        8149    1500 E WOODROW WILSON DR      JACKSON        MS 39216              1/4/2017
               AV4549006   ALVIN C YORK VA MED·626A4     8149    3400 LEBANON ROAD             MURFREESBORO TN   37129              1/4/2017
               AVS369942 VAMC 0/P-626 NASHVILLE   !8149          1310 24TH AVE SOUTH           NASHVILLE      TN 37212              1/4/2017
               AV4580014 VAMC/SPIN COR0614 MEMPHIS 8149          1030 JEFFERSON AVE            MEMPHIS        TN 38104              1/4/2017
               BF5018393 FCJ FORREST CITY          8149          779 SFC 806                   FORREST CITY   AR 72335              l/4/2017
               BF5012757 FC!-YAZOO CITY            8149          2225 HALEY BARBOUR PKY        YAZOO CITY     MS 39194              1/4/2017
               AF7420564 FC! MEMPHIS                     8149    1101 JOHN DENIE RD            MEMPHIS        TN 38134              1/4/2017
               AF5965960 FCI TEXARKANA                   8149    4001 LEOPARO DRIVE PO BOX     TEXARKANA      TX 75501              1/4/2017
               AU4477798 CHOCTAW HLTH CTR 0/P !HS 8149           210 HOSPITAL CIRCLE           CHOCTAW        MS 39350              1/4/2017
               FV46199S4 CMOP MURFREESBORO/REFRIG 8149           3209 ELAM FARMS PARKWAY       MURFREESBORO TN   37027              1/4/2017
               6C4595584 VACMOP SIST MURFBORO     8149           5171 SAM JARED DRIVE          MURFREESBORO TN   37130              1/4/2017
               AH3947136 VA MC OP-MINNEAPOLIS            8152    ON£ VETERANS DRIVE            MJNNEAPOUS     MN 55417              1/4/2017
               PM0125028 VA MC OP·MlNNEAPOLIS            8152    ONE VETERANS DRIVE            MINNEAPOLIS    MN 55417              1/4/2017
               AV4S26250 VA MED CTR TELEPHCY             8152    4801 VETERANS DRIVE           SA!NTCLOUD     MN 56303              1/4/2017
               AV4920333 VA MC IP·FARGO ND               8152    2101 ELM ST                   FARGO          ND 58102              1/4/2017
               BN9307085 NAYTAHWAUSH CUN!C               8152    238 CHURCH STREET             NAYTAHWAUSH MN 56566                 1/4/2017
               AUS107683 IND!AN HEALTH CENTER            8152    40520 CO HWY 34               OGEMA          MN 56569              1/4/2017
               AF3947073 !NDIAN HOSPITAL 0/P EDI         8152    425 7TH ST, N,W.-             CASS LAKE      MN 56633              l/4/2017
               AP6758443 INOIAN HOSPITAL 1/P             81.$2   24760 HOSPITAL DRIVE HWYl     REDLAKE        MN 56671              1/4/2.017
               Al6106834 PHS !NDIAN HOSPITAL OP          8152    CPS 1300 HOSPITAL LOOP, PO BO BELCOURT       ND 58316              1/4/2017
               fS5991143 SPIRIT LAKE HEALTH CENTER       8152    38$3 74TH AVE NE              FORTT01TEN f l 8 3 3 5               1/4/2017
               A.54396859 !ND!AN HOSPITAL 1/P            8152    1010 RIVER ROAD                FORT YATES        8538              1/4/2017

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Confidential - Subject to Protective Order                                                                                               MCK-WVAG-003-0001195
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                      MCKMDL00355399
                                                                                                                                                P-00013 _ 00051
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                                                                         Appendix. C
                                                                Permitted VA Registrants
                                                       Confidential Business Records • FOIA Exempt

                                                                                                                 State Zip Cd   ~   Effective
               01:ANum     Custl\rame                   DC:     Addr l.ine 1 " Oely            Ci~ Name • Dely   Cd· Dely           Date
               FT1093727   TAT 1W!NBUTTES TELPHY IHS    8152 726 BO AVE NW                     HALLIDAY          ND    58636           1/4/2017
               FT1093715   TAT MANOARE ETElPHCY !HS     8152 305 MAIN STREET                   MANDAREE          ND    58757           1/4/2017
               FT0847989   THREE AFFIL TRB EMHC-!HS     8152 1058 COLLEGE DRIVE                NEWTOWN           ND    58763           1/4/2017
               FT1093688   TAT PARSHALL TELEPHCY !HS     8152 107 3RD STREET SE                PARSHALL          ND    58770           1/4/1017
               FT1093676   TAT WHITE SHIELD TPHV !HS     8152 2 CENTRAL MAIN STREET S          WHITE SHIELD      ND    58775           1/4/2017
               AM699537( MINNESOTA VETERANS HOME         8152 5:l,01 MINNEHAHA AVE 50          M!NNEAPOUS        MN    55417           1/4/2017
               BN9081299 N DAKOTA STATE VETS HOME        8152 1600 VETERANS DRIVE              LISBON            ND    58054           1/4/2017
               AV4673910 VA MC 0/P·WILMINGTON            8155 1601 KIRKWOOD HIGHWAY 000        WILMINGTON        DE    19805           1/4/2017
               AV4684292 VA MC-PERRY POINT               8155 BUILDING 361, VAMC               PERRY POINT       MD    21902           1/4/2017
               PD012Z224 VA EO DRG DPND CTR              8155 385 TREMONT AVE                  EAST ORANGE       NJ    07018           1/4/2017
               AV6023903 VA EO MV·EAST ORANGE            8155 385 EAST TREMONT AVE             EAST ORANGE       NJ    07019           1/4/2017
               AV4353164 VA LY IP BLDG 53-lYONS          8155 151 KNOLLCROFT RD                LYONS             NJ    07939           1/4/2017
               BJ:2707783 JJ HOWARD OUTPT BRICK          8155 970 ROUTE 70                     BRICK             NJ    08723           1/4/2017
               AV4752742 VA MED CTR-MANHATTAN            8155 423 EAST 23RD STREET             NEW YORK          NY    10010           1/4/2017
               PD0:238243 VA NY HARBOR MH 8              8155 423 EAST 23RD STREET             NEW YORK          NY    10010           1/4/2017
               PV0133342 VA NY HARBOR MH A               8155 423 EAST 23RD STREET             NEW YORK          NY    10010           1/4/2.017
               AV4352910 VA MED CTR OPTIF!LL BRONX       8155   130 WEST K!NG8R!DGE RD         BRONX             NY    10468           1/4/2017
               PV0142163 VA BRONX                        8155   130 WEST K!NGBRIDGE RD         BRONX             NY    10468           1/4/2017
               AH4833148 VA MED CTR BK MEDICAL CTR       8155   800 POLY PLACE                 BROOKLYN          NY    11209           1/4/2017
               AV7251123 VAMC EXT CARE CLINIC ST,A       8155   179-00 LINDEN BLVD.            JAMAIC.A          NY    11425           1/4/2017
               AV473120S VA MED CTR 1/P NORTHPORT        8155   79 MIDDLEVILLE ROAD            NORTHPORT         NY    11768           1/4/2017
               AV6378524 VA MEDICAL CTR-LEBANON          8155   1700 SOUTH LINCOLN AVE         LEBANON           PA    17042           1/4/2017
               AV4656801 VA MED GR-WILKES·BARRE          8155 1111 EAST END BLVD               WILKES BARRE      PA    18711           1/4/2017
               BV:3605865 VA NURSING HM UNff-PHILA       8155 UNIV & WOODLAND AVE              PHILADELPHIA      PA    19104           1/4/2017
               AV4673908 VA MED CTR 0/P - PHlLA          8155 UN!V&WOODLAND AVE #1A108         PHILADELPHIA      PA    19104           1/4/2017
               RO0386981 VAMC DRUG TREATCTR-.f1HI        8155 UNIVERSITY & WOODLAND AVE        PHILADELPHIA      PA    19104           1/4/2017
               AV4724541 VA MEO/CAL CTR COATESV!LL       8155 1400 BLACK HORS£ HILL RD         COATESVILLE       PA    19320           1/4/2017
               BF2149993 FCI FAIRTON                     8155   PO BOX 280 HIGHWAV 698         FA!RTON        NJ       08320           1/4/2017
               BF3953038 FC! FORT DIX WEST               8155 5756 HARTFORD & POlNTVILL        JOINT BASE MOL NJ       08640           1/4/2017
               AM3160621 MCCNEWYORK                      8155 150 PARK ROW                     NEW YORK       NY       10007           1/4/2017
               PM014782 MCC -NEW YORK                    8155 150 PARK ROW                     NEW YORK          NY    10007           1/4/2017

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HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                         MCKMDL00355400
                                                                                                                                                   P-00013_00052
                           Case 3:17-cv-01362 Document 1509-2 Filed 01/12/22 Page 53 of 67 PageID #: 72545

                                                                        Appendix(
                                                                  Permitted VA Registrants
                                                        Confidential Business Records- FOIA Exempt

                                                                                                                  State Zlp Cd   w   Effective
               OEANum      Oust Name                     oc      Addr Line 1 • Oely            City Name - Daly   Cd·   Oely         Oate
               BM3710577 MDC BROOKLYN                     8155 100 29TH STREET                 BROOKLYN           NY    11232           1/4/2017
               AU5424180   US PENT HOSP- LEWISBURG        8155 2400 ROBERT F MILLER OR         LEWISBURG          PA    17837           1/4/2017
               BL3346S12   LSCI-WH!TE DEER                8155 ROUTE 15 N, PO eox 1500         WHITE DEER         PA    17887           l/4/2017
               BF3549598   FC! ALLENWOOD                  8155 RT 15 2 MILES N OF ALLENW       WHITE DEER         PA    17887           1/4/2017
               BF2703735   fCI SCHUYLKILL                 8155 ROUTE 901                       MINERSVILLE        PA    17954           1/4/2017
               BU8982832 USP CANAAN WAYWART               8155 ROUTE 296 SOUTH                 WAYMART            PA    18472           1/4/2017
               BF6608028 FED DETENTION CNT PHI LAD        8155 700 ARCH STREET, PO 80:X S      PHILADELPHIA       PA    19106           1/4/2017
               Bl2921307 I.ONG ISLAND STATE VET HM        8155 100 PATRIOTS ROAD               STONY BROOK        NY    11790           1/4/2017
               BN3893129 GJ. MERL! VETS CTR SVH:2         8155 401 PENN AVENUE                 SCRANTON           PA    18503           1/4/2017
               F01002536 DELVALLEY VET HOME SVH2          815$ 2701 SOUTHHAMPTON RD            PHILADELPHIA       PA    19154           1/4/2017
               6S0792.615 SOUTHEASTERN PA VA SVH2         8155 ONE VETERANS DRIVE              SPRING CITY        PA    19475           1/4/2017
               PD00430SO DHHS·UDP                         8155 HHS SUPPLY SERVICE CTR 14       PERRY POINT        MO    21902           1/4/2.017
               SU5312006 I NS DETENTION FACILITY          8155 625 EVANS ST                    ELIZABETH          NJ    07201           1/4/2017
               AV4309628   ROUDEBUSH VAMC 0/P 583--!N     8164 1481 WEST 10TH STREET           INDIANAPOUS        !N    46202           1/4/2017
               PV0123517 ROUDEBASH VAMC INDPOLS           8164 1481 WEST 10TH STREET           INDIANAPOUS        IN    461.02          1/4/2017
               AV4598251 VA MC-603 LOUISVllLE             8164 800 ZORN AVENUE                 lOUlSVILLE         KY    40206           1/4/2017
               AV6960086 LEXINGTON VA CTR OP-596A4        8164 1101 VETERANS DRIVE             LEXINGTON          KY    40502.          1/4/2017
               AV6840272 VA HOSP - FT THOMAS              8164 1000 SH THOMAS AVE              FORT THOMAS        KY    41075           1/4/2017
               AV9236541 VA OP CUNIC·COLUMBUS             8164 4W NORTH JAMES ROAD             COLUMBUS           OH    43219           1/4/2017
               AV8439653 VA OP CENTER506BY-TOLEOO         8164 1200 S. DETROIT AVE.#119        TOLEDO             OH    43614           1/4/2017
               BV5837274 VA OP CLINIC MIDDLETOWN          8164 4337 UNION ROAD                 MIDDLETOWN         OH    45005           1/4/2017
               AV4348757 VA MC 1/P•C!NC!NNATI             8164 3200 VINE STREET                CINCINNATI         OH    45220           1/4/2.017
               PD0121789 VA HOSP CINCINNATI               8164 .3200 VINE STREET               CINCINNATI         OH    45220           1/4/2017
               AV4291869 VAMC NURSING HM-DAYTON           8164 4100 W 3RD ST/BLDG#320          DAYfON             OH    45428           1/4/2017
               RD0273336 DP VA MNTLHLTH-DAYTON            8164 4100 W THIRD STREET             DAYTON             OH    4542.8          1/4/2017
               BV613334S VA OP CLINIC SPRINGFlElD         8154 512 SOUTH BURNETT ROAD          SPRINGFl ELD       OH    45505           1/4/2017
               AVS905293 VA MC-CHllUCOTHE                 6164 17273 STATE RT 104              CHllUCOTHE         OH    45601           1/4/2017
               BV8122739 VA DAY OP UMA                    8164 1303 BELLEFONTAINE AVE          LIMA               OH    45804           1/4/2017
               AV5458648 VAMC OP-581 HUNTINGTON           8164 1540 SPRING VALLEY DRIVE        HUNTINGTON         WV    25704           1/4/2017
               AV6271756 VAMC OP-BECKLEY                  8164 200 VETERANS AVENUE             BECKLEY            WV    25801           1/4/2017
               AF.5959741 FEDERAL MED CTR-LEXINGTON       8164 3301 LEESTOWN PIKE              LEXINGTON          KY    40511           1/4/2017

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Confidential - Subject to Protective Order                                                                                                   MCK-WVAG-003-0001197
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                          MCKMDL00355401
                                                                                                                                                    P-00013_00053
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                                                                      AppendlxC
                                                               Permitted VA Registrants
                                                      Confidential Business Records - FOIA Exempt

                                                                                                                 State Zip Cd ~ Effective
               DEA Num     CustName                     oc     Addt Line 1 • Cely             Cit:y Name~ Oely   Cd•   Cely     Date
               BF3216935 fC! MANCHESTER BOP          8164 805 FOX HOLLOW ROAD                 MANCHESTER         KY    40962       1/4/2017
               AF4960476   FCI ASHLAND               8164 ROUTE 716 PO BOX 888 ST             ASHLAND            KY    41105       1/4/2017
               BU819S922   USP BIG SANDY BOP         8164 1197 AIRPORT ROAD                   !NEZ               KY    41224       1/4/2017
               BU8631271   US PENITENTIARY MC CREARY 8164 330 FEDERAL WAY                     PINE KNOT          KY    42635       1/4/2017
               AF4403464   FED REFORM/WOMEN AlOERSOI 8164 GLEN RAY ROAD/PO BOX A              ALDERSON           WV    24910       1/4/2017
               BF4430738   FC! BECKLEY BEAVER        8164 1600 INDUSTRIAL PARK RD             BEAVER             WV    25813       1/4/2017
               BF8106975   FO GILMER                 8164 201 FC! LANE                        GLENVILLE          WV    26351       1/4/2017
               806079126 OHIO SANDUSKY 5VH1             8164 3416 COLUMBUS AVE                SANDUSKY           OH    44870       1/4/2017
               AV4498413 VA MEO CT FAYETTEVILLE AR      8165 1100 NORTH COLLEGE AVENUE        FAYETTEVILLE       AR    72703       1/4/2017
               AV4939293 PHCY SRVC(119) VA-WICHITA      8165 5500 EAST KELLOGG                WICHITA            KS    67218       1/4/2017
               AV4597211 VA MED!CALCENTtR OKC           816S 921 N.E. 13TH STREET             OKLAHOMA CITY      OK    73104       1/4/2017
               Bl4433431 lAWTON VA OP CUNIC • FED       8165   4303 THOMAS                    FORT SILL          OK    73503       1/4/2017
               AV8770023 VA OP CUNIC~TULSA              8165   9322 EAST 41ST STREH           TULSA              OK    74145       1/4/2017
               AV4592742 VA MED CENTER MUSKOGEE         8165   1011 HONOR HEIGHT DRIVE        MUSKOGEE           OK    74401       1/4/2017
               8D5900445 DALLAS VET AFFAIRS !P PP       8165   4500 S LANCASTER ROAD          DALLAS             TX    75216       1/4/2017
               PD0123618 VA NTX HLT CR SYS DALLAS       8165 4500 S. LANCASTER RD 116A        DALLAS             TX    75216       1/4/2017
               AV4594025 DPT OF VET AFF TX BONHAM       8165 1201 E 9TH STREET                BONHAM             TX    75418       1/4/2017
               803066986 DEPT VET AFF OP FT WORTH       816S 2201 SE LOOP 820                 FORT WORTH         TX    76119       1/4/2017
               RV0302062 VA NTX HTH CARESYS FTWRTH      8165 22:01 SE LOOP 820, 2ND FLR       f'ORTWORTH         TX    75119       1/4/2017
               AV5103902 VA MED CTR~AMARILLO            8165 6010 AMARILLO BLVD WEST          AMARILLO           TX    79106       1/4/2017
               AV6619019 VAMC CTR 0/P CLNC LUBBOCK      8165 6104 AVENUE Q SOUTH DRIVE        LUBBOCK            TX    79412       1/4/2017
               AV4590180 VA MED CTR~BIG SPRING          8165 300 VETERAN'S BLVD               BIG SPRING         TX    79720       1/4/2017
               AU4880363 FCI HOSP - EL RENO             8165 HWY 66 WEST P O BX 1000          El RENO       OK         73036       1/4/2017
               BF4103139 FED TRSFR CNT OKLCTY-CRDT      8165 7410 S MACARTHUR BLVD            OKLAHOMA CITY OK         731.89      1/4/2017
               AF4653881 FED MEDICAL CNTR FT WORTH      8165 31.50 HORTON ROAD                FORT WORTH    TX         76119       1./4/2017
               BF3924102 FEDERAL MEO CTR CARSWELL       8165 J ST BLDG 3000/POS 27065         FORT WORTH    TX         76127       1/4/2017
               AF879781S FED PRISION CMP B5PRING        8165 1900SIMLER                       BIG SPRING         TX    79720       1/4/2017
               AB3353478 ANADARKO IND HLT PUB !HS       8165 201 E. PARKER MCKENZIE DR        ANADARKO           OK    73005       1/4/2017
               AU2011043 CARNEGIE IND HL BEHV lHS       8165 212 E 4TH                        CARNEGIE           OK    73015       1/4/2017
               BA4894297 AST LITTLE AXEHTHPHCY !HS      8165 15951 UTTLE AXE DR                NORMAN            OK    73026       1/4/2017
               fE4132.914 El RENO !ND HLC SEHAV IHS     8165 1801 N. PARKVIEW DRIVE            EL RENO           OK    73036        1/4/2017

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HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                     MCKMDL00355402
                                                                                                                                               P-00013_00054
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                                                                         Appendi)( C
                                                                 Permitted VA Registrants
                                                       Confidential Business Records - FOIA Exempt

                                                                                                              State Zip Cd • Effective
               OEA Num     CustName                     DC      Addr Line 1 . Oety             City Name - Oely Cd- Dely     Date
               BPS987577 PURCELL INDIAN CLINIC lHS       8165 1438 HARDCASTLE BLVD             PURCELL          OK  73080       1/4/2017
               PC0212643 NATL SUPPLY SERV CTR !HS        8165 501 NE 122ND ST. STE F           OKLAHOMA CffY OK     73114       1/4/2017
               003605788 OK ClTV URBAN iNDIAN IHS        8165 491.3 W RENO                     OKLAHOMA CITY OK     73127       1/4/2017
               AC3051013 CHICKASAW NATION HLTH !HS       8165 2510 CHICKASAW BLVD              ARDMORE        OK    73401       1/4/2017
               AP5508998 CHICKASAW NATTSHMNGO !HS 8165 PO BOX 430, 817E 6TH ST                 TISHOMINGO     OK    73460       1/4/2017
               AU5327425 USPHS IND HSP BEHAVR IHS        8165 1515 LAWRiE TATUM RD             LAWTON         OK    73507       1/4/2017
               AP4880882 USPHS INDlAN HOSPITAL !HS     Ts16s  2 MILES EON 140 BUS LOOP         CLINTON        OK    73601       1/4/2017
               AU1986376 USPHS 1NO HLC BEHAVHL IHS       8165 ROUTE 1 BOX 34A                  WATONGA        OK    73772       1/4/2017
               Al577B925 USPHS IND!AN HOSP l/P IHS       8165 101 S MOORE AVE                  CLAREMORE      OK    74017       1/4/2017
               8(6533473 WILL RGR DB HC !HS              8165 1020 LENAPE DRIVE                NOWATA         OK    74048       1/4/2017
               AlS908299   INO!AN HLHSP/BEHAV Hl !HS     8165   1201 HER!TAGE Cl RCLE          PAWNEE         OK    74058       1/4/2017
               FP0844426 IOWA TRB OF OK PERKIN !HS       8165   509 EAST HWY 3.3               PERKINS        OK    74059       1/4/2017
               AS19S8985 SAPULPA !NDIAN HEALTH !HS       8165   1125 EAST CLEVELAND            SAPULPA        OK    74066       1/4/2017
               SB3078854 BLACK HAWK HEALTH CTR !HS       8165   6 Ml S OF STROUD HWY 99        STROUD         OK    74079       1/4/2017
               8!2946525 INS HtCR RES CTR EDl !HS        8165 550 5. PEORIA                    TULSA          OK    74120       1/4/2017
               FC3462037 CHEROKEE NTN VINITAHCIHS        8165 27371 S 4410 RD                  VINITA         OK    74301       1/4/2,017
               AU2011360 CHEROKE NAT SAM HIDER !HS       8165 859 E. MELTON OR                 JAY            OK    74346       1/4/2017
               BN7490307 N EASTERNTR1B HLTOP !HS         8165 7600 S HWY 69A                   MlAMl          OK    74354       1/4/2017
               BC0363248 SAUNA COMM CLN PHCY !HS         8165 900 OWEN WALTERS BLVD            SAUNA          OK    74365       1/4/2017
               f'.63497799 BEARSKIN HEALTH CU !HS        8165 1 TURTLE DRIVE/PO BOX 30         WYANDOTTE      OK    74370       1/4/2017
               BM7357711 THREE RIVERS HC DIAB !HS        8165 1001 S. 41ST EAST                MUSKOGEE       OK    74403       1/4/2017
               FC2742131 CHEROKEE NAT CRC PHY !HS        8165 1001 S. 41ST STREET, EAST        MUSKOGEE       OK    74403       1/4/2017
               8K9830147 KOWETA IND HLTH FAC !HS         8165 31870 L HIGHWAY 51               COWETA         OK    74429       114/2017
               AE2011055 EUFAULA !ND HLTH CTR tHS        8165 800 FOREST AVENUE                EUFAULA        OK    74432       1/4/2017
               804806901 OKMULGEE !ND HLTH CTR !HS       8165 1313 E 20TH STREET               OKMULGEE       OK    74447       1/4/2017
               FM4394920 MUSCOGEE CREEK NATMC !HS        8165 1401 MORRIS DRIVE                OKMULGEE       01(   74447       1/4/2017
               FM4376477 MUSCOGEECREK NAT PRC !HS        8165 900 E AIRPORT ROAD STE A         OKMULGEE       OK    74447       1/4/2017
               FM4376453 MUSCOGEE CRK NAT LTC !HS        8165 900 E AJRPORT ROAO STE S         OKMULGEE       01(   74447       1/4/2017
               BC8972487 CHOCTAW NAT HLT RSTRT IHS       8165 2204 EAST MAIN ST                STIGLER        OK    74462       1/4/2017
               FC1099286 CHEROKE NAT DB !HS              8165 100 S. BUSS AVENUE               TAHlEQUAH      OK    74464       1/4/2017
               MC0306781 CHEROKEE NATION EMS !HS         8165 22114 S. BALD Hlll ROAD          TAHLEQUAH      OK    74464       1/4/2017

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Confidential - Subject to Protective Order                                                                                           MCK-WVAG-003-0001199
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                  MCKMDL00355403
                                                                                                                                            P-00013 _ 00055
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                                                                      Appendix C
                                                               Permitted VA Registrants
                                                      Confidential Business Records• FOIA El(empt

                                                                                                                 State Zip Cd   w   Effeetlve
               OEANum    CustName                       DC      Addr Line 1 • Oely            City Name • Oely   Cd•   Oely         Date
               AC3125350 CHOCTAW NAT IND HLTH IHS      8165 1127 S GEORGE NIGH EXPR           MCA LESTER         OK    74501           1/4/2017
               FC1087077 CHOCTAW NATION HLTH !HS       8165 1201 W. LIBERTY RD.               ATOKA              OK    74525           1/4/2017
               AC3125348 CHOCTAW NAT HLTHCR OP !HS      8165 ONE CHOCTAW WAY                  TALIHINA           OK    74571           1/4/2017
               BW7072983 WHITE EAGLE COMM HLTH !HS      8165 200 WHITE EAGLE DRIVE            PONCA CITY         OK    74601           1/4/2017
               BK8597380 KANZA HEALTH CLINIC lHS        8165 3151 E RIVER RD,BOX 474          NEWKIRK            OK    74647           1/4/2017
               FC4883751 CHOCTAW NAT HLT !HS DURNT      8165 1600 N WASHINGTON /WE            DURANT             OK    74701           1./4/2.017
               AC3125362 CHOCTAW NAT IND HLTH IHS       8165 410 NORTH M STREIT               HUGO               OK    74743           1/4/2017
               AC3125336 CHOCTAW NAT HLTH CL- IHS       8165 902 LINCOLN RD                   IDABH              OK    74745           1/4/2017
               8A5890086 ABSENTEE SHAWNEE O/P IHS       8165 2029 S GORDON COOPER DR          SHAWNEE            OK    74801           1/4/2017
               BC7166134 CITIZEN POTAWATOMI !HS         8165 2307 S GORDON COOPER DR          SHAWNEE            OK    74801           1/4/2017
               FC2544989 CITIZEN POTAWATOMJ NW !HS      8165 781 GRAND CASINO BLVD            SHAWNEE            OK    74804           1/4/2017
               fC210039S CHICKASAW NATION MC !HS        8165 1921 STONEC!PER BLVD             ADA                OK    74820           1/4/2017
               AU9172759 CHICK.ASAW NTN REFILL !HS      8165 933 N COUNTRY CLUB RD            ADA                OK    74820           1/4/2017
               A!S777997 KICKAPOO IHS HLTH CTR JHS      8165 105365 S HWY 102 BLDG M          MCLOUD             OK    74851           1/4/2017
               AU2016497 USPHS OKEMAH IND HLTH !HS      8165 309 N 14TH                       OKEMAH             OK    74859           1/4/2017
               AC7931290 CREEK NAT10N COMM HSP~IHS      8165 309 NORTH 14TH STREET            OKEMAH             OK    74859           1/4/2017
               FW:2637493 WETUMKA IND HLTH CTR !HS      8165 325 S WASHITA                    WETUMKA            OK    74883           1/4/2017
               AU7994127 USPHS INDIAN HLTH CTR !HS      8165 US ST HWY 56&270 JUNCTION        WEWOKA             OK    74884           1/4/2017
               8C4137089 RUBIN WHITE HLT RSTRT !HS      8165    109 KERR AVENUE               POTEAU             OK    74953           1/4/2017
               BR3224324 REDBIRD SMITH HLT CTR !HS      8165    301 SOUTH J.T, STtTES         SALLISAW           OK    74955           1/4/2017
               SW43851S9 WILMA MANKILLER DIAB !HS       8165    ROUT 6 BOX 840                STILWELL           OK    74960           1/4/2017
               81<4203977 KANSAS SOLDIERS HOME          8165    201 CUSTER AVENUE             FORT DODGE         KS    67843           1/4/2017
               AXXXXXXXX NORMAN OK VET CT-FED SVH2      8165    1776 EAST ROBINSON            NORMAN             OK    73070           1/4/2017
               A056SS660 SULPHUR OK VET FED SVH2        8165    304 EAST FAIRLANE             SULPHUR            OK    73086           1/4/2017
               AO1465005 ARD OK VET CTR-FED SVH2        8165    1015 SOUTH COMMERCE ST        ARDMORE            OK    73401           1/4/2017
               8L8533576 LAWTON/FT Sill VET SVH2        8165    501 S EAST FLOWER MD RD       LAWTON             OK    73501           1/4/2017
               AXXXXXXXX CLINTON OK VET-FED SVH2        81.65   HIGHWAY 183 PO BOX 1209       CUNTON             OK    73601           1/4/2017
               !301421700 OK VETS CT/CLAREMORE SVH2     8165    3001 W BLUE STARR DRBX988     CLAREMORE          OK    74018           1/4/2017
               AO6848987 OKLAHOMA VETS CTR SVH2         8165    HWY 1 AT END OF HWY 63        TALIHINA           OK    74571           1/4/2017
               BC4142585 VA CMOP OAUAS-BXTR             8165    2962 SOUTH LONG HORN DR       LANCASTER          TX    75134           1/4/2017
               FU2546185 DPT H&H SVC-GRANO PRAIRIE      8165    854AVENUE R                   GRAND PRAIRIE      TX    75050           1/4/2017

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Confidential - Subject to Protective Order                                                                                                  MCK-WVAG-003-0001200
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                         MCKMDL00355404
                                                                                                                                                   P-00013_00056
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                                                                       Appendix C
                                                                 Permitted VA Registrants
                                                       Confidential Business Records • FOIA Exempt

                                                                                                                   State Zip Cd • Effective
               DEANum    Oust Name                       DC     Addr LJne 1 * Oely             'Slty Name • Cely   Cd~   Dely     Date
               AV4559717 VA MC- DES MOINES              8166    3600 30TH STREET (90)          DES MOINES          IA    50310       1/4/2017
               AH4100462 VAMC INPATIENT OMAHA           8166    4101 WOOLWORTH AVENUE          OMAHA               NE    68105       1/4/2017
               AV4S72384 VA GREATER NEBRASKA LN          8166   600 SOUTH 70TH STREET          LINCOLN             NE    68510       1/4/2017
               AV4820064 VA MC-GRAND ISLAND              8166   2201 NORTH BROADWELL           GRAND ISLAND              68803       1/4/'2017



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               AV4799168 VAMC • SIOUX FALLS              8166   2501 WEST 22ND STREET          SIOUX FALLS         SD    57105       1/4/2017
               AV47991S6 VA BU( HILLS Fi MEADE           8166   113 COMANCHE RD                FORT MEADE          SD    57741       1/4/2017
               AV:5156333 VA BU< HILLS HOT SPRINGS                 NORTH 5TH STREET            HOT SPRINGS         SD    57747       1/4/2017
               BF:l.575692 FEDERAL PRISON CAMP YANKT              X 680 1100 DOUGLAS           YANKTON             SD    57078       1/4/Wl.7
               AC83S0631 CARL T CURTIS HLTH !P IHS             00 !NDIAN HILLS DRIVE           MAt"Y               NE    68039       1/4/2017
               AK4527947 iND!AN HOSPITAL OUTPAT          8166 US HIGHWAY 77                    WINNEBAGO           NE    68071       1/4/2017
               FF2210970 FRED LEROY HWC iHS              8166 2602 J STREET                    OMAHA               NE    68107       l/4/2017
               FP3708786 PONCA HILLS HLT&WELL !HS        8166 1800 SYRACUSE AVE                NORFOLK             NE    68701       1/4/2.017
               854621430 SANTEE CLINIC      !HS          8166 110 S VISITING EAGL( ST          NIOBRARA            NE    68760       1/4/2017
               AT2773871 FLANDREAU TRIB CL OP !HS        8166 701 WEST BROAD AVE               FLANDREAU     SD          57028       1/4/2017
               AP6241056 WOODROW WILSON HLTH CTR         8166 100 LAKE TRAVERSE DR             SISSETON      SD          57262       1/4/2017
               AU2694811 INDIAN HEALTH CE.NTER           8166 1323 BIA ROUTE 4                 FORT THOMPSON SD          57339       1/4/2017
               AE4088820 INDtAN HEALTH CENTER            8166 HOSP ADMIN 110 WASHJNGTON WAGNER                     SD    57380       1/4/2017
               SU1916521 IND!AN HEALTH CENTER            8166 LOWER f!RULE/601 GALL ST  LOWER BRULE                SD    $7548       1/4/2017
               AU5984504 !NDtAN HOSPITAL OUTPAT          8166 400 SOLDIER CREEK ROAD    ROSEBUD                    so    57570       1/4/2017
               BW3402435 WANBLEE HEALTH CENTER         8166 210 FIRST STREET                   WANBLEE             SD    57577       1/4/2017
               AP4580280 INDIAN HOSPITAL 0/? PHS       8166 24276 166TH STREET                 EAGLE BUTTE         SD    57625       1/4/2017
               AM4917437 IN.DIAN HEALTH CENTER         8166 701 EAST SIXTH ST BOX879           MCLAUGHLIN          SD    57642       1/4/2017
               AR4432629 INDIAN HOSPITAL PHCY          8166 3200 CANYON LAKE DRIVE             RAPID CITY          SD    57702       1/4/2017
               BK2195825    KYLE HEALTH CENTER PHCY    8166 1000 HEALTH CENTER CIRCLE          KYLE                so    57752       1/4/2017
               AP5495785    INDIAN HEALTH CTR OUTPAT   8166 HWY 18 EAST, POS 1201              PINE RIDGE   SD           57170       1/4/2017
               Al6542612    !OWA VETERANS HOME SVHl 8166 1301 SUMMIT STREET                    MARSHALLTOWN !A           50158       1/4/2017
               854515081    SOUTH DAKOTA VETERANS HME 8166 2500 MINNEKAHTA AVENUE              HOT SPRINGS  SD           57747       1/4/2017
               BN756Z2.47   NORFOLK VET HOME SVH2      8166 600 E BENJAMIN AVENUE              NORFOLK      NE           68702       1/4/2017
               AN8362369    GRANO ISLAND VETS HM SVH2 8166 2300 W CAP!TAL                      GRAND ISLAND NE           68803       1/4/2017
               AC4260701    CARI. HAYD VAMC lP PHOENIX 8170 650 E INOIAN SCHOOL ROAD           PHOENIX      AZ.          85012       1/4/2017
               AG3307724    VA MC- IP TUCSON p,;z__    8170 3601 S. 6TH AVENUE                 TUCSON       AZ           85723       1/4/2017

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Confidential - Subject to Protective Order                                                                                                MCK-WVAG-003-0001201
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                       MCKMDL00355405
                                                                                                                                                 P-00013_00057
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                                                                         Appendix C
                                                                   Permitted VA Registrants
                                                          Confidential Business Records - FOIA Exempt

                                                                                                                     State ZJp Cd - Effective
               DEANum        CustName                      oc    Addr Line 1 ~ D•ly               City Name • Dely   Cd•   Oely     Date
               AV4319249 VA MC- OP PRESCOTT AZ             8170 500 HIGHWAY 89 NORTH              PRESCOTT           AZ    86313       1/4/2017
               RV0102260 VA CLINIC.AL RSCH CTR-ALBQ         8170 2401 CENTER AVE SE               ALBUQUERQUE        NM    87106       1/4/2017
               AV4607668 VA MED CTR-ALBUQ                   8170 1$01 SAN PEDRO DRIVE SE          ALBUQUERQUE        NM    87108       1/4/2017
               AV5998844 VA HLTHCRE CTR - ELPASO            8170 5001 NORTH Pl ED RAS             El PASO            TX    79930       1/4/2017
               AF:2981187 FCI PHOENIX                       8170 37900 N 45TH AVE DEPT1680        PHOENIX            AZ    85086       1/4/2017
               Af5657323 FCI SAFFORD BOP                   Tmo   1529 W US HWY 366                SAFFORD            AZ    85546       1/4/2017
               ADl.50:2372   DOJ- BOP - TUCSON              8170 9300 S WILMOT ROAD               TUCSON             AZ    85756       1/4/2017
               Al5222310     LA TUNA HTH SV CT ANTHONY      8170 8500 DONIPHAN RD-BOX 1000        ANTHONY            NM    79821       l/4/2017
               AK42.60674    PHOEN!X !NDI MED CTR WHSE      8170 4212 N 16TH ST                   PHOENIX            Al    85016       1/4/2017
               BH4706l38     HU HU KAM HOSP DIALYS-lHS      8170 SEED FARM&CAREEN CTR ROS         SACATON            Al    85147       l/4/2017
               AS7027635     SALT RIVER IND HLTCTR          8170 10005 E OSBORN                   SCOTTSDALE         AZ    85256       1/4/2017
               BWS:361807    WASSAJA HLTH CTR/PHt'Y !HS     8170 16240 N FT MCDOWELL RD           FOUNTAIN HILLS AZ        85269       1/4/2017
               864706226     KOMATKE HTH PHCY-GllA !HS      8170 17487 S HEALTH CARE DRIVE        LAVEEN         AZ        85339       1/4/2017
               AP7398705     PHS !ND!AN HOSPITAL            8170 12033 AGENCY ROAD                PARKER         AZ        85344       1/4/2017
               FS5366592     SAN CARLOS APACHE HLT CR       8170 BETWEEN MP 295 ANO 296           BYLAS          AZ        85530       1/4/2017
               FS5364269     USPHS !HS 1/P-SAN CARLOS       8170 103 MEDICINE WAY ROAD            PER!DOT        AZ        85542       1/4/2,017
               BU8025W2      US PUBLIC HC STA ROSA Cl!      8170 HC01 BOX 8700 HIWY 15            SELLS              AZ    85634       1/4/2017
               BU9310018     USPHS SAN SiMDN HLTH           8170 WEST HWY 86, MM 74               SELLS              AZ    85634       1/4/2017
               AU6635099     USPHS IHS , TUCSON             8170 7900 SOUTH J STOCK ROAD          TUCSON             AZ    85746       1/4/W17
               BC4679784     CIBECUE HEALTH CENTER          8170 PO BOX 80037 /2W 3RD ST          C!BECUE            AZ    85911       1/4/2017
               AC-5983956 USPHS IHS WHffERtVER ER           8170 HWY73 MlPOST342                  WH!TER!VER         AZ    85941.      1/4/2017
               FS2278617  SACRED PEAKS /TCRHCC !HS          8170 3480 EAST ROUTE 66               FlAGSTAfF          AZ    86004       1/4/2017
               ALJ42S5027 KAYENTA USPHS IND HU 0/P          8170 HWY 160 1/2 MILE SOUTH OF MP KAYENTA                AZ    86033       1/4/2017
               ffi147255 LECHEE HEALTH IHS                  8170 3 MILES S COPPER MINE RO     PAGE                   AZ    86040       1/4/2017
               AK-5642601 HOP! HEALTH CARE CENTER           8170 PO BOX4000 HWY 264 M!MKR POLACO.                    AZ    86042       1/4/2017
               AU4299702 TUBA CHY REG HLTH OP IHS           8170 167 N MAIN STREET            TUBA CITY              AZ    86045       1/4/2017
               ADS:342756 WINSLOW IND!AN HLT CT !HS         8170 500 N !ND!ANA AVE            WINSLOW                AZ    86047       1/4/2017
               Al.12052746 SHONTO lND!AN HLTH CTR           8170 1 MILE N NAVAJO MNTN  RD     SHONTO                 AZ    86054       1/4/2017
               AU7212703 USPHS PEACH SPRINGS                8170 943 HUALAPAI WAY BOX 190         PEACH SPRINGS AZ,        86434       1/4/2017
               6F9000617 FT MOHAVE HEALTH CTR IHS           8170 1607 PLANTATION                  MOHAVE VALLEY AZ         86440       1/4/2017
               AU4955730 CHINLE US PUB HLT SRV IP           8170 HIGHWAY 191                      CH!NLE        AZ         86503       1/4/2017

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HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                         MCKMDL00355406
                                                                                                                                                   P-00013_00058
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                                                                       Appendix C
                                                               Permitted VA Registrants
                                                     Confidential Business Records - FOIA Exempt

                                                                                                               State Zip Cd ~ Effeetlve
               OEANum      CustName                    DC     Addr Line 1 • Oely             Ci~ Name • Oely   ca.1.   Oely    Date
               FF1848552 FT DEFIANCE IND HSP !HS       8170 PO BOX 649-HWY 12 NR 110         FORT DEFIANCE     Al.     86504      1/4/2017
               6?9499624 PINON HEALTH CENTER           8170 NR4 • 2 MILES E OF PINON         PINON             AZ      86510     1/4/2017
               FU0192827 USPH !HS-FOUR CORNERS         8170 HCR 6100 BOX 30                  TEEC NOS POS      A2      86514     1/4/2017
               AT292776S TSA!LE !NDLAN HLTH ROCKPT     8170 NAVAJO RTE64 & IND!AN RD12       TSA!LE            AZ      86556     1/4/2017
               AU6210215 USPHS IHS 1/P-WINTERHAVEN     8170 ONE INDIAN HILL RD               WINTER.HAVEN      CA      92283     1/4/2017
               FS1755149 SOUTH RN UTE IND TRB IHS      8170 123 WEEM!NUCHE BOX 737           !GNAC!O           co      81137     1/4/2017
               AU7904267 US PUBLIC HLT SEIN UTE        8170 232 RUSTLING WILLOW              TOWAOC            co      81334     J/4/2017
               858849486 PH$ lND!AN HEALTH CU !HS      8170 3 CEDAR STREET                   SAN FELIPE        NM      87001     1/4/2017
               6U4657776 SANTAANA PH'S IND HLTSVC      8170 02-C DOVE RD PUEBLO SANTA        BERNALILLO        NM      87004      1/4/2017
               FP2127187 lHS PUEBLO OF SANDIA PHCY     8170 203 SANDIA DAY SCHOOL RD         BERNALILLO        NM      87004      1/4/2017
               813145756 !SlETA HLT CTR USPHS lHS      8170 #1 SAGEBRUSH STREET              !SLETA            NM      87022      1/4/2017
               BJ4719994 JEMEZ HEALTH CENTER IHS       8170 110 SHEEPSPRlNGS ROAD            JEMEZ PUEBLO      NM      87024      1/4/2017
               AU8S75548 USPHS CANONCITO HLTH CNTR        0 INTERSTATE 40@ EXIT 131,         CANONC!TO         NM      87026      1/4/2.017
               AC79992BO CHIEF PHARM SERVICES 0/P         0 PO BOX130(US 40 EXIT 102}        SAN FIDEL         NM      87049     1/4/2017
               FK3019557 KEWA PUEBLO HLTH CORP         8170 85 W, HIGHWAY 22                 SANTO DOM !NGO NM         87052     1/4/2017
               BU4683288 ZIA HEALTH CLINIC             8170 155 CAPliAL SQUARE DRIVE         ZlAPUEBlO         NM      87053      1/4/2017
               BP5921134 COCH!T! FIELD HlTH CLINIC  8170      270 WINDMILL ROAD              COCHITI PUEBLO NM         87072     1/4/2017
               AP5047940 ALBUQUERQUE INDIAN HSP IP $170       801 VASSAR DR NE               ALBUQUERQUE NM            87106      1/4/2017
               AB3361879 USPHS GALLUP INDIAN 0/P    8170      516 E NIZHONI Bl/POB1337       GALLUP         NM         87301      1/4/2017
               PD0178839 GALLUP RSSC                8170      2400 FUHS AVENUE/BOX 3090      GALLUP            NM      87305      1/4/2017
               AU4720846 CROWNPOINT PUB HLT SVC OP 8170       HWY JUNCTION 57 & ROUTE 9      CROWN POINT       NM      87313      1/4/2017
               FU3539131 USP HS INDHLTSRY THOREAU  18170      3 NAVARRE BOULEVARD            THOREAU           NM      87323      1/4/2017
               BT2631984 TOHATCHI PHS !NDIAN HLTH      8170   07 CHOOSGAI DR!VE/POB 142      TOHATCHl          NM      87325      1/4/2017
               AU4653196 ZUNI !NDIAN HOSPITAL 0/P      8170   301 NORTH 216 AVE              ZUNI              NM      87327      1/4/2017
               AP2719637 PINE HILL HEALTH CTR !HS      8170   BIA RURAL RTE 140              P!NEHlll          NM      87357      1/4/2017
               AD2836849 DZILTH-NA-0-DITH-HLE HlTH     8170   6 ROAD 7586                    BLOOMFIELD        NM      87413      1/4/2017
               AS3361906   NORTHERN NAVAJO MC 0/P      8170   HWY 666 NORTH                  SHIPROCK          NM      87420      1/4/2017
               AUS186590 SANTA FE INOIAN HOSP 1/P      8170   1700 CERRILLOS ROAD            SANTA FE          NM      87501      1/4/2017
               AU6926096 IHCJICARILLA HEALTH CTR       8170   500 NORTH MUNDO                DULCE             NM      87528      1/4/2017
               BP9120344 SANTA CLARA HEALTH CENTER     8170   400 STATE ROAD 30              ESPANOLA          NM      87532      1/4/2017
               AU6926084 IHCTAOS/P!CURIS SERV UNT      8170   1090 GOAT SPRINGS ROAD         TAOS              NM      87571      1/4/2017

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HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                   MCKMDL00355407
                                                                                                                                             P-00013_00059
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                                                                     Appendlx;C
                                                              Permitted VA Registrants
                                                     Confidential Business Records - FOIA Exempt

                                                                                                                State Zip Gd ~ EHeetive
               DEANum Cu&tName                        0¢ Addr Line 1 • DeJy                  City Name • Oely   Cd·   Dely     Date
               AA2484931 ALAMO CUNIC                  8170 30MI N OF HWY60 ON HWY169         MAGDALENA      NM        87825       1/4/2017
               AU5138311 MESCALERO !NDIAN HOSP 0/P    8170 1 ABALONE LOOP PO BX 210          MESCALERO      NM        88340       1/4/2017
               BN2997522 STATE VETERANS HOME           8170 992 S BROADWAY                   TRUTH OR CONSE NM        87901       1/4/2017
               BW430495i VA CMOP • TUCSON AZ           8170 3675 EAST BRITANNIA DRIVE        TUCSON         AZ        85706       1/4/2017
               FU0023844 USPHS lMMIGRAT!ON--ELOY       8170 1705 EAST HANNA ROAD             ELOY           AZ        85131       1/4/2017
               811946827 INS DET FCTY FLORENCE         8170 3250 N PINAL PKWY                FLORENCE       p.(l      85132       1/4/2017
               BU5517430 INS MEDICAL FAC- EL PASO      8170 8915 MONTANA AVE                 EL PASO        TX        79925       1/4/2017
               AV.4497194 VA MC-PORTLAND               8173 3710 SW US VET HOSP ROAD         PORTLAND       OR        972.01     1/4/2017
               BV8733760 VAOP CLINIC-PORTLAND          8173 3710 SW US VET HOSP ROAD         PORTLAND       OR        97201      1/4/2017
               RP0289973 VA MED-PORTLAND 1/P           8173 3710 SW US VET HOSP ROAD         PORTLAND       OR        97201      1/4/2017
               804879928 EUGENE SATELUTE OP CUNC       8173 3355 CHAD DRIVE                  EUGENE         OR        97408      1/4/2017
               AV4535247 VA MC-ROSEBURG                8173 913 NW GARDEN VALLEY BLVD        ROSEBURG       OR        97470      1/4/2017
               AV9679171 VA SORCC WHT CITY-A           8173 8495 CRATER U( HWY               WHITE CITY     OR        97503      1/4/2017
               AV4496510 VAMC-VANCOUVER                8173 1601 E. 4TH PLAIN BLVD.          VANCOUVER      WA        98661      1/4/2017
               AV4553459 VAMC-SPOKANE                  8173 4815 NORTH ASSEMBLY ST           SPOKANE        WA        99205      1/4/2017
               AV5554527 VAMC-WALLA WALLA              8173 77 WAINWRIGHT DR - 90C           WALLA WALLA    WA        99362      1/4/2017
               BF1794418 FCI SHERIDAN                  8173 27072 BALLSTON ROAD              SHERIDAN           OR    97378      1/4/2017
               ANS011678 NIMllPUU HEALTH  !HS          8173 111 BEVER GRADE                  LAPWAI             10    83540      1/4/2017
               882187006 BENEWAH MEDICAL CTR !HS       8173 427 N 12TH ST BOX388             PLUMMER            !D    83851      1/4/2017
               AP8985218 PHS IND HLT CTR/CHEMAWA    8173 3750 CHEMAWA ROAD NE                SALEM              OR    97305      1/4/2017
               BG78-40843 GRAND RONDE HLT&WELLN IHS 8173 9605 GRAND RONDE ROAD               GRAND RONDE        OR    97347      1/4/2017
               SS.2882290 SILETZ COMMUN!1Y CUN IHS  8173 200 GWEE SHUT RD BOX 320            S!LETZ             OR    97380      1/4/2017
               BK3569944 KLAMATH HEALTH PHARM !HS 8173 330 CHILOQUIN BLVD                    CHILOQUIN          OR    97624      1/4/2017
               AP5007SSO PHS IND HLT CTR/WARM SPR     8173 1270 KOTNUM RD BOX 1209           WARM SPRINGS       OR    97761      1/4/2017
               AU7145281 YHLOWHAWKTRIB HLT iHS        8173 73265 CONFEDERATED WAY            PENDLE.TON         OR    97801      1/4/2017
               AW3308S7'-   YAKIMA INDIAN HLTH CNTR   8173 401 BUSTER ROAD                   TOPPENISH          WA    98948      1/4/2017
               AWS043839    WELLPIN!T PHS IND HLT CTR 8173 6203 AGENCY LOOP RO               WELLPlN!T           ..   _9040      1/4/2017
               AC-5011680   COLVILLE PH$ IND!AN HLTH  8173 19 LAKE STREET, POB 71            NESPELEM           WA    99155      1/4/2017
               813974359    tDAHO STATE VETS HOME - l 8173 821 21ST AVENUE                   LEWISTON           ID    83501      1/4/2017
               AV4321155    VA MC OP RM1W101-IOWA CTY 8175 601 HWY 6 WEST                    IOWA CITY          !A    52246       1/4/2017
               AV4911SSG    VA MC-IRON MOUNTAIN       8175 32.S EAST H STREET                lRON MOUNTAIN      Ml    49801       1/4/2017

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HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                   MCKMDL00355408
                                                                                                                                             P-00013_00060
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                                                                      Appendix c
                                                              Permitted VA Registrants
                                                     Confidential Business Records - FOIA Exempt

                                                                                                                State Zip Cd * Effe<:tive
               01:ANum     CustName                    DC    Atldr Line 1 • Oely             City Name • Oely   Cd·   Oely      Oate
               AV4750091 VAMC 0/P PHCY-TOMAH           8175 500 E VETERANS STREET            TOMAH              WI    54660        l/4/2017
               FAS035616 AUSP THOMSON                  8175 1100 ONE MILE ROAD               THOMSON            ll    61285        1/4/2017
               AF5242235 FCI SANDSTONE BOP             8175 2300 COUNTY RD #29/POB999        SANDSTONE          MN    55072        1/4/2017
               BH2869949 HLTH SRVS UNT FPC DULUTH      8175 4464 RALSTON DRIVE               DULUTH             MN    55814        1/4/2017
               AF2751116 FEDERAL MED CTR-ROCHESTER     8175 2110 EAST CENTER ST              ROCHESTER          MN    55904        1/4/2017
               BB4620490 BOP WASECA PHARMACY           8175 1000 UNIVERSITY DRIVE S.W        WASECA             MN    56093        1/4/2017
               BM9527768 MESKWAK! PHCY SAC/FOX IHS     8175 1646 305TH STREET                TAMA               IA    52339        1/4/2017
               BB5755763 BOIS FORTE MED CL IHS         8175 5219 ST JOHNS DRIVE              NETT LAKE          MN    55772        1/4/2017
               AS9039961 STOCKBRIDGE MUNSEE !HS        8175 W12802 COUNTY HWY A              BOWLER             WI    54416        1/4/2017
               BS5224403 SOKAOGON CHIPPEWA HC !HS      8175 3144 VANZILE RD                  CRANDON         W!       54520        1/4/2017
               FP1598866 PETER CHRISTENSEN IHS EDI     8175 129 OLD ABE ROAD                 LAC DU FLAM BEA WI       54538        1/4/2017
               683700704 BAD RIVER CUN PHCY IHS        8175 53585 NOKOMIS ROAD               ASHLAND            WI    54806        1/4/2017
               Bl:2900682 lCO COMM HLTH IHS            8175 13380 W TREPANIA ROAD            HAYWARD            WI    54843        1/4/2017
               BD2750734 OJ JACOBETT! HM VETS SVH2     8175 425 FISHER STREET                MARQUETTE          Ml    49855        1/4/2017
               AV4535259 VA MC- BOISE                  8180 500 WEsr FORT ST                 BOISE              ID    83702        1/4/2017
               AV5933379   VA MC•FT HARRISON           8180 FORT HARRISON VAM&ROC            FORT HARR!SON      MT    59636        1/4/2017
               BM7003003 VA SATHUTE~COLUM FALLS        8180 400 VETERANS DRIVE               COLUMBIA FALLS     MT    59912        1/4/2017
               AVS445259 VAMC 1/P SALT LAKE CHY        8180 500 FOOTHILL BLVD                SALT LAKE CITY     UT    84148        1/4/t..017
               AU4271716 FT HALL IND HLTH MAT MGMT     8180 MISSION RD, P,O. BOX 717         FORT HALL          !D    83203        1/4/2017
               AUS122156 BLACKFEET SERVICE UNIT        8180 760 HOSP ff AL DR, PO BOX 760    BROWNING           MT    59417        1/4/2017
               BH4005686 HEART BUTTE HLTHSTAT!ON       8180 81 DISNEY/PO BOX 80              HEART BUTTE        MT    59448        1/4/2017
               BC428934S CHIPPEWA CREE TRIS CL !HS     !3180 96CUNIC RD                      BOX ELDER          MT    5952.1       1/4/2017
               BU3562166 CONF SAUSH&KOOTENAI IHS       8180 NO 5 AND 4TH AVE EAST            POLSON             MT    59860        1/4/2017
               AU5531543 CONF SAUSH&KOOTENAI lHS       8180 35401 MISSION DRIVE/PO BOX sa    SAINT IGNATIUS     MT    59865        1/4/2017
               FEOS89222 ELY SHOSHONE TRIBE IHS        8180 400 NEWE VIEW                    ELY                NV     89301       1/4/2017
               SS2917067 SOUTHERN BANDS HEALTH CTR     8180 515 SHOSHONE CIRCLE              ELKO               NV     89801       1/4/2017
               FS4393283 OWYHEE COMM HLTH IHS          8180 1623 HOSPITAi. LOOP              OWYHEE        NV          89832       1/4/2017
               AP7044198 PHS !NDIAN HEALTH CENTER      8180 2M!LES S OF BOTTLE HOLLOW        FORT DUCHESNE UT          84026       1/4/7.017
               013186271 STATE VETS HOME POCATELO      8180 1957 ALVIN RICKEN DRIVE          POCATELLO     ID          83201       1/4/2017
               617572490 IDAHO STATE VETERANS HOME     sum   320 COLLINS RD                  BOISE         ID          83702       1/4/2017
               AV6638297 VA MC FRESNO CA               8182 2615 E CLINTON AVE               FRESNO             CA     93703       1/4/2017

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Confidential - Subject to Protective Order                                                                                              MCK-WVAG-003-0001205
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                     MCKMDL00355409
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                                                                      Appendix C
                                                               Permitted VA Registrants
                                                      Confidential Business Records - FOIA Exempt

                                                                                                                state Zip cu - effective
               DEA.Num   <Just Name                     DC  Addr Line 1 • Oe-ly               CI~ Name • Oely   Cd~   Oely     Date
               8V4337982 VA CLNC OF MONT SEASIDE       8182 3401 ENGINEERING lANE             SEASIDE           CA    93955       1/4/2017
               AV6S06826 VA HSP-OP MENLO PARK CA       8182 795 WILLOW ROAD                   MENLO PARK        CA    94025       1/4/2017
               BV3682S14 VA MC OP-SF CA                8182 4150 CLEMENT ST (OUTPT)           SAN FRANCISCO     CA    94121       1/4/2017
               803745532 VA MC-OP PALO ALTO CA          8182 3801 MIRANDA AVE #119            PALO ALTO         CA    94303       1/4/2017
               806962624 TRAVIS AFB VA OUTPATIENT       8182 BLDG 778103 BODIN CIRLCE         TRAVIS AFB        CA    94535       1/4/2017
               BV5576674 VA PALOALTO OP LIVERMORE       8182 4951 ARROYO ROAD                 LIVERMORE         CA    94550       1/4/2017
               80336516& VA CLNC OP-MARTINEZ CA         3182 150 MUIR RD                      MARTINEZ          CA    94553       1/4/2017
               BD4780537 VA CLNC 1/P·MART!NEZ CA        8182 150 MUIR RD                      MARTINEZ          CA    94553       1/4/2017
               B06646117 VA OP CU·MARE !SLAND CA        8182 WALNUT AVENUE BLDG 201           MARE ISLAND       CA    94592       1/4/2.017
               AV6092439 VA OP CU-OAKLAND CA            8182 2221 MARTIN LUTHER KING          OAKLAND           CA    94612       1/4/2017
               PV0123872 VA MENTAL OAKLAND t:A          8182 525 21ST STREET                  OAKLAND           CA    94612       1/4/2017
               8$3328413 VA CLINIC OF SAN JOSE CA       8182 80 GREAT OAKS BLVD               SANJOSE           CA    95119       1/4/2017
               BV9274488 VA SANTA ROSA PHCY SRCA        8182 3841 BR1CKWAY BOULEVARD          SANTA ROSA        CA    95403       1/4/2017
               BV9195240 VACOMNTY BASED 0/P UKIAH       8182 630 KINGS COURT                  UKIAH             CA    95482       1/4/2017
               BE3420109 EUREKA VETERANS CUNIC PH       8182 930 W HARRIS STREET              EUREKA            CA    95501       1/4/2017
               806962600 MCCLELLAN VA 0/P CLINIC        3182 5342 DUDLEY BLVD                 MCCLELLAN         CA    95652       1/4/2017
               BDS275599 VA MC OP-MATHER CA             8182 10535 HOSPITAL WAY               MATHER            CA    95655       1/4/2017
               807214430 VA OP CU-CHICO CA              8182 280 COHASSET ROAD                CHICO             CA    95926       1/4/2017
               BV1328699 VA OP-CU-REDDING CA            8182 351 HARTNELL AVENUE              REDDING           CA    96002       1/4/2017
               AV5701013 VA MEDICAL CTR RENO 1/P        8182 975 KIRMAN                       RENO              NV    89502       1/4/2017
               FF2542163 FCI MENDOTA BOP                8182 33500 WEST CAUFORN!A AVE         MENDOTA           CA    93640       1/4/2017
               AH5956808 FC! DUBLIN HOSPITAL            8182 57018TH ST CAMP PARKS            DUBLIN            CA    94568       1/4/2017
               BU7165663 US PRISON ATWATER SOP          8182 HLTH SVCS #1 FEDERAL WAY         ATWATER           CA    95301       1/4/2017
               8F9304027 FED CORR IN-HERLONG BOP        8182 741-925 HERLONG ACCESS RD        HERLONG           CA    96113       1/4/2017
               BF9669031 FEATHER R!VTRBl HL-iHS         8182 2145 5TH AV£                     OROVILLE          CA    95965       1/4/2017
               6F0925935 FALLON TRIBAL HEALTH CTR       8182 1001 RIO ViSTA POB 1980          FALLON            NV    89406       1/4/2017
               Afl7017761 MCDERM1TT IHS                 8182 #112 N RESERVATION ROAD          MCDERM!TT         NV    89421       1/4/2017
               BP1582926 PYRAMID LAKE HLTH CUN!C        8182 705 HIGHWAY 446/POB 227          NIXON             NV    89424       1/4/2017
               BW472861-t1 WALKER RIVER TRIBAL HLTH     8182 1025 HOSPITAL RD/PO BOX C        SCHURZ            NV    89427       1/4/2017
               BY4424610 YERINGTON PAIUTE TRIB !HS      8182. 171 CAMPBELL LANE               YERINGTON         NV    89447       1/4/2017
               AW155521C WASHOE TRIBAL CLINIC IHS       8182 1559 WATASHEMU DRIVE             GARDNERVILLE      NV    89460       1/4/2017

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HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                    MCKMDL00355410
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                                                                        Appendix C
                                                                  Permitted VA Registrants
                                                        Confidential Business Records- FOIA Exempt

                                                                                                                   State Zip Cd ~ Effective
               OEANum      CustName                      oc      Addr Line 1 ~ Dely            Cil!y Name ~ Oely   Cd- Oely       Date
               6R0101600 RENO-SPARKS TRIBAL HEALTH       8182    1715 KUENZU ST                RENO                NV    89502       1/4/1.017
               AV3310S17 VETERANS HOME OF CALIF          8182    123 CALIFORNIA DR             YOUNTVILLE          CA    94599       1/4/2017
               FD2922602 VA HHS-RANCHO CORDOVA           8182    2750 MERCHANTllE DRIVE        RANCHO CORDQl,1 CA        95742       1/4/2017
               AV4262983 VAMC-WILLIAMSON MA DIV          8183    2401 W MA!N                   MARION          IL        62959       1/4/2017
               AV8913394 VA OP CLINIC-VANDERBURGH        8183    6211 E WATERFORD BLVD         EVANSVILLE      IN        47715       1/4/2017
               AV4345903 VAMC-LEAVENWORTH                 8183   4101 S 4TH ST TRAFFIC WAY     LEAVENWORTH         KS    66048       1/4/2017
               AVS136684 VA MC COLMERY -TOPEKA            8183   2200 GAGE BLVD                TOPEKA              KS    66622       1/4/2017
               flV0163422 VA MC JC DV PHCr'-ST LOiJ!S     8183   915 N GRAND BLVD              SAINT LOUIS         MO    63106       1/4/2017
               AH592.6475 VA MC JC DIV 4TH~ST LOUIS       8183   915 N GRAND BLVD RM 8405      SA!NTlOUl$          MO    63106       1/4/2017
               AA4418732 VA MCJB-D!V- ST LOUIS            8183   #2 JEFFERSON BARRACKS DR      SAINT LOUIS         MO    63125       1/4/2017
               PV0156275 VA MC JB DIV,ST LOUIS            8183   #2 JEFFERSON BARRACKS DR      SA!NT LOUIS         MO    63125       1/4/2017
               AV4498425 VA MC PERSHH'>I-POPLAR BLUF      8183   1500 N WESTWOOD BL VD         POPLAR BLUFF        MO    63901       l/4/2017
               AXXXXXXXX VA MEDICAL CTR KC OUTPAT         8183   4801 UNWOOD BOULEVARD         KANSAS CITY         MO    54128       1/4/2017
               AH6546569 HARRY S TRUMAN MEM HOSP          8183 800 HOSPITAL DR                 COLUMBIA     MO           55201       1/4/2017
               BG2161014 GENE TAYLOR CB OP VA PHCY        8183 600 N MAIN STREET/POB 541       MOUNT VERNON MO           65712       1/4/2017
               8f4090039   FCI-GREENVl LLE                8183 100 US RTE 40/PO BOX 4000       GREENVILLE   !L           62246       1/4/2017
               AU5145760   U S PENITENTIARY HOSP»MAR      8183 4500 PRISON ROAD                MARION       !L           62959       1/4/2017
               AM489260~   US PENITENTIARY HOSPITAL       8183 4200 BUREAU ROAD NORTH          TERRE HAUTE  !N           47808       1/4/2017
               AU6436871   US PEN!TENT!ARY-LEAVENWRT      8183 1300 METROPOLITAN DRIVE         LEAVENWORTH         KS    66048       1/4/2017
               AU717S901 USMCFP SPRINGFIELD               8183 1900 W SUNSHINE                 SPRINGFIELD         MO    65808       1/4/2017
               AH8428977 HASKELL HEALTH CUN!C !HS         8183 2415 MASSACHUSETTS              LAWRENCE            KS    66046       1/4/2017
               Ai63S3344 INOIAN HLTH CTR DIAfHHS          8183 3349 B THRASKER                 WHITE CLOUD         KS    56094       1/4/2017
               BK3771880 KICKAPOO NAT HLTH CTR !HS        8183 HWY 20W OF HORTON               HORTON              KS    66439       1/4/2017
               81'8683941 PRAIRIE SAND POTA HLT IHS       8183 11400158TH ROAD                 MAYITTA             KS    66509       1/4/2017
               812270483 ILLINOIS VETS HOME SVH2          8183 1707 N 12TH STREET              QUINCY              IL    62301       1/4/2017
               804829062 VA CMOP LEAVENWORTH #2           8183 5000 SOUTH 13TH ST              LEAVENWORTH         KS    66048       1/4/2017
               AV4513859 VA HLTHCARE SYS/NEWINGTON        8191 555 WILLARD AVE PHO'            NEWINGTON           CT    06111       1/4/2017
               AF2300680 VA NUCLR MC· 115· W HAVEN        8191 950 CAMPBELL AVE 8l2 2ND        WEST MAVEN          CT    06516       1/4/2017
               RA0147048 VA WEST HAVEN                    8191 950 CAMPBELL AVE SlDG 36        WESl HAVEN          CT    06516       1/4/2017
               BVS564393 VA HEALTH INVEST· W HAVEN        8191 950 CAMPBELL AVENUE             WEST HAVEN          CT    06516       1/4/2017
               FV1632430 VA/W HAVEN IP/BLDG 1 PHO'        8191 950 CAMPBELL AVENUE             WfSTHAVEN           CT    06516       1/4/2017

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HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                      MCKMDL00355411
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                                                                       Appendix C
                                                                Permitted VA Registrants
                                                       Confidential Business Records • FOIA   Exempt
                                                                                                                   State Zip Cd * Effective
               OEANum      CustName                      DC    Addr Line 1 Dely
                                                                          w                      Ci~ Name . Dely   Cd• Oely       Date
               AB4374904 VA MC-NORTH HAMP-LEEDS          8191 421 NORTH MAIN STREET              LEEDS             MA    01053       1/4/2017
               BV2965614 VA OP CUNIC-SPRINGF!ELD         8191 25 BOND STREET                     SPR!NGflElD       MA    01104       1/4/2017
               AF4728830 VA HUDSON VALLEY HEALTH         8191 2094 ALBANY POST ROAD              MONTROSE          NY    10548       1/4/2017
               AV4993160 VA MED 1/P ALBANY               8191 113 HOLLAND AVE                    ALBANY            NY    12208       1/4/2017
               RS02.36453 VA MEDICAL CTR ALBANY #2       8191 113 HOLLAND AVE                    ALBANY            NY    12208       1/4/2017
               AV473S239 VA MED CTR CASTLE PT            8191 41 CASTLE POINT RD                 WAPPINGERS FAL NY       12590       1/4/2017
               P00131449 VAMC-DEP TRT CTR-PROV           8191 830 CHALKSTONE AVE 90C             PROVIDENCE     RI       02908       1/4/2017
               AV4514659 VA MC•PROV!DENCE                8191 830 CHALKSTONE AVENUE               PROVIDENCE       RI    02908


                                                                                                                   NYm
                                                                                                                                     1/4/2017
               AUS-175117 FC! DANBURY                    8191 33 1/2 PEMBROKE RD RT 37            DANBURY          CT    06811       1/4/2017
               AF9228912 FCI OTISVILLE                   8.191 PO BOX 600TWO MILE DRIVE           OTISVILLE                          1/4/2017
               AF9655486 FCI HLTH SERVICE UNIT BOP       8191 PO BX 300 OLD RAYBROOK RD           RAY BROOK        NY     2977       1/4/2017
               FM3125627   MOHEGAN PHARMACY IHS          8191 67 SANDY DESERT RD                  UNCASVlllE       CT      382       1/4/2017
               AK3507994   CONNECTICUT STATE VETERAN     8191 287 WEST ST                         ROCKY Hill       CT    06067       1/4/2017
               AD4319578   SOLDIERS HOME HOLYOKE         8191 110 CHERRY ST                       HOLYOKE          MA    01040       1/4/2017
               AR4280640 RI VETERANS HM PHARMACY         81911480 MET ACOM AVENUE                 BRISTOL          RI    02809       1/4/2017
               BN9535177 VA NE CMOP CHELMSFORD           8191 10 INDUSTRIAL AVENUE                CHELMSFORD       MA    01824       1/4/2017
               AV4277845 VA LAKE CITY OUTPATIENT         8195 619 S MARlON AVENUE                 LAKE CITY        Fl    32025       1/4/2017
               BV0255706 VA DAYTONA OP CLINIC            8195 551 NATIONAL HLTH CARE DR           DAYTONA BEACH    FL    32114       1/4/2017
               FD2035714 VA/THE VILLAGES OP CUNJC        8195 8900 SE 165TH MULBERRY LN           THE VILLAGES     FL    32162       1/4/2017
               AV521448S VA OP CUN!C-JACKSONV!LLE        8195 1536 NORTH JEFFERSON ST             JACKSONVILLE     FL    32209       1/4/2017
               BV3465970 VA OP CLC·TAllAHASSEE           8195 2181 ORANGE AVENUE EAST             TALLAHASSEE      Fl    32311       1/4/2.017
               BV0464761 VA 0/P SERV PENSACOLA           8195 790 VETERANS WAY ROOM               PENSACOLA        FL    32507       1/4/2017
               FV1036638 VA OUTPi CLINIC/EGLIN           8195 100 VETERANS WAY ROOM 161           EGUN AFB         FL    32542       1/4/2017
               AV4671372 VA GA!NESVlLLE OUTPATIENT       8195 1601 SW ARCHER ROAD                 GAINESVILLE      Fl    32608       1/4/2017
               804632015 VAMC LK BALDWN OP CL ORL        8195 5201 RAYMOND STREET                 ORLANDO          Fl    32803       1/4/2017
               FV3844936 VAMC ORLANDO PPV                8195 13800 VETERANS WAY                  ORLANDO          FL    32827       1/4/2017
               BV6325852 VA VIERA OP CLINIC              8195 2900 VETERANS WAY                   VIERA            FL    32940       1/4/201.7
               AV434SS59 VA MC lP- MIAMI                 8195 1201 NW 16TH ST                     MIAMI          H       33125       1/4/2017
               AV1230313 VA OP CLC PHY-SUNRISE           8195 9800 COMMERCIAL BLVD                SUNRISE        FL      33351       1/4/2017
               BD266999S DEPT OF VA lP-W PALM BCH        8195 7305 NORTH MILITARY TRAIL           WEST PALM BfAC Fl      33410       1/4/2017
               fD1212961 JAMES A HALEY VA OP TAMPA       8195 12210 BRUCE Et DOWNS                TAMPA            Fl     33612      1/4/2017


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HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                       MCKMDL00355412
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                                                                          AppendixC
                                                                  Permitted VA Registrants
                                                        Confidential Business Records• FO!A Exempt

                                                                                                                    State Zip Cd • Effeethte
               OEANum      CustName                      DC      Addr Line 1 - Oely            City N,:1me • Pely   Cd·   Oely     Date
               BJ0413839   JAMES A HALEY VA IP TAMPA     8195 13000 BRUCE B DOWNS BLVD         TAMPA                FL    33611       1/4/2017
               AV5307889   VA MC l/P- ST PETTERSBURG     8195 10000 BAY PINES BLVD             SAINT PETERSBUR      fl    33708       1/4/2017
               AV8635469   LEE CNTY VA MC.CAPE CORAL     8195 2489 DIPLOMAT PARKWAY EAS        CAPE CORAL           FL    33909       1/4/2017
               BV4345319   VA OPCLC:- NEW PORT RICHEY     8195 9912 LITTLE ROAD                NEW PORT RICHE       FL    34654       1/4/2017
               BV0366787   VA MAYAGUEZ OUTPAT CUNIC       8195 175 ALGARROBO AVE               MAYAGUEZ             PR    00682       1/4/2017
               BV1501700   VA PONCE OUTPAT CLINIC         8195 1010 PASEO DH VETERANO          PONCE                PR    00716       114/2017
               8D2256990   DEPT OF VA OP-SAN JUAN         8195 10 CALLE CAS!A                  SANJUAN              PR                1/4/2017
               AK4351982   USPHS HSP UNIT lAlt.AHASEE     8195 FED COR/501 CAPJT AL CR NE      TALLAHASSEE          fl    32301       1/4/2017
               BM1291347 fCI MARIANNA                     8195 3625 FC! ROAD                   MARIANNA             FL    32446       1/4/2017
               BB1595911 FED PRISON CAMP PENSC BOP       .8195 FED PRISON CAMP PENSCOLA        PENSACOLA            FL    32509       1/4/2017
               BF3780219 FED DETENTION CNT MIAMI          8195 33 NC 4TH STREET                MtAM!                FL    33132       1/4/2017
               AF6804733 FCI M!AMI                        8195 15801 SW 137TH AVENUE           MIAMI                FL    33177       1/4/2017
               E\F4461783 FED CORR CMP COLEMAN            8195 846 N.E, 54TH TERRACE           COLEMAN              FL    33521       1/4/2017
               BF:3335874 FBOP METRO DETENTION CTR        8195 651 CARRETERA 28                CATANO               PR    00963       1/4/2017
               FD22.53829 CLYDE E LASSEN NH   SVH2        8195 4650 STATE ROAD 16              SAINT AUGUST'!NE
                                                                                                              Fl          32092       1/4/2017
               805967180 VA DAYTONA HM/H      SVH2        8195 1920 MASON AVENUE               DAYTONA BEACH  FL          32117       1/4/2017
               BF8568909 CLIFFORD CHESTER SIMSSVH2        8195 4419 TRAM ROAD                  SPRINGFIELD    FL          32404       1/4/2017
               BF7171589 ALEXANDER NININGER SVH2          8195 8401 W CYPRESS DR               PEMBROKE PINES FL          33025       1/4/2017
               6F8646816 D,T JACOBSON ST NH SVH2          8195 21281 GRAYTON TERRACE           PORT CHARLOTTE FL          33954       1/4/2017
               BD6136534 BALDOMERO LOPEZ MEM SVH2 8195 6919 PARKWAY BLVD                       LAND Q LAKES   FL          34639       1/4/2017
               AU1434911 US PUBLIC HLTH SRVC MIAMI        8195 18201 SW 12 STREET              MIAMI                FL    33194       1/4/2017
               BC8566474 CLEVELAND VAMC-LORAIN            8772 5255 N ABBE RD                  SHEFFIELD V!LLAG OH        44035       1/4/2017
               AB2289709 VA MED CTR CLEVELAND 1/P         87Tl 10701 EAST BOULEVARD            CLEVELAND        OH        44106       1/4/2017
               PC0126929 VA CLEVE                         8772 10701 EAST BOULEVARD            CLEVELAND            OH    44106       1/4/2017
               FL4169593 LOUIS STOKES CLEVE VAMC          8772 8910 SUPERIOR AVENUE            CLEVELAND            OH    44106       1/4/2017
               FC2992813 CLVO VAMC PARMA OP CLINIC        8772 8701 BROOKPARK ROAD              PARMA               OH    44129       1/4/2017
               BV7509118 VA OUTPAT CLINIC-AKRON           8772 95 WESrWATERLOO RD,             AKRON                OH    44319       1/4/2017
               804077839 VA MC OP YOUNGSTON PHCY          8772   2031 BELMONT AVENUE           YOUNGSTOWN           OH    44505       1/4/2017
               AV953H19 VA OUTPAT CLINIC-CANTON           8772   733 MARKET AVENUE SOUTH        CANTON              OH    44702       1/4/2017
               AV6733910 VA MC HEINZ OP-PITTS.BUR         8772   1010 DELAFIELD ROAD            PITTSBURGH          PA    15215       1/4/7.017
               AV49nBo VA MC UD/OP-P!TTSBURGH             8772   646 UNIVERSITY DRIVE C         PITTSBURGH          PA     15240      1/4/2017

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HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                        MCKMDL00355413
                                                                                                                                                  P-00013_00065
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                                                                           Appendix C
                                                                   Permitted VA Registrants
                                                        Confidential Business Records - fOIA Exempt

                                                                                                                  State Zip Cd • Effective
              Dl:ANum       Oust Name                     DC      Addr Line 1 ~ 0$ly            Cl~ Name • Cely   Cd•   Oe1y  Date
              AV4366868 VA MEDICAL CENTER-BUTLER          8772 325 NEW CASTLE ROAD              BUTLER            PA    16001    1/4/2017
               AM2276625 VA MEDICAL CENTER- ERIE          8772 135 EAST 38TH ST                 ERIE              PA    16504         1/4/2017
               AV4656611 VA MED CTR - ALTOONA             8772 2907 PLEASANT VALLEY BLVD        ALTOONA           PA    16602         1/4/2017
               AV4918085    VA MED CTR- CLARKSBURG        8772 1 MED CTR DRIVE                  CLARKSBURG        WV    26301         1/4/2017
               BF5227170    FCI ELKTON                    8772 8730 SCROGGS RD                  ELKTON            OH    44415         1/4/2017
               AF2912714    FCI MEDICAL DEPT LORETTO      8772 RURAL ROUTE 276/POB 1000         LORETTO           PA    15940         1/4/2017
               AW537858S    FCI MORGANTOWN                8772 445 GREEN BAG ROAD               MORGANTOWN        WV    26505         1/4/2017
               BU9083940    VA- USP HAZELTON              8772 BOP/OOJ-SKY VIEW DRIVE           BRUCETON MILLS    WV    26525         1/4/2017
               AP2418235    PA SOLD1ERS&SAILORS SVH2      8772 560 EAST THIRD                   ERIE              PA    16512         1/4/2.017
               AN2276827    HOLLIDAYSBURG STVA SVH2       8772 138 VETERANS BLVD                DUNCANSVILLE      PA    16635         1/4/2017
               FW0359186    WV VETS NURSING FAC SVH2      8772 ONE FREEDOMS WAY                 CLARKSBURG        WV    26301         1/4/2017
               FC52:73381   COOWEESCOOWEE HLTH iHS        8165 395200 W 2900 RD                 OCHELATA          OK    74051          1/4/1017
               FH5083770    HUNTSVILLE VA CLINIC          8126 500 MARKAVIEW ROAD               HUNTSVILLE        AL    :.3580:S       1/4/2017
               FFS280437    FAYETTEVILLE VA HLTH CARE     812:0 7300 S RAEFORD RD               FAYETTEVILLE      NC    28304          1/4/2017
               FAS306231 ANTHC AMBULATORY SURG CTR        8130 3801 UNIVERSITY LAKE DRIVE STE ANCHORAGE           AK    99508          1/4/2017
               FC5441807 CHEROKEE NATION WW HASTIN(       8165 100 S, BUSS AVENUE               TAHLEQUAH         OK    74464          1/4/2017
               FW5577222 WAH•ZHA-ZHI HLTH CNTR-!HS        8165 715 GRANDVIEW                    PAWHUSKA          OK    74056          1/4/2017
               FC5550734 CENTRAL AL      vn
                                       HLTH MONTGQ        8165 810$ VETERANS WAY                MONTGOMERY        AL    36117          1/4/2017
               FN0301375 NAHATADZIIL HLTH CNTR IHS        8170 CHl!H'TO BLVD, BOX 125           SANDERS           AZ    86512          1/4/2017
               FN5743023 NORTHERN ARAPAHOE TR!SE !HS      8131 14 GREAT PLAINS ROAD             ARAPAHOE          WY    82510          1/4/2017
               BC9509362 CPN MAIL ORDER PHCY !HS          8165    2307 S GORDON COOPER DR STE SHAWNEE             OK    74801          1/4/2017
               FV5742108 VAMC SOUTH CUNlC PHARM           8165    7919 MID AMERICA BLVD STE 30C OKLAHOMA CITY     OK    73135          1/4/2017
               FLS707344 LOWER SIOUX IHS                  8152.   39648 RESERVATION HWY 3       MORTON            MN    56270          1/4/2017
               FRS68449S R ROUDEBUSH VA DMCY INDPS        8164    9045 E. 59TH ST BLDG 402      lNDIANAPOUS       IN    46216          1/4/2017
               FAS75732S ANNlKKAN INTUIT !HS              8130    189 Airport Road              UNALAKLEET        AK    99684          1/4/2017
               BA6220824 ALICIA ROBERTS MED CT iHS        8130    7300 A KLAWAOCK,HOLUS HWY KLAWOCK               AK    99925      t-1/4/2017
               FAS794284 ANTHC INTl !HS OPNMKNET30        8130    3900 AMBASSADOR DR STE 311 ANCHORAGE            AK    99508          1/4/2017
               FU0745173 USPHS IMM BERK, DHS/ICE          8155    1040 BERKS RO                 LEESPORT          PA    19533          1/4/2017
               FS5911703 5 WESTERN VETS CNTR SVHl         8772    7060 HIGHLAND DRIVE           PITTSBURGH        PA    15206          1/4/2017
               FC6353433 CHEHALIS TRIBAL !HS              8128    21 NIEDE:RMAN RD              OAKVILLE          WA    985158        1/4/2:017
               FC2:Z63173 CPT J LOVEU FHCC -BURKEY        8144    2630 GREEN BAY RD BLG3452     GREAT LAKES       IL    60088         1/4/2017

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HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER                                                                                       MCKMDL00355414
                                                                                                                                                 P-00013_00066
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                                                              Permitted VA Registrants
                                                     Confidential Business Records - fOIA El<empt




                               LOVELL FHCC-FISHER      8144 2410 SAMPSON ST BLOG 237                                         1/4/2017
                           err j LOVELL FHCC-TMNQ      8144 2430 !ll!NOIS ST BLDG1007                           IL           1/4/Z017
               FC2263200 CPT J LOVELL FHCC -OSSRN      8144 3440 OH!O ST BLDG 1017            GREAT LAKES       !l   60088   1/4/2017
               FU6214605 USPHS IMMIGRATION VARK NY     8155 201 VARlCK STREET 4TH FL          NEW YORK          NY   10014   1/4/2017
               BP9613250 .PC CBOC/VA· PANAMA CITY      819     00 VETERANS WAY, ROOM 1              NAMA OTY BE fl   32408   1/4/2017
               FT6486117    ON SELLS HOSPITAL          8170 PO BOX 548., 1 MESQUTIE OR                          AZ   85634   1/4/2017




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                                                                                                                                MCK-WVAG-003-0001211
HIGHLY CONFIDENTIAL-SUBJECT TO MDL 2804 PROTECTIVE ORDER
                                                                                                                                     MCKMDL00355415
                                                                                                                                       P-00013_00067
